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     Degree           scandals              highlight                 holes         in    hiring     process
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     Reports of university professors                                        faking        their    own degrees               have           shocked          the nation


     this     past        month



     Some           academics              and        politicians                are    calling     out     for      better        organized             background

     verification               system       admitting                 that       there        are too      many         holes     in    the     current


     procedures




     Many education                    experts               say     those         in    the    academic           field    must        rethink        the situation


     and      move toward                  creating                  society            which      values     competency                 and         ability       rather


     than      concentrating                 on       the      school the person graduated from



     Meanwhile                  some       others            claim      the       process of             hiring     professors               should be             made

     transparent



      All    information              must        be         forced         to    be     publicized         when         hiring        profossors                 said    Kim

     Changyong                         professor              with      the       school of communication                              and     political          science

     at     Inje    University             The         public          should know                 what     steps        were      taken        to    select        that


     particular            professor



     Earlier        this        week       Lee    Changha                          lecturer with            the     space         remodeling             department

     at     Kimcheon              Science         College              in    North        Gyeongsang                Province            offered         to    resign


     from      his    teaching             post        after           local        television           program          reported            that    his    degrees

     were          false        Lee   is         famous            interior            designer      who gained              popularity              after



     appearing on                     series          of     national            television        shows          that     renovated houses                       for



     eople           in    need



     Lee who               served as the head                         of     department             at    KSC       from     2002            said     he graduated

     from the business administration                                            department          at     the University               of    Suwon          He        also


     said      he was            admitted          to        the     fine    arts        college     at     Seoul        National        University            in    1976

     but     that     he had          to    give        it   up      because             of    financial     problems



     That wasnt the end                          of     his    lies         In    his    book      published          in   2003 he              claims        to    have

     received                   degree      in   fine         arts     at    the        New     Bridge       University           in    California           by


     attending             the     school from 1992                         to     1996



     However               it   was found             that            business administration                         department                did     not       exist    at




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      the     University             of    Suwon Lees name                            did     not    appear            in    any     SNU         documents                and

      the     NBU     was                 school that was                 established               in   1995



      In   an      email Lee who                        is   currently           on          business           trip     in    Italy      did     not    deny        any of

      the     suspicions               held       against           him and          agreed         to    step       down           from    his    post        at    the


      university




           truly   feel    sorry           for     my    students           who        believed           in    me and             depended             on     me    with

      their     studies             but    Ill    resign       from my current                     position         at      the    school          he said

      finished             one            year     research           program          at     Suwon            University            and    moved            on     to    NBU

      later     but       wasnt successful                          in   taking       all     required          classes            there



      This      comes           after the          Shin Jeongah                       case which                prompted             the    probe         of      fake


      degrees




      Dongguk             University              officially        fired       Shin        assistant           professor            at    the    school            last


     week when                 it    confirmed           that       she     forged           three       degrees            and      plagiarized                  thesis        to


      gain      employment                   at the      university             in   2005



      Shin who             has taken                   long     business              trip    to    Europe           said          she    received


      bachelors            degree                and    completed                    Master of Business Administration                                       at     the


      University          of        Kansas and                  doctorate              from Yale               University           School         of    Arts        but      her


      name was nowhere                            to   be    found        in    the    list    of    graduates                at   either       school



     She      was     the           youngestever                    professor          to     have       been        appointed             as director of

      Koreas          biggest             bienniale          art     festival           the        Gwangju           Biennale             for    2008             earning

     the      nickname                the    art       worlds         Cinderella



     Since         then        the        police       have     launched                    probe        of    hagwons               focusing           the


     investigations                  on     areas crowded                   with      hagwons                 or private           institutions              such        as


     Gangnam               Noryangjin                  and     Mokdong                 in    Seoul



     The      Songpa                Police       Station       is
                                                                     currently         investigating                31       hagwon             instructors          for



     forging        or    purchasing                   documents               such      as    their      bachelors                 degree         its    officials


     said



     Such       problems               occur           because           the    backgrounds                    of   the      nominees             are often          not


     checked          thoroughly                  when        hiring      university           professors                or    hagwon            teachers            many

     education            experts            said



     The      government                   instructs         those who                receive        foreign         doctoral             degrees         to      report        to




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          the    staterun               Korea           Research             Foundation within                            the      first    six       months              upon         their


          arrival       in   Korea according                          to    officials          at        the    foundation



          No     administrative                    or financial             restrictions                 are issued               to     those who                 fail        to    report    to


          the    body         and       the      foundation                         takes        in                                 even               deadlines                were        not
                                                                           still
                                                                                                         any reports                             if




          kept         foundation             officials          said



                doctoral       thesis              an    immigration                    identification                   form and          an         academic                 record


          should be            submitted                 online        along            with    documents                   including                   graduation

          certification             form



          The     foundation               checks          to     confirm               that    the school                  is         certified             school            but     the

          institutions             are    not       contacted               individually                  foundation                officials           said



          Holes        are     found          at    universities                 as well




          Universities              for     instance              are       allowed            to        set   their       own         profossor              qualification

          standards            and        selection          processes as                       long           as    the    schools              post         their        notice        of



          employment                      month          ahead             an      official         at    the       university             policy        division               at    the


          Education Ministry said



          He added             that       onethird               ol    the        judges also                  have       to     be     officials            from         outside           the


          university




                number         of the         universities                 rely    on     official             documents                 sent         from loreign

          universities             to    verify         attendance                 at    the    school without                        making            any direct attempts

          at    verification




          Dongguk             University             was          good example The                                   university            received                  document

          from Yale           University                stating        that        Shin        was             graduate            of      that       school              It   was      sent


          from          Yale        University            fax     number                but    found            out       later     to     be     fake




          However             no        clear      solutions               for    the     situation             are       being provided                      at    this        point



          KRF     is    looking           into      requesting               foreign            universities to                   send          official           documents                  such

          as    academic                records             of    those who                    completed                  doctoral          studies            abroad                   directly


          to    the    foundation                  but    more         discussion                   is    needed            regarding                 this    issue foundation

          officials          said



           In    order       for    us to          sufficiently             review         the doctoral                    degree           system of foreign

          universities             and     figure out             whether                its         fake           or      real       degree we                   will        need      more




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          time     budget      and       people on      staff      the foundation         officials    said




            change        of   attitude     for   educators        will   be another starting          point       Kim said




          Forgery     and      plagiarism         are   the   biggest      enemy    for   educators          regardless       of   their


          true   competencies              he added           We    wont     be able to step           up    to   become      an

          advanced        nation     unless       the   society     realizes that    being      fake    is    egual    to   giving     up

          the job    as   an    educatpr



          By Cho Jihyun



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Dongguk             University            Chairman openly                         sides with         Jeong     Ah   Shin

                    Buddhist              priest       Young            Bae



This    Newspaper             obtained             the minutes              of the board of directors                 meeting



Met      with       Shin and         listened          to    her explanation..                  Ill    take responsibility if                it   is     fake

Buddhist           priest    Jang Yoon who raised the question                                       on faked       academic        degree              is   pushing          for   her


dismissal




              It   was found on             the 4th that                after    the issue of the faked              academic           degree of Jeong                    Ah

Shin    35             had been presented                         at    Dongguk           University          Dongguk      University                  Foundation

chairman Buddhist                   priest        Young Bae                       photograph            stepped      forward       to    side with             Shin      in
                                                                                                                                                                               person

and even met with Shin in person in the process                                               of the faked          academic        degree controversy

              Further        it   was      revealed              that Buddhist             priest    Young Bae        actively          drove dismissal of the

director       Buddhist           priest     Jang Yoon who                        first   presented          the issue of the faked                academic              degree      of

Shin    in    the board           of directors              meeting             in spite    of objections         raised     by some              directors


Accordingly             suspicion           is    being raised about                      the background            concerning          why            the chairman


stepped        forward        to   meet with Shin in person instead                                   of the University            officials            or   its   president

and    also        unreasonably            sought           to    dismiss Buddhist                  priest    Jang Yoon      as    well

              The above            fact    was      revealed              from the minutes of the                 228tFt   board of directors                       meeting of

Dongguk            University         held        on    May             29 when       the faked         academic      degree issue became

controversy            According             to    the meeting                  minutes obtained              exclusively     by        this      Newspaper

regarding           the claim        made         in   the meeting                by Buddhist           priest    Jang Yoon         that          Shin       is    not   on the

list   of doctorate          degree holders                      of Yale University                   Buddhist      priest    Young Bae                  sided       with Shin

saying       that    Shin is          not on the                 list   of doctorate         degree      holders because                it   was checked                 based on

our standards               Further Buddhist                           priest    Young Bae           disclosed          had an interview                      with the


person involved               Shin            suggesting                  that    he had met with Shin in person and listened                                       to   her


explanation           in    the process            of the faked                  academic      degree         controversy

              In relation with the                 above                 person concerned               with Jogye Order of Dongguk                                University

disclosed              understand            that       Buddhist            priest        Young Bae had met with Shin                             in person one day


prior to the board                of directors               meeting

              Buddhist        priest        Young Bae said                        If      Shins academic            degree    is   found           to    be        fake       Ill


take responsibility                   and sided with Shin mentioning                                   the responsibility of the                   chairman
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             Buddhist        priest     Young Bae was           forcefully driving         the issue of dismissal              by taking       the


responsibility for it in the voting                     process    of dismissal of Buddhist            priest         and director Jang Yoon

while some         directors           suggested Afler Shins faked                 academic        degree        is   verified again          lets


handle the dismissal issue                     in   the next board of directors            meeting          This                        attempted
                                                                                                                       Newspaper

to   call   Buddhist        priest     Young Bae         but    he could    not be reached

             In the minutes             the academic       affairs              director       of Dongguk             University               Ii    Lee
                                                                     support                                                          Sang

said There          is   absolutely          no problem with Shins            academic         degree      It    was   verified with         the


school       registrar      of Yale University           directly and         document         of verification was             also received


Nevertheless           it   was revealed         that   while     Dongguk     University        had   officially        requested       an

academic        record       inquiry on Shin from Yale University                       on 9/6/2005        an     official     answer    was not

received        Instead          on September        22 of the same         year   it   received     the faked         certificate    of academic

degree and faked                 academic      record    graduation        certificate     by fax on forms              that   were   different


from those used             at    Yale University

             Buddhist        priest     Jang   Yoon who           was known     to      have been asked by the director of policy


implementation              in    Chungwadae            Yang Kyung Byun not               to   make an       issue in the process              of the

faked degree controversy                     of Shin     submitted    the minutes         of board of dircctors              meeting     to   the    trial



requesting       for     plo visional disposition              of director dismissal prohibition                  against      Dongguk

University       held       in   early July and prevailed            so    became       reinstated    as   its   director




Reported by         in   Dong          Lee

Reported by Sang                 Jin   Chang
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     Case 3:08-cv-00441-TLM Document 257-4 Filed 08/04/11 Page 13 of 158




                                    CERTIFICATE OF TRANSLATION




             Kwang          Park     hereby           certify   that        am competent     in both      the   Korean and

English       languages           and      that        translated         DONGGUIK0000        141        from   the    Korean

language      into    the English           language
             thrther     certify          that    translation        of   DONGOUK0000141                 from   the    Korean

language       into    the       English          language      is     accurate   and    correct    to    the   best   of   my
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Kwng         Park

Professional          Translator




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Case 3:08-cv-00441-TLM Document 257-4 Filed 08/04/11 Page 14 of 158




            EXHIBIT                            71
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 Jeong     Ah Shin           Goes          Into Hiding after                      Returning           Home



 Dongguk Univ                 requests              for   dismissal               from    its   Foundation..                    Disciplinary            action    committee

meeting on the 27th

 Fake academic               degree dissertation                            publication          contract           with domestic company




            It   became known                      that    professor              Jeong     Ah        Shin           35          who     has     caused criticism due                   to


her faked          Yale University                   doctorate              degree secretly returned                        home         last    week          Professor          Shin has

cut off any contact                 with the outside                       world and gone               into    hiding

            According               to    those      concerned               with        the police and the airport                             woman who            had the same

name and           date     of birth          as    those        of professor             Shin arrived              at    the Inehun Airport                   from France via

an Air France              flight        around       730          AM        on the       12tIi      On   the       same day appointment of                          professor

Shin      as the co-director                  of Kwangju                   Biennale        was withdrawn                    and on the following                     day Dongguk

University          officially           announced                the fact         that   professor          Shins          doctorate            degree        was     forgery           At

                                 Shin has turned                       off her cellular                             and          not receiving
present professor                                                                                     phone                is
                                                                                                                                                          any calls          It   was

confirmed           that    she moved out from her known                                        address        of         villa    in    Daisin-dong             Seodaimun-ku

Seoul      about           months             ago
            Academic            affairs
                                                   support            director      Sang        Il   Lee of Dongguk                     University         disclosed              In   order

to    deliver        written        request           for       attendance           to   professor          Shin on the                16thi    her whereabouts are


being identified but no contact                                 has    been made            yet Dongguk                     University            submitted            request          for

dismissal          regarding         professor              Shin from              its    Foundation           in    the        name of         president        Young Kyo Oh

on the     14thi           board of directors                      meeting sulTounding                       this        issue    is    scheduled         to    be held on the

20tFt   before      the disciplinary                  action          committee            meeting           which          is    scheduled on the               27     Further

Dongguk          University              is   known         to        have requested                 an investigation                  of professor        Shin from an

investigation          agency
            It   was       verified that             Dongguk University which                                  is   conducting                  fact    finding      investigation

on the appointment                   process          of professor Shin                     found the receipt                     for    the international            mail         sent to


Yale University              by Dongguk                    at    the time in September                       2005          It    has    been determined               that        the fax


that    had been verified                  to   be         fake         had not been manipulated                            in    Korea          In relation with this the


spokesperson of Yale University                                       and   assistant
                                                                                            manager            of    its    public        relations office            Gila


Reinstein disclosed                      during       the interview                 with    the domestic press                            have not been notified by

the headquarters              about           what        type        of   fact    finding       investigation                  will    be additionally conducted                            to


indicate     that     Yale University                     might not conduct an additional                                   fact       finding         investigation         on the

faked        fax written                 verification             of academic              record of professor                         Shin

            However            director             Sang         Ii   Lee revealed               Because            the presidents                 office clearly indicated


its    position     that an internal                 investigation                 on the fax would be conducted                                  an answer          will     be given

after    waiting
        Case 3:08-cv-00441-TLM Document 257-4 Filed 08/04/11 Page 16 of 158
         On    the other    hand    it   was   revealed   that   professor   Shin had signed     contract   with    large

domestic publisher         to   publish   the Korean      edition   of her Yale University     doctoral   dissertation

about   year   ago


Reported by Kyun       Ilyun       Lee

Reported by Nyun
                                 Case 3:08-cv-00441-TLM Document 257-4 Filed 08/04/11 Page 17 of 158

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     Case 3:08-cv-00441-TLM Document 257-4 Filed 08/04/11 Page 18 of 158




                                 CERTIFICATE OF TRANSLATION




             Kwang       Park      hereby        certify that           am competent in both the                               Korean      and

English      languages         and      that       translated          DONGGIJK0000984 from                                    the    Korean

language      into the English           language
             ftirther    certify     that      translation        of   DONGGIJK0000984                               from the Korean

language       into     the    English         language      is    accurate       and     correct               to      the    best   of   my
knowledge        and proficiency




Kwang        Park
Professional        Translator




Subscribed   and sworn    to   before   me   ou ____________
                                                 ________                     Q1t4
                                                                       day of_________           _____year
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Signature    of Notary                                                            Notary Stamp
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           EXHIBIT                             72
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AlO September                            2007 Tuesday                                      Society                                    Chosun             Ilbo       No      25965




Are Prosecutors                     Reluctant              to Investigate                 Jeong-Ah Shin Case

Despite          political involvement                         assigned              to regular criminal prosecutor                                     not special

prosecutor



Ms     Shin       may have                sent the            fake        Yale       fax

            Some            are claiming               that   although                series    of circumstances                     in    the course             of the Jeong-Ah

Shin fake degree scandal                              including       the involvement                   of Blue House policy                           chief       Yang-Gyun

Byeon       in    the    cover-up                point to political               protection          of   Ms        Shin the prosecutofs                          response           is




inappropriate               assigning             the case      to         criminal         division          that
                                                                                                                      processes                criminal       litigation             and

indictments             Although              suspicions           of     political         involvement              are growing                louder the prosecutors

investigation            continues               to   focus    only on            Ms       Shins fake degree                    and the professorial                      hiring


process

                  highly-placed                  person in the prosecutors                        office stated                 on the 3rd            that    with         it   being only

  charge         of interference                 with      duties         in    Ms        Shins absence              there       is   no reason              for    investigation           by

  special division

            However                     fonner prosecutor                      and attorney retorted                  that      of course              the Seoul           district



prosecutors             special division                   needs     to    be involved           when          suspicions             of       political      protection             have

been raised                   lawyer          in      Beopjo    Town                 Seocho-dong              Seoul said its inappropriate                                 to    rule in


advance         that    this       is    only         case    of interference                with duties             without          conducting              an investigation

and its incomprehensible                               that   they      would assign                   case     with suspicions                    of political            protection        to


the   criminal          division

            An     attorney              and former special prosecutor                            explained there                         is     strong       likelihood              of

political       involvement                in both the process                       of   Ms   Shins hiring                at   Dongguk               University            and her

selection        as         director        of the Gwangju                     Biennale         and     if   she     is   being protected                    it    is   likely to be        by

one person             so    it   is    inappropriate           for       these to be examined                       separately            by     the Seoul             Western

District        prosecutor              and the Gwangju                   District         prosecutor              and it seems                  as   if   the prosecutors


office     is   finding           this    troublesome           in      some          way      This has been unfavorably                                compared                to   the


swift investigation                     of Grand National                  Party candidates                   when         it   was       said that          we         will declare        the


genuine truth and present                             the people with                     basis for decision-making                              An     attorney           and former


prosecutor         indicated              that        if   Secretary           Byeon was involved                     in   the       Dongguk            University              hiring and

Gwangju Biennale                        director       selection processes                     this    could         constitute                charge        of abuse of power

against          high-ranking                 public        official           its   peculiar     to    assign        that      to    the criminal                division
            Case 3:08-cv-00441-TLM Document 257-4 Filed 08/04/11 Page 21 of 158




continuing           UJ    dont    understand        why      special prosecutor                doesnt investigate          promptly         as   they     did


in   the case       of the Grand          National      Party candidates                 This   attorney also said Its              likely   that       the


delay       in    bringing      charges     until    Ms     Shin   fled   to     the   USA      was    secretly        arranged   between         the


forces       protecting         her and the complainant              this      needs      to   be   clarified    tbrough     an investigation

              The Seoul Western              District      prosecutors           office announced              that    on September     22 2005
when Dongguk                   University    received         fax stating         that    Ms        Shins doctorate         is   authentic        Ms
Shin was not              in   Korea and      that   they    were investigating                the possibility that         she might have           sent

the fake fax from America                    herself      According         to    the prosecutors           it   has    been confirmed        that      Ms
Shin       left   Korea for Paris           France on September                  15 2005 and           after     about    ten days    entered        the


US    at    New York


Reporter          Jin-Dong        Lee jaydleechosun.com

Reporter          Woo-Sung          Kim     raharu@chosun.com
                            Case 3:08-cv-00441-TLM Document 257-4 Filed 08/04/11 Page 22 of 158

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     Case 3:08-cv-00441-TLM Document 257-4 Filed 08/04/11 Page 23 of 158




                                  CERTIFICATE OF TRANSLATION




             Samuel Henderson                    hereby    certify    that       am   competent       in    both   the

Korean        and     English          languages     and    that           translated   DONGGUK0000139
from the Korean             language        into the English         language
             further        certify       that    translation        of    DONGGIJK0000139                 from    the

Korean language              into      the English    language        is   accurate   and   correct    to   the best

of   my knowledge           and     proficiency




Subscribed   and   sworn   to before   me                     day                       2Oyear




                            k-
Signat4Notaxy
Case 3:08-cv-00441-TLM Document 257-4 Filed 08/04/11 Page 24 of 158




           EXHIBIT                             73
                                                    Articles       That Allegedly Harmed Dongguks                  Reputation


           Dongguk has identified the 58 documents in the table below as  complete listing of all newspaper    articles or other media

reports    that harmed Dongguk                                                     articles
                                   reputation Ex 74 at 9-il and as all newspaper            or other media reports that criticized  or
vilified    Dongguk University  or harmed  Dongguk Universitys reputation        80 at 22-25     Since there is no evidence                                                   that
                                                                            Ex                                                showing
Yale published       defamatory    falsehoods        concerning          Dongguk with         actual malice   the information   in   the table demonstrates    that    Yale    is


entitled    to   judgment   as   matter    of law on       all   of Dongguks        claims


           Document               Statements Attributed                       Evidence        that    Evidence              Are                 trc           Eidence         fla
                                               to Yale                         Yale      Made              that        statements          statements          statements
                                                                               Statements            statements           of and           defamatory          made      with

                                                                                                       are false       concerning            toward           actual    malice

                                                                                                                        Dongguk            Dongguk
DONGGUK00008S1                    None                                        N/A                    N/A              N/A                 N/A                 N/A
Ex 21
DONGGUK000092O                    None                                        N/A                    N/A              N/A                 N/A                 N/A
YALE00000          178

Ex 138
DONGGUK0000923                    None                                        N/A                    N/A              N/A                 N/A                 N/A
Ex 37
DONGGUK0001548                    None                                        N/A                    N/A              N/A                 N/A                 N/A
Ex 139
DONGGUK000200                     Gila Reinstein          asked               None                   N/A              N/A                 N/A                 N/A
Ex 140                            What       on Earth      is    going
                                  in on in    Korea
YALE00000753                      Gila Reinstein          said that           Ex    27   at          None             No                  No                  None
Ex    141                         no      student    by   the    name
                                  of Jeong     Ah     Shin ever

                                  enrolled     in   any courses          or

                                  obtained          doctorate

                                  degree     from    Yale
                                                                                                                                                                                     Case 3:08-cv-00441-TLM Document 257-4 Filed 08/04/11 Page 25 of 158




DONGGUK0000931                    None                                        N/A                    N/A              N/A                 N/A                 N/A
Ex 142
DONGGUK.0000951   Christine      Mehring              said   None   N/A   N/A   N/A   N/A
Ex   143          Its    not    mine The
                  signature      on the sheet
                                is
                  you sent            NOT mine
DONGGUK0001357    None                                       N/A    N/A   N/A   N/A   N/A
YALE00000372
Ex 144
DONGGUK000155O    None                                       N/A    N/A   N/A   N/A   N/A
YALE000001   80
Ex 145
DONGGUK0001784    Yale      issued           terse           None   N/A   N/A   N/A   N/A
YALE00000183      statement          yesterday

Ex   146          stating     that    Shin did not

                  graduate      with          doctorate

                  in   2005     as she had

                  claimed       and had           in fact

                  never been registered
                  with the university                 at

                  all

DONGGUK0000963    None                                       N/A    N/A   N/A   N/A   N/A
YALE000001   87
Ex 147
DONGGUK0000969    None                                       N/A    N/A   N/A   N/A   N/A
Ex   148
DONGGUK0000971    Gila   Reinstein           said      The   None   N/A   N/A   N/A   N/A
Ex   149          document           has       different

                  fonn      from     that     of Yale

                  Universitys              official

                  certificate         The
                  document           is     fake
                                                                                            Case 3:08-cv-00441-TLM Document 257-4 Filed 08/04/11 Page 26 of 158




                  Gila Reinstein             said            None   N/A   N/A   N/A   N/A
                  couldnt       contact         Pamela


                                                -2-
                 Schirmeister                associate

                 dean of Yales Graduate

                 School         whose         signature

                 was     on the faxed

                 document              However               her

                 assistant       said Prof

                 Schirmeister            had never

                 signed      her       name      to   such

                   document
YALE00000186     None                                              N/A    N/A   N/A   N/A   N/A
Ex 150
DONGGUK0000974   None                                              N/A    N/A   N/A   N/A   N/A
Ex 151
DONGGUK0001200   Gila    Reinstein            said                 None   N/A   N/A   N/A   N/A
Ex 152           have not received                any
                 orders      from the schools

                 headquarters             for


                 supplementary

                 investigation            into    this

                 case


                 Gila    Reinstein            said      We         None   N/A   N/A   N/A   N/A
                 already        revealed         that

                 Shin was not                 Yale
                 student        through           precise

                                             This       is   the
                 investigation

                 biggest        outcome          of our

                 investigation


                 Gila    Reinstein            said                 None   N/A   N/A   N/A   N/A
                 think     there are  many
                                                                                                  Case 3:08-cv-00441-TLM Document 257-4 Filed 08/04/11 Page 27 of 158




                 ways      to   make people
                 believe        that    it   was faxed


                                                 -3-
                 from Yale University

                 Even    if   it   was     faxed          from
                 Yale University                it   is


                                   that   the
                 very true
                 document           was         forgery

                 that   were               not       issued

                 by Yale University
DONGGUK0001758   None                                            N/A              N/A    N/A   N/A   N/A
Ex 41
DONGGUK0000994   Yale     also said the fax                      None             N/A    N/A   N/A   N/A
     995         that   supposedly

Ex   153         confirmed           Shins

                 credentials         was         fake
DONGGUK0001009   None                                            N/A              N/A    N/A   N/A   N/A
Ex 154
DONGGUK0001O1O   None                                            N/A              N/A    N/A   N/A   N/A
Ex 155
DONGGUK0001O13   None                                            N/A              N/A    N/A   N/A   N/A
Ex 156
DONGGUK0001127   None                                            N/A              N/A    N/A   N/A   N/A
Ex 139
YALE00000771     None                                            N/A              N/A    N/A   N/A   N/A
Ex 157
DONGGUK0001O16   Christine         Mehring           said        Ex    188   at   None   No    No    None
Ex 158              have never heard                  of

                 any such student               Jeong
                 Ah Shin           or any such

                 dissertation            the fake
                 doctoral      dissertation               that

                 Ms     Jeong-Ah           Shin
                 submitted          to    Dongguk
                                                                                                            Case 3:08-cv-00441-TLM Document 257-4 Filed 08/04/11 Page 28 of 158




                 University          at   the time of

                 her    hiring

                                                -4-
DONGGUK0001O3O     None                            N/A    N/A   N/A   N/A   N/A
Ex 62
DONGGUK0001039     None                            N/A    N/A   N/A   N/A   N/A
Ex 40
DONGGUK0001O41     None                            N/A    N/A   N/A   N/A   N/A
Ex 159
DONGGUK0001O42     None                            N/A    N/A   N/A   N/A   N/A
YALE000002O4
Ex 160
DONGGUK0001O52     None                            N/A    N/A   N/A   N/A   N/A
Ex 161
DONGGUK0001O5ftt   None                            N/A    N/A   N/A   N/A   N/A
Ex 162
DONGGUK0001564     None                            N/A    N/A   N/A   N/A   N/A
Ex 163
DONGGUK0001O92     None                            N/A    N/A   N/A   N/A   N/A
YALE000002O8
Ex 164
DONGGUK0000079     None                            N/A    N/A   N/A   N/A   N/A
Ex 165
DONGGUK00001O1     None                            N/A    N/A   N/A   N/A   N/A
Ex 166
DONGGUK00001O8     None                            N/A    N/A   N/A   N/A   N/A
Ex 167
DONGGUK0001393     None                            N/A    N/A   N/A   N/A   N/A
Ex 168
DONGGUK0000135     None                            N/A    N/A   N/A   N/A   N/A
Ex 169
DONGGUK0001328        Yale spokeswoman             None   N/A   N/A   N/A   N/A
Ex 34              Gila   Reinstein   said the

                   University   has no record
                                                                                  Case 3:08-cv-00441-TLM Document 257-4 Filed 08/04/11 Page 29 of 158




                   of Shin ever attending    the

                   University

                                       -5-
                       University                             Ex    30   at   None   No    No    None
                 spokesperson said the

                 alleged       facsimile        was     not

                 in the typical format used

                 by    Schirmeister         to

                 confirm the alumni

                 degrees        and did not even

                 spell    the   deans name

                 correctly


                 Meanwhile            the degree              None            N/A    N/A   N/A   N/A
                 Shin presented            as    her

                 own has         flagrant        errors
                 Reinstein       said      Although
                 it   was   dated     2005       the

                 year     Shin claimed           to

                 have received          her

                 doctorate        the signature

                 on the diploma            was        that

                 of former president

                 Howard Lamar who                      left

                 office in      1993       Reinstein

                 said


                 Reinstein          said she has              None            N/A    N/A   N/A   N/A
                 not     yet   come   to   Yale as

                 promised
DONGGUK0000146   None                                         N/A             N/A    N/A   N/A   N/A
YALE0000023

Ex 170
                                                                                                        Case 3:08-cv-00441-TLM Document 257-4 Filed 08/04/11 Page 30 of 158




DONGGUK0000142   None                                         N/A             N/A    N/A   N/A   N/A
Ex 171
                                                -6-
DONGGUK0000168           None                                            N/A                N/A             N/A                    N/A               N/A
Ex 172
DONGGUK000036S           None                                            N/A                N/A             N/A                    N/A               N/A
Ex 173
DONGGUK0000535           None                                            N/A                N/A             N/A                    N/A               N/A
Ex 174
DONGGUK0001119           Yale       University               said on     Ex    56   at      Ex    24   at   No                     No                None
Ex 57                     September          21    that       Shin

                          Jeong-ah did not                register

                          as      student         did not

                          attend    any classes               and

                          did not receive                 doctoral

                          degree          The     university

                         revealed         that    all


                          documents          supporting

                          Shins      assertion of

                         receiving           doctoral

                          degree     at   Yale University

                         were      forgeries


                         Yale       University               said the    Ex    56   at      None            No                     No                None
                         university         didnt allow

                         private     teachers           to    write

                         papers      mentioning                Any
                          student    has     to    write

                         thesis    by     hinilherself in

                         order to receive

                         doctoral         degree        at   Yale

                         University moreover                     the

                         paper should be
                                                                                                                                                                         Case 3:08-cv-00441-TLM Document 257-4 Filed 08/04/11 Page 31 of 158




                      admitted     that    this    article       which   did not                            did not   harm   its                     34    at
        Dongguk has                                                                 even mention Dongguk                           reputation   Ex              216-17


                                                         -7-
                 creative


                 Yale      University                       Ex    56   at   None   No    No    None
                 revealed        there       is   no

                 person named John

                 Tracey in the          art   history

                 department             In addition

                 the university          said Yale
                 has    no relationship            with

                 brokers       and the concept
                 of broker       is    alien to Yale

                 University
DONGGUK0000993   None                                       N/A             N/A    N/A   N/A   N/A
Ex 175
DONGGUK000133O                University          said      None            N/A    N/A   N/A   N/A
Ex 176           there   is   no record           of her
                 ever    attending           Yale

                 She     never        came        and the   None            N/A    N/A   N/A   N/A
                 University           does not
                 believe      she     ever

                 matriculated           at   Yale
                 University           spokesman
                 Tom     Conroy said in an
                 mail Monday



                 The     document            did not        None            N/A    N/A   N/A   N/A
                 even    spell      Schirmeister

                 correctly            University

                 spokeswoman said
                                                                                                      Case 3:08-cv-00441-TLM Document 257-4 Filed 08/04/11 Page 32 of 158




                 The     degree        Shin                 None            N/A    N/A   N/A   N/A
                 allegedly       concocted          was


                                              -8-
                 flawed        Yale    officials

                 said    when     the scandal

                 broke
DONGGUK000165O   None                                     N/A    N/A   N/A   N/A   N/A
Ex 177
DONGGUK0001332         Yale spokeswoman                   None   N/A   N/A   N/A   N/A
Ex 178           repeated       Wednesday          that

                 there    is   no record      of

                 Shins     ever      having
                 attended       the University



                 That      fax   was    apparently        None   N/A   N/A   N/A   N/A
                      fabrication      too and
                 misspelled

                 Schirmeister               according

                 to     University

                 spokeswoman
DONGGUK00007O9   None                                     N/A    N/A   N/A   N/A   N/A
Ex 179
DONGGUK0000717   None                                     N/A    N/A   N/A   N/A   N/A
Ex 180
DONGGUK0000725   None                                     N/A    N/A   N/A   N/A   N/A
Ex   181
YALE00000335     In     July however           when       None   N/A   N/A   N/A   N/A
Ex   182         suspicions          over   Shins

                 document        forgery      rocked

                 South Korea Yale said
                 the fax       was   fake    and Shin

                 was never       registered        as

                 student       there
DONGGUK0001186   None                                     N/A    N/A   N/A   N/A   N/A
                                                                                         Case 3:08-cv-00441-TLM Document 257-4 Filed 08/04/11 Page 33 of 158




Ex 183
DONGGUK0000795   None                                     N/A    N/A   N/A   N/A   N/A

                                             -9-
Ex 184
DONGGUK0001007                       None                                       N/A               N/A                   N/A          N/A             N/A
Ex 185
DONGGUK00013O2                       None                                       N/A               N/A                   N/A          N/A             N/A
Ex 186
DONGGUK00017492                      Yale     mistakenly                        None              N/A                   N/A          N/A             N/A
Ex    187                            announced       to    media       that

                                     the fax   it   sent on

                                     September       22nd        was
                                     fake   made by        DGU
                                     Gila     Reinstein      replied            None              N/A                   N/A          N/A             N/A
                                     that   the fax which         had

                                     been delivered         to   DGU
                                     on 22 September             was
                                     inauthentic      on the ground
                                     that   the certificate       design

                                     of Shins       was    totally

                                     different from that           of

                                     Yale

                                     Also     professor                         None              N/A                   N/A          N/A             N/A
                                     Schinrieister          assistant

                                     said Schirmeister           had

                                     never signed         nor sent

                                     confirmation         document

                                     to   DGU
                                                                                                                                                                 Case 3:08-cv-00441-TLM Document 257-4 Filed 08/04/11 Page 34 of 158




         This   article   is   not    actionable     because         it   was published   by Dongguk     Ex   52   at   163 $   Cweklinsky   Mobil   Chem   Co
267   Conn 210    218     2004 no            claim   for    self-publication       defamation   exists


                                                              -10-
   Dongguk      does not claim        that   these   articles   contain   any   false   statements     made by Yale               Ex   74   at   11-13   containing
           listing   of   all                articles   or other media reports          that   contained   false    statements   by Yale    or   its   employees Ex     80   at
complete                        newspaper
26-28 identifying         all documents       that                  contend        contain     false   statements    that   Yale University      made concerning      Dongguk
University
                                                                                                                                                                                  Case 3:08-cv-00441-TLM Document 257-4 Filed 08/04/11 Page 35 of 158




                                                          11
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     EXHIBIT                             74
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                                            IN     THE UNITED STATES DISTRICT COURT
                                                  FOR THE DISTRICT OF CONNECTICUT

 DONGGUK UNIVERSITY
                                                                                                             Civil       Action           No      308-CV-0044             -TLM
                                            Plaintiff




 YALE UNIVERSITY

                                            Defendant




                                      DONGGUK UNIVERSITYS DAMAGES ANALYSIS
               Pursuant to Rule                  26al              of the Federal                 Rules     of Civil          Procedure           FRCP and                the     May
25 2010          Order of Magistrate                       Judge        Holly Fitzsimmons                       Dkt      158              Plaintiff      Dongguk
University            Dongguk                    hereby          submits          the    following          Damages             Analysis

               BACKGROUND FACTS
               This case         centers          around         the false         statements and                 allegations             made by        Yale University

Yale            to the        Korean        media          in         university-wide                cover-up           of    its   negligent and           reckless

behavior          in   denying         that        it   ever provided              Dongguk            with          statement              confirming       that   it    had

awarded              Ph.D       to    Jeong        Ah      Shin       Shin                Dongguk            has asserted                 against     Yale claims         of

negligence             ii     reckless        and wanton conduct                         and       iii defamation


               Specifically            Dongguk              asserts        that    Pamela Schirmeister Schirmeister                                          an Associate
Dean      in   Yales          Graduate            School         of Art and             Sciences          failed        to   follow         Yales        protocols for

verifying post-graduate                      degrees            purportedly awarded by Yale                                   Dongguk             also   asserts   that

Schirrneister              violated     Yales             protocols         and         as        consequence                authenticated            what turned out             to

be       forged       document           that           Shin had provided                 to      Dongguk          as   proof that           she received           Ph.D from
Yale


           Dongguk              also    asserts           that     beginning            in July       2007 and throughout                         September 2007 Yale
through        its    Office of Public                   Affairs       OPA                   in   its initial     media campaign                     made       series         of false

and defamatory                 statements               when     it   informed           the      Korean media                that        Yale had not verified                Shins

degree     and        that    Dongguk had never                        asked       Yale to verify                Shins Ph.D                  Dongguk        further       asserts

that    Yale compounded                     its    wrongful            behavior          by       failing    to    correct          its   false    statements      even         after


Dongguk          provided             Yale    it    with proof that                Yales statements                     to    the    Korean media was false


II         STANDARDS                        REGARDING DAMAGES
                             Libel     Per Se

           At        the    outset     it   is     important to note that                          defamatory                statement        that    injures      plaintiff           in

its    profession or calling                 is     libel per         Se    See     Sec           146 Wright             Fitzgerald            Ankerman            Connecticut

Law of Torts 3d Ed 1991                                      defamatory                 statement         that     imputes           improper conduct                   or lack    of
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 skill   or integrity         in         profession or business                      is   libel   per      se         Accordingly               special     damages do
not have       to   be     pleaded          nor proved                Id     Thus         jury will have                 wide   latitude           in   determining          the

 amount of Dongguk                         damages

                           Standards               For Economic                And        Non-Economic                       Damages

                  jury can         award economic                    damages         for    defamation                based    on evidence               submitted        by

party       Cantu            Flanigan 341                    Fed Appx 694 696 2d Cir 2009 upholding                                                     $38 million

economic           damages award

            Courts         have held            that    in      calculating         non-economic damages                             in      defamation           case

jury     may     properly consider                      number of factors                   including

                                   the     plaintiffs           standing       in the      community


                           ii      the     nature of the defendants                        statements             made        about       the   plaintiff




                           iii the          extent       to   which the statement were circulated


                           iv       the tendency               of the statement             to injure              person       such       as   the plaintiff



                                   all    of the other facts                and circumstances                    in   the case        Cantu              Flanigan
                           Civ      No       05-3580 2010                    WL     1486433           at          E.D.N.Y             Apr 14 2010
                           affirming jurys award                            of $150 million for non-economic                                 damages

Thus        jury will have                 wide       latitude        in    determining         the     amount of Dongguks                          non-economic

damages




            Based upon our review                            of the facts          and    analysis         of the injury           suffered by            Dongguk we
have determined               that       the damages suffered by                         Dongguk           fall       into   three    distinct          categories
economic          damages            ii non-economic damages and iii punitive damages

III         ECONOMIC DAMAGES
                           Government Grants

            Two      research project                  applications            submitted          for      the Humanities                  Korea Support            Grants

HK Grants                  were          rejected       in    the    fall    semester       of 2007 despite the fact                          Dongguk
                                                                                                                                            that                       had

superior qualifications                    compared             to   other applicants                The         first   project      was titled East               Asian

BuddhismInterchange                             Consilience                 and Synergy           initiated            by Dongguks                 Korea Buddhist
Research       Institute            The      second           project        was   titled    Discovery                 and    Creation          of Cultural         Identity        of

Korean Nation              in the        Age       of Globalization initiated                         by Dongguks                  Cultural         Research           Center

            As       Buddhist             academic            institution          with over         100    years of history                    Dongguk        is   one      of the

leaders     in the        field    of Buddhist               studies         The    Korea Buddhist                    Research            Institute      was   established

in   1962   and      is   known           for   its    active        involvement           in   academic              research and the quality                    of   its


articles    that    have been published                         over the last 45            years          Its    journal       Buddhist            Bulletin        was
selected     as     one of        the     leading journals in the field by Korea Research                                            Foundation             the


government           institution            that    in fact      initiated         and ultimately awarded                       the       HK    Grants in         2007        The
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 Korea Buddhist              Research             Institute       is    the   only Buddhist                 research           institute in                Korea        that    have held

 over ten international                   symposiums              since       2002

              In comparison                 the    Buddhist            Culture Research                 Center of             Geumgang                     University            who was
 the actual         recipient        of the       HK         Grants in        2007    is    still     in the       early        stage       of       its    development                   The

Buddhist           Culture Research                 Center was              established          in    2003 and had published                                   just    one     issue       of

journal       at    the time of application


              Both of the            applications             were turned down                   in   the       fall    semester of              2007          Dongguk
applications             were     rejected         at   the    first
                                                                        preliminary             review           stage in September                         2007 The impact
of the loss of the two major grants                               was       significant          at    $8    million each                   Accordingly Dongguk
lost        total    amount          of   16000000000                   Korean        Won             Using             currency            conversion                  rate    of        U.S
Dollar 1000 Korean                         Won          this loss       amounted           to    $16 million

                            Donations

                                           Background

             As          result   of Yales              inaccurate          statements           toDongguk and the media concerning
Dongguks             efforts      to      contact       Yale     and     verify      Jeong        Ah Shins Ph.D allegedly awarded by                                                      it the

amount of corporate                    and individual              donations          provided              to    Dongguk             has       decreased


             In    February          2007 Dongguk                  appointed          Youngkyo                   Oh     President               of    Dongguk                  President

Oh     is   the    former     Chairman of                the    Korean Trade-Promotion                                 Agency             the    former           Vice         Minister          of

Commerce                 Industry and Energy and the former                                Minister              of Govermnent                       Administration

Home        Affairs         Typically             universities           in   Korea experience                          significant             increase           in     donations

when        the    university        hires         former         CEO         with expertise               in    business management                               as    its   new
president           One     of President                Ohs     major goals was                  to raise         $100 million                  in     donations              through
various       campaigns              over the four                   year period           of his term                 from 2007                to    2010

              Despite        President            Ohs         efforts       the   amount of pledged                       donations              actually              received

decreased           after   Yales          misstatements                about     Dongguk were                     widely           reported               in   the media              In    fact

as     result       of    the stain on            Dongguks                                                             of donors           have         revoked           their
                                                                        reputation               majority

promises           resulting         in       50%       decrease        in the     amount of donations                             that    were            actually       received

Such         large-scale          reduction             in   donation         amount        in   such             short      period         is       unprecedented                   in


Dougguks             history

 Unit        Million Dollars


Year                                       2007                    2008                         2009                         2010                                 Total

Goal                                       20                      20                           30                           30                                   100

Amount Received                            6.3                       10.2                       21.3                         ---                                  37.8

Percentage                                 31.5%                   51%                          71%                          ---


                                           Amount               of Donation           in   Comparison                   to    the    Goal

             The     chart below              which summarizes the pledged                                   amount and                   the    amount received                       for

each    accounting           year
                                  from 1998                    until    2009       reflects          the    difficulties             Dongguk                    has experienced                  in


raising      donations          as        result    of the Shin incident                   despite          President              Ohs          active           involvement                in

donation          campaigns            since      2007         The      calculation         of the amount                    received            is     based          upon      the

amount received               for      each      accounting             year regardless of when                           the      corresponding                   pledge            for the

received          amount has been made
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           Utht 10000000 won                      roundin2       off to the unit            amount
 Category         Donors             989900                      0102                  03       04         05       06       07       08            09

 Pledged          Alumni             31      30       49         279       60          114      144        125      144      130      205           304

                  Corporate          134      111      66         108      107         92       41       255        521      251      1108          288

                  Others             298      173     387        363       397        260       117      22         169      328      309            1884
                  Total              463     314      502        750       564        466       302      672        834      709      1622          2476
Reccived          Alumni             19      25       45         53        100         69       128        72       90       104      110            182

                  Corporate          166      115     66         116       105         83       38         166      324      324      666           308

                  Others             280      127     365        379      291          187      154        158      178      228      241            1754
                  total              465     267      476        548      496         339       320      396        592      656      1017          2244
                                      Donations         Pledged         and    Receivect        Every      Year

                                   Individual        Campaigns

           The    graph     below provides           an example of the loss                  of proposed          donations       from     three   major
campaigns        during     2007


               Campaign              Amount         Pledged             Amount         Received                  Amount      in    Lost

                 Name                By Donors        Won              from Donors            Won               Donations     Won
               Buddhist

                 Youth
                 Leaders                   90000000                           80000000                              10000000
               Education

                  Fund
                 Tuition

           Donation         for
                                          520 000000                       200 000000                              320000000
               Dongguk
                 Juniors

                 COME
           TOGETHER
                                      2600000000                           500000000                              2100000000

                 Project

               TOTAL                  3210000000                           780000000                              2430000000
                                               Result        of Donation Campaigns                    in   2007

Thus    for    these three        campaigns       alone Dongguks                lost    donations        was $2430000


           Dongguk         also   launched     the   100th       Year Anniversary               Development              Fund Campaign             from

2005   until    2006 with donors             promises       to   be    fulfilled      in    subsequent          years     Instead    many      pledges
have   not resulted        in   fulfillment       As shown        in the      chart     below        only 67.8%          of the pledged

donation      amount has been received by Dongguk
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Accounting            2005                             2006                          2007                      2008                    2009                         Total

 Year

Pledged               2400000000                       3340000000                    70000000                                                                       5810000000
Won
Received              560000000                        2560000000                    410000000                 100000000               310000000                    3940000000
Won
                                  100th          Year Anniversary                   Development               Fund Campaign             Result

Thus Dongguks                lost      donations            for this   campaign            was     at least       $1870000

            In   August 2007 Dongguk had planned                                     to   launch       the    Dongguk          President        Members

Campaign           President          Ohs       most ambitious                campaign           aimed        at large    donations          from Dongguk

alumni However                   as     result        of the extremely              negative       response         from       its   alumni Dongguk was
forced    to cancel the campaign                       entirely


                 significant          decrease         in   the donation            amounts received               is   also   reflected        in    donation

campaigns         aimed      at   smaller amount                   donations        from students              alumni and            other interested

people         For example             the   Tuition Donation                  Campaign           was held from March                   2006         until   the    end

of   2007        As shown         in the       chart    below         which         is   based    on    the    amount pledged              and received             for

each   accounting         year         there     was          noticeable           decrease       in   both the pledged              amount and          the

amount received             in    2007

Accounting          Year         2006




Dongguks          lost   donations             for this      campaign          was another $340000                        While      this loss        appears       to    be

small in comparison to larger                         campaigns          it    reflects     the    fact    that
                                                                                                                   many        individuals       who         otherwise

would have supported                   Dongguk no               longer        do   so

                                       Cancelled Donations                         And     Cancelled          Pledges

          In     addition        several        donors        have     informed           Dongguk          that    they chose         not to donate            to

Dongguk          or cancelled          their    pledged         donations           because       they believed            Yales misstatements

          Three donors have                    told    Dongguk          that       they decided           not to    make       donations         to    Dongguk           in

the following        amounts

                       Jin   Sik       Cho            billion      Korean won              $5     million

                       Joon       Hyung Park                 4.5    billion        Korean     won $4.5            million


                       Hyun       Jung         Kang            billion        Korean won $1 million

          Two       other alumni             have cancelled              their      pledged       donations         to   Dongguk           in   the following

amounts

                       Mr        Oh Hyun          Kim          500 million Korean won                         $500000
                      Jin    Moon Kim                       billion   Korean won $1 million
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                           Law             Scbooi


              The       reputational                injury        suffered by                Dongguk               as      result         of Yale Universitys                          inaccurate

 statements resulted                      in     Dongguk              not being            selected        as           university              entitled        to    open         U.S         style

 law school                The            following             explains some                    of the loss that               has resulted               from Dongguks
 exclusion        from the                list   of universities                   that    were allowed                   to   open U.S                style    law schools

                                                 Loss Of Revenue

                                                                Loss of annual earning                             revenue minus expenses                                   of    1350000000
                                                                won     beginning                2010 $1.35 million2

                                                                Loss        of annual government grants                                    and     other        sponsorship               of

                                                                3500000000                     won $3.5                 million

                                                                The     damages               in this     category              include           projected            Jogye        Foundation

                                                                sponsorship                 in the    amount of 2700000000                                  won $2.7 million
                                                                projected            corporate            sponsorship                in the            amount of 500000000 won

                                                                $500000                    and    projected               government                   grants        in the      amount of

                                                                300000000 won $300000

                                                                Loss        of projected             annual donation                       that    would have                 come        from law
                                                                school alumni                    260000000                     won $260000                      every year

                                                                               Had Dongguk been                            able      to    open           U.S         style      law school                  it



                                                                               would have been able                             to   receive            general donations                      in the

                                                                               amount of approximately                                2000000                  won      $2000              from
                                                                               each        alumni         every year                 Because             there        are   80     students in

                                                                               each        class      Dongguk                  believes           that   the     projected              annual

                                                                               donation            from law school alumni                                would have               been         in the

                                                                               amount of approximately                                160000000 won $160000
                                                                               Dongguk             fttrther         believes          that        it   would have                been     able        to

                                                                               receive event                                              and
                                                                                                           sponsorship                            other     types of special
                                                                               donations             in   the amount of approximately                                       100000000 won
                                                                               $100000                each          year

                                               Expenditures

                                                               Amount expended by Dongguk in preparation of the law school
                                                               application 21451313000 won $21.451 million The damages
                                                               in this       category            include           the following


                                                                               Reconstruction                      of the law department                         building

                                                                               7737000000                      won $7.737                      million




  In    2006 Dongguk            was       selected        as    one    of    the    10    universities        to   open        U.S   style      MBA       programs          as    well    as    one     of
the    27 universities     to    open          U.S    style      medical       graduate schools   It                      is   extremely          unusual       for     university         that

received    permission          to   open        both     the    MBA         program and the medical                       school         to   be denied        permission         to    open     the      law

school      Additionally             in   2010 Dongguk                 obtained           permission       to      open         college of         phamiacy
 The annual earning would                        likely    have       been     lower       for the    first     two years 2008 and 2009 because                                  the    school        would
not have    had   its   full    three-year           classes      yet
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                                                                     New       construction          of law library and         mock     court

                                                                     1436000000               won $1.436         million


                                                                     Purchase         of real estate      and construction          of law school

                                                                   dormitory           6283000000             won $6.283          million


                                                                    Newly hired law faculty members and salaries provided to
                                                                   them 5480000000 won and increasing the total amount
                                                                   of salaries that were paid to 22 newly hired faculty

                                                                   members           for   law school from 2004 until               2009 $5.48
                                                                   million

                                                                   Administrative                          relating     to    application    and
                                                                                              expense
                                                                   evaluation          515313000            won $515313

                                                       Amount expended                 during      lawsuit against           Ministry    regarding

                                                       refusal     to    allow Dongguk             to   open law school           74465420         won
                                                       $74465
                           Brand         Rehabilitation


                                  Costs      To Date


                  Category                                     2007                           2008                      2009                       Total

   Updating          University       Logo                     51587650                     113066010                    2310240                   i66963900

        Advertising          spent    on
        miscellaneous             brand                        45947000                     216197200                   43952650                   306096850
               rehabilitation


  Strengthening             of media        PR
                                                               25873080                       47313150                  44702040                   117888270
                  activities


    Reputation            rehabilitation

   projectifees       paid       to outside                                                                           157393532                    157393532
                     PR   firm


  Brand      rehabilitation-related
                                                               15950000                       27760000                137907600                    181617600
        brochure production


                                                                                                                                                   929960152
                     Total                                   139357730                      404336360              386266062
                                                                                                                                                    $929960



                                  Future Brand Rehabilitation                              Costs



             As   discussed          above        to    date      Dongguk has spent  significant   amount in                            order to merely

begin     rehabilitating           its    brand    name            However  those damages   do not  cover the                           entirety   of the

brand     rehabilitation           that    Dongguk            will      have   to    engage     in to    fully rehabilitate       its   brand    name       It   is


clear   that    Dongguk must                continue         to
                                                                  engage        in     series   of public relations            and marketing
activities      to   rehabilitate          its   brand       name       in   the future


             Dongguk            has retained           the   services        of two firms engaged in the business                       of brand

rehabilitation            and     intends to introduce                  expert testimony             regarding    the   amount Dongguk             will
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 need       to    spend        and what           it   needs        to   do     in       order to fully rehabilitate                     its   brand        name       It is   the


 understanding                     that   Dongguk            will       have        to    continue           to     expend       significant       resources in

 rehabilitating                its    brand      name


                                   Summary Of                 Economic                   Damages

 COMPONENT OF ECONOMIC LOSS                                                                     VALUE OF DAMAGE
 Grants                                                                                         $16000000

 Donations                                                                                      at      minimum             $12000000

Law         School                                                                              $26636000

Brand            Rehabilitation                  Costs                                          at      minimum             $929960

TOTAL                                                                                           at      minimum $55565960



IV               NON-ECONOMIC DAMAGES
                               Dongguks                 Standing In The Community

                 Dongguk was                   founded            in    1906    by the Jogye                      Order          Buddhist        monastic           order and         is   one
of the most prestigious                          Buddhist-affiliated                       universities              in the      world and one               of the most well-

known            universities             in   the field of Buddhist                       studies           in    Korea         The    Jogye      Order that          established

Dongguk               is   the largest and              one       of the most influential                           Buddhist        Orders in Korea                   Adherents            of

the    Jogye          Order         practice          Seon        Zen      Buddhism                   and seek             path to      enlightenment               and

understanding                       One    of the paths available                         to    the    Jogye         Order adherents              is   to    attend    Dongguk
because           of    its    impeccable              reputation          and           because        of     its   renowned           Buddhist            educational

programs Because of                             its   Buddhist            roots Dongguk                       has become            known        for    its   strong humanist
tradition and is known                          for    its    spirituality               morality            and     leadership


                 In    its    one     hundred-plus                years of existence                     Dongguk                has become            one    of the most

important academic                        institutions             in    Korea and has developed                                 stellar       reputation for the quality                   of

its   education                In addition to being                      known            for   Buddhist             studies       Dongguk has greatly contributed
to    the   development of                     the     basic sciences in Korea and                                  is   also    known for its literature and cultural
programs                Because of              this    reputation             for quality             education                Dongguk         has    won     several     awards
including             being ranked               number            one    in    Korea           in the        Basic       Science       Research            Achievement              Survey
conducted              by     the    Ministry          of Science              and        Technology and the Korea Science                                    and     Engineering
Foundation                   and     in   2005 was            chosen           as    one       of the Best Universities                        of the Year by the Korean

Council           of University                Education


                               Yales           Statements                Made About Dongguk

             Yales             statements             were        directed          at    Dongguk and                    about    Dongguks             truthfulness

Specifically                 while        Dongguk had                  repeatedly              stated        that    in   2005     it   had    sent         request for
verification               of Shins            degree        to   Yale Yale                stated       to    the media on several                    occasions that           it   had
never       received           the request
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         For example                 on July 19 2007                       the     Joong Ang               Ilbo       printed the results                    of     July   17 2007
interview with Gila Reinstein                         Reinstein                      in    which Reinstein                       gave        the following           answer       to the


following      question



                       Dongguk               University           is    claiming to have                     forwarded                  an   academic record

                       verification              request         to    Yale University                       Did you receive it


                            looked         for   it
                                                      repeatedly              in the       Department of Art                           history      and      the

                       Graduate              School        with no success                             document                  such    as        request for

                       verification              of academic                 records          is
                                                                                                     very        important matter                       so   we    keep

                       book        to    record       it     The fact             that     we      couldn         zJind such                 an important
                       document              means         that       we     didn          receive          it    Italics              supplied


         Furthermore                in     her publicly               aired       television           interview             on        MBC         Reinstein         on behalf        of

Yale once       again claimed                that     Yale had never                      received          an        inquiry from Dongguk                          asking about

Shins Ph.D


         The below            is        complete           listing         of     all
                                                                                        newspaper                articles         or other media reports                   that

harmed Dongguks                reputation


                                                                                                                                                                   Date                   Name      of
      Bates   No                     Medium                                                          Title
                                                                                                                                                              Published              Publication

                                   Web
DONGGUK000085                                              Debate          over    Dongguks            Faculty         Hiring      Process                   6/30/2007            Bowonsa
                                   Article


DONGGUK000092O                     Web                     Biermale Art Director                   Accused            of   Phony
                                                                                                                                                             7/12/2007            Chosunilbo
YALE00000178                       article                 Credentials

                                   Web
DONGGUK0000923                                             Biennale          Director         sacked      for    Academic Forgery                            7/12/2007            Korea    Times
                                   article

                                   Web
DONGGUK000           1548                                  Art luminary             forged her academic                    credentials                       7112/2007            JoongAng
                                   article


                                                           Falsified         Academic Degree. .Fabricated
                                   Web
DONGGUK0002001                                             Dissertation..               Serious Moral             Hazard          in   Culture               7/12/2007            Herald   Business
                                   Article
                                                           Industry

                                   Web                     The Fake           Doctor       Scandal        for the       Cinderalla           of   the
YALF00000753                                                                                                                                                 7/12/2007            Chosunilbo
                                   article                 Art    World

                                                           Suspicions             about    Jeong       Ah    Shins         Falsified
                                   Web
DONGGUK000093                                              Academic Degree                    Officially         Suggested             When                  7/13/2007            Yonhap     News
                                   Article
                                                           Hiring       in   2005

                                   Print
DONGOUK000095                                              Dongguk            Universitys          Weird              Faculty      Hiring                    7/13/2007            Chosun     Ilbo
                                   Article


DONGGUK000           1357          Web
                                                           Art world          shocked         over       curators       forged         degrees               7/13/2007            The Korea      Herald
YALB00000372                       article


DONGGUK000           1550          Web
                                                           Mystery          behind        hiring     of   shamed           art   professor                   7/13/2007            JoongAng
YALE00000      180                 article


DONOGUX000I           784          Web
                                                           The    talented         Ms     Shin                                                               7/13/2007            The Independent
YALE00000      183                 article


DONOGUK0000963                     Web
                                                           Stroke      of luck          raw     talent    fueled Shins             ascent                    7/14/2007            JoongAng
YALE00000I      87                 article


                                   Print
DONGGUK0000969                                             Hiring      Process          of Shin      Full        of   Questions                              7/14/2007            Chosun     Ilbo
                               Article
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                            Web
DONGGUK000097I                         Biennale       Curators           Degree          Revealed              Forgery            7/14/2007   Chosunilbo
                            article


                            Web        Dongguk         Univ       to    Fire      Prof    Who       Fored        Her
YALE00000I     86                                                                                                                 7/14/2007   KBS World News
                            Article    Degrees

                            Web        Would       Dongguks             Internal         Investigation           Closely
D0NGGUK0000974                                                                                                                    7/16/2007   Yonhap      News
                           Article     Examine Academic                      Forgery

                            Web        Yale University             Wont           Probe     Source         of Shins
DONGGUK0001200                                                                                                                    7/16/2007   Dong-A       Ilbo
                            article    False      Certificate


                            Web       Dongguk          failed     to    check        records of         discredited         art
DONGGUK000          1758                                                                                                          7/16/2007   The Hankyoreh
                           article    professor

                            Web
DONGGUK0000994                        The Rise and           Fall      of        Korean       Success          Story              7/17/2007   Asia    Sentinel
                           article

                            Print
DONGGUK000I          009              Dongguk          Did Not Send                       Request         to   Kansas             7/18/2007   Donga     ilbo
                           Article


                           Print      Fake        Dr       Shin Disappeared                 in    Manhattan               will
DONGGUK000IO1O                                                                                                                    7/18/2007   Joonng             Ilbo
                           Article    Stay     for   One Month              to    Avoid     the     Passing          Rain
                           Print      Dongguk         Top Management                      Suspicious            of
DON GGUK000         1013                                                                                                          7/18/2007   Chosun      Ilbo
                           Article    Covering Shin

                           Web        University           of Kansas         Has No         Record         of
DONGGIJK000I         127                                                                                                          7/18/2007   Korea     Times
                           article    Verification          of Shins             Diplomas

                           Web        Growing          Suspicion                 Dongguk         University           being
YALE0000077                                                                                                                       7/18/2007   Hankook       Ilbo
                           Article    decieved        or    protected

                                      Dongguk         Remained              Silent       After Receiveing
                           Web
DONGGUK0001OI6                        Confirmation           of Shins             Fake    Degree               Few                7/19/2007   Yonhap      News
                           Article
                                      Months Ago

                           Web
DONGGUK000          1030              Snowball        of Lies                                                                     7/20/2007   news.naver.com
                           article


                           Web        Dongguk University                    Shin      Investigation              Nothing
DONGGUK000          1039                                                                                                          7/20/2007   Yonhap      News
                           Article    Discovered

                           Web
DONGGUK000      1041                  Fake     Diplomas                                                                           7/20/2007   Korea Times
                           article


DONGGUK000IO42             Web
                                      Dongguk         University            Fires     Bogus        Professor                      7/20/2007   Korea Times
YALE000002O4               article


                           Print      Shins       Fake      Doctoral             Degree       Evidence               Dongguk
DONGGUK000          1052                                                                                                          7/20/2007   Chosun      Ilbo
                           Article    Might       Have      Kept       Silent      Since     This April

                           Print      After Shallow           Investigation                There          Was    No
DONGGUK000      1050                                                                                                              7/21/2007   Donga     Ilbo
                           Article    Absurdity

                           Web        Former university                president takes              the    heat on      art
DONGGUK000      1564                                                                                                              7/21/2007   JoongAng
                           article    fraud

DONGGUK000      1092       Web
                                      Dongguk               Sacks       Bogus         Prof       Shin     Jeong-Ah                8/3/2007    Korea Times
YALE000002O8               article


                           Web
DONGGUK0000079                        Suspicions           Grow     Over Shins              Diploma            Forgery            8/27/2007   Korea Times
                           article


                           Web
DONGGUK0000          101              Growing         Suspicions                                                                  8/27/2007   Korea Times
                           article

                           Web
DONGGUK0000          108              Clearing up            Scandal                                                              8/30/2007   news.naver.com
                           article

                           Web
DONGGUK000      1393                  GNP      accuses       Biennale             of endorsing            Shin                    8/30/2007   news.naver.com
                           article

                           Web
DONGGUK0000I35                        Factional       Feud      Deepend             in   Buddhist         Groups                  9/3/2007    Korea     Times
                           article




                                                                       10
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                                   Web
 DONGGUK000           1328                           Korea        battels         resume         fakers                                            9/5/2007            Yale        Daily   News
                                  article


 DONGCIUK0000 146                  Web
                                                     Monk                                          Directors       to    Resign                    9/6/2007            Korea Times
                                                                 urges        Dongguk
 YALE00000235                     article
                                                                                                                                                                      ________________
                                  Web                Ex-professors                 home         and    office     raided       in   probe    on
 DONGGUK0000           142                                                                                                                         9/8/2007                news.naver.com
                                  article                         forgery
                                                     degree

                                  Web
 DONGGUK0000I           68                           Lie After Lie                                                                                 9/11/2007               Korea    Times
                                  article


                                  Web                Dongguk            Professors              Call    for    Resignation           of
 DONGGUKOOQO365                                                                                                                                    9/16/2007               Korea    Times
                                  article            Directors


                                  Web
 DONGGUK000053S                                      Probe       Triggers          Backlash            from      Buddhists                         9/22/2007               Korea    Times
                                  article

                                  Web
 DONGGUK000I           119                           Yale    University               Rejects          Shins      Fake    Ph.D        Claim        9/23/2007               Dong-A     Ilbo
                                  article

                                  Web
DONGGUK0000993                                      Did Not Verif Academic Degree                                       When        Hiring         10/4/2007               Yonhap     News
                                  Article


                                  Web                Korean           professor accused                   of forging       Yale
DONGGUK000          1330                                                                                                                           10/16/2007              Yale    Daily   News
                                  article           degree

                                  Web
DONGGUK000          1650                            Dongguk             board       chairman            to resign                                  10/1   7/2007           JoongAng
                                  article


                                  Web               Brief         Art       history        professor charged               with forgery
DONGGUK000I332                                                                                                                                     11/1/2007           Yale        Daily   News
                                  article           of doctorate              indicted          by    authorities


                                  Web
DONGGUK00007O9                                      Byeon             Shin    Deny         Charges         in 1st    Trial                         11/12/2007          Korea        Times
                                  article

                                  Web
DONGGUK00007            17                               Very Good                Step                                                             12/7/2007           news.naver.com
                                  article

                                  Web
DONGGUK0000725                                      Deception               Sums      Up        Year    of    2007                                 12/23/2007              Korea    Times
                                  article


                                  Web               Fax     on    ex-art          professors Yale                doctorate        degree
YALE00000335                                                                                                                                       12/28/2007          Yonhap         News
                                  article           found        to    be genuine

                                  Web
DONGGUK000          1186                            Dongguk                  Yale                                                                  9/24/2008           Korea        Times
                                  article


                                  Web                                                                                                                                  ArtAsiaPacific
DONGGUK0000795                                      Poison        Ivy         Cleaning           up       Korean         Art Conspiracy           N/A
                                  icle                                                                                                                                 Magazine
DONGGUK000IOO7                    Blog              Forged        Credentials               and       Korean      Empoyment               Law     N/A                  Korean        Law     Blog

                                  Web
DONGGUK000          1302                            Cancelling              Chosun          Ilbo      Subscriptions                               N/A                  The Hankyoreh
                                  article

                                  Web
DONGGUK000          1749                            OGU      sues Yale                                                                            N/A                  Dongguk-In
                                  article




            The   below      is      complete       listing           of    all
                                                                                   newspaper                  articles       or     other media reports             that

contained     false    statements           by Yale or           its    employees


    Date              Type                                                        Description                                                       Name       of

                                                                                                                                                  Publication

                                                                                                                                                    if any

7/9/2007          E-mail                 E-mail   from           Reinstein            to   Director          General      of   the

                                         National   Museum             of   Korea

7/10/2007         E-mail                 E-mail   from           Reinstein            to   Chosun         Ilbo     reporter

7/10/2007         Letter                 Letter   from       Camey toE Cho




                                                                                           11
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 7/12/2007     Web       Biennale        Art Director           Accused          of   Phony           Credentials             Chosunilbo

              article


 7/12/2007     Web       Cannot         be..      Art     Industry          Shin Shock                                        Munhwa        Ilbo


              Article

 7/12/2007     Web      The Fake         Doctor       Scandal         for the      Cinderalla               of   the    Art   Chosunilbo

              article   World

 7/13/2007     Print    Jeong      Ab     Shin Mystery               Fax Dongguk                  Received             from   Chosun      Ilbo


              Article   Yale      Also Fake

 7/13/2007     Web      Dongguk          Ignored        All    the    Shin Suspicions                                         Segye

              Article

 7/13/2007    Web       Did Dongguk             Know          Shins        Diplomas             Were     Fake                 Munhwa        Ilbo

             Article

7/13/2007     Web       Jeong      Ah    ShinFax from Yale Also Fake Yale Answers                                             Herald

             Article    Different         Form. .Possibly Fabricated Domestically                                             Business




7/13/2007     Web       Jeong       Ah     Shin    Mystery             Fax Regarding                  Degree           Also   Herald

             Article    Fabricated                                                                                            Business

7/13/2007     Web       Diploma          Confirmation            Fax Dongguk                    Received         from Yale    CBS Nocut
             Article    is   Also Fake                                                                                        News
7/14/2007     Web       Biennale         Curators       Degree         Revealed                 Forgery                       Chosunilbo

             article

7/14/2007     Print     Document Dongguk                       Received          from Yale             at   the    Time of    Donga      Ilbo

             Article    Hiring
                             is Fake
7/15/2007     E-mail    E-mail     from           Carney         to         Cho

7/16/2007     Web       Fake      Dr       Jeong      Ah Shin Review                       of   Investigation                 MBC
             Article    Request

7/16/2007     Print     Yale     Will    Not    Investigate           Shin        Falsified           Fax                     Donga      llbo

             Article


7/16/2007     Print     Yale     University        Fax Mystery                                                                JoongAng
             Article                                                                                                          Ilbo

7/16/2007     Print     Jeong     Ah     Shin     Hiding        After Returning                  to   Korea                   Chosun      Ilbo

             Article


7/16/2007     Web       Who       Sent   the    Falsified            Confirmation               Fax      of Doctorol          Joins

             Article    Degree

7/16/2007     E-mail    E-mail     from        Chosun         Ilbo    reporter        to         Schirmeister

7/17/2007     Web       The Rise         and   Fall   of        Korean          Success          Story                        Asia    Sentinel

             article


7/17/2007     E-mail    E-mail     from            Reinstein          to        Klasky

7/17/2007     E-mail    E-mail     from           Schirmeister             to      Bulter          and           Sleight

7/18/2007     Web       Increasing         Suspicions     Dongguk Deceived                                  or Protected      Hankook       Ilbo

             Article    Dongguk          Did    Not VerifS Academic Degrees                                  of Shin




7/18/2007     Web       Jeong     Ah Shin          Solve       Degree           Veriing               Fax From Yale           CBS Nocut
             Article    Mystery                                                                                               News
7/19/2007     Print     Shin Incident              Yale       Did Not           Receive           Dongguks                    Chosun      Ilbo

             Article    Request     for    Shins      Academic Degree                       Verification

7/19/2007     Web       Yale     Considering               Legal       Action         Against          Shin                   Maeil

             Article                                                                                                          Business

                                                                                                                              Newspaper

7/19/2007     E-mail    E-mail     from           Reinstein           to   The Hankyoreh                    reporter




                                                                           12
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 7/20/2007           Web             Shins Academic Forgery Dongguk                                         Internal                            Yonhap
                    Article         Investigation              Committee              QAs                                                      News

 7/20/2007           Web            Shins           Academic Forgery Donggtik                               Internal                            Donga     Ilbo


                    Article         Investigation        Committee                    QAs
 7/20/2007           Web            Dongguk              Will Dismiss                and     Accuse       Shin                                  Hankook         Ilbo


                    Article

 7/20/2007           E-mail         E-mail          from             Reinstein          to   The Hankyoreh               reporter

7/21/2007            Web            Fake      Dr         Shin Dismissed.                   .Request       for Investigation                     Joins


                    Article

 8/4/2007            TV             Munhwa               Broadcasting            Corporation              interview                             MBC
                    Interview

8/20/2007            Web                                    Amplifying               Suspicions           About Shins            Falsified      MBC
                    Article         Degrees

9/4/2007             Web            Did Shin Send                   the   Fax                                                                   MBC
                    Article

9/4/2007             E-mail         E-mail         from              Reinstein         to    Yale     Daily      News     reporter

9/5/2007             Web            Korea          battels     resume          fakers                                                           Yale    Daily

                    article                                                                                                                    News

9/19/2007            Web            Yale      University             Embarassed               by Shins        Claim                             Dong-A      Ilbo

                    article

9/21/2007            Statement      Official         Statement             by Yale          University      and     all
                                                                                                                           copies
                                    distributed           to   Korean media

9/23/2007           Web             Yale      University             Rejects         Shins        Fake    Ph.D     Claim                        Dong-A      Ilbo

                   article


10/16/2007          Web             Korean          professor accused                   of forging         Yale    art    degree                Yale    Daily

                   article                                                                                                                     News
11/1/2007           Web             Brief          Art    history         professor charged                with forgery          of             Yale    Daily
                   article         doctorate             indicted         by   authorities                                                     News
12/28/2007          Web             Following             scandal         with Korean              professor       University                  Yale     Daily

                   article         revises         degree-verification                     procedure                                           News
12/29/2007          Statement       Public         Statement          by Yale          University

1/3/2008            Web             Yale      to    be    more       careful         about        verifying graduate            degrees        boston.com

                   article


1/3/2008            Web             Yale      raises       bar on         credentials                                                          New      Haven
                   article                                                                                                                     Register

1/3/2008            Web             Yale      to    be    more       careful         about        verifying graduate             degrees       The AP
                   article


1/14/2008           Web             Yale      revamps          degree-verification                   procedure                                  Yale    Daily

                   article                                                                                                                     News

1/31/2008           Letter          Letter     from             Camey           to           Cho

2/4/2008            Web             Yale      to    be sued          over      Shin     case                                                   Yale     Daily
                   article                                                                                                                     News




                       The Extent To Which The Statements Were                                                           Circulated


             The   Shin story     and    in    particular Yales                              misstatements                that     it   had not received

Dongguks           request for verification                 of Shins                 degree         and    had not          verified         Shins degree was
covered      by the media worldwide                        According                  to          December          2007          Yale Daily       News         article   in

Korea alone the Shin             story   was         the       ninth most-publicized                             story
                                                                                                                           in     2007       Newspapers            in   Korea




                                                                                             13
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coveted        the story almost                      daily        and    included         coverage               by such publications                      as the       DongA        Daily
the Chosun Daily the JoongAng                                         Daily       three    of the           largest       newspapers                 in   Korea          Elsewhere        in

the   world         stories         were written by                     the   New      York Times                  the     Yale Daily             News           the     New      Haven

Register           the Washington                     Post and            the    BBC          Furthermore                  all   of these publications posted theft

stories       on the world-wide                       web         There         was    also      extensive           tv    coverage             by Seoul          Broadcasting

Company and Munhwa                                  Broadcasting              Corporation


              ft            The Tendency                         Of The Statement To                             Injure       Dongguk

              There       is   no question                 that       Yales statements damaged                               Dongguks                 reputation            The

statements that                were made by Yale were believed                                        because           Ivy League               universities             are   revered     in

Korea         The       statements              challenged               Dongguk              truthfulness               as   well as          its    competency            and

integrity          qualities         expected              of         Buddhist        institution                Yales misstatements                       spawned untrue and
unverified stories                  about                               and                       administrators
                                                    Dongguk                    its   senior




              Dongguk was                  nearly immediately                        thrust       into      the    spotlight         and        its    reputation began to be

destroyed               For example                  in    2007 Dongguk                 was denied                the     KMAC            Customer               Satisfaction        Award
because        while      there           is    no question               that
                                                                                  your     school demonstrated                         exemplary             effort        by becoming
the   first   college          to    implement                  the   concept         of customer                satisfaction          under          outstanding           leadership


                            considering                   the    recent social           issue        pertinent         to    the employment of the

                                                                         aspect of the quality
                            teaching                staff in the                                                   management                  of education

                            service            the Evaluation                  Committee reached                      the      final      resolution             that    found

                            the     awarding               to    be    inappropriate


              Moreover              to    determine               whether         Dongguk                   brand            i.e reputation                 was damaged

Dongguk            retained              nationally             recognized            expert in marketing                        surveys
                                                                                                                                                     In   late    2008 months
after this      lawsuit was filed the expert working                                             with the Korean                   office       of one      of the worlds

largest    custom research firms conducted                                            survey          to    gauge       the      Korean          adult     populations              view of

Dongguk            as     result         of Yales               misstatements             about            the
                                                                                                     September     registered                                    letter     and    the

September 22 fax                     The survey                  was designed              and conducted  in accordance     with                                   the     seven-factor

framework           cited       in   the Federal                 Judicial        Centers Manual                     For Complex                  Litigation Fourth


           Based upon the survey results Dongguks concerns                                                                about      the damage              to     its    repuration

were confirmed     and Dongguk learned among other things                                                                 that     despite           Yales ultimate

acknowledgement                     that       it    sent the September                   22 fax over 50% of the                               adult      population            of South

Korea     still     believes         that           Dongguk            lied    about      the     September               22 fax and             the      September

registered         letter       Indeed               the
                                                            survey        showed          that     less      than       10%        of the Korean             adult         population

believes       that      Dongguk had                   told       the truth          when Dongguk                   said      that   it   had        sent the       September
registered         letter      and       received           the       September 22 fax                      In    short there             is   no doubt           that    Dongguks
brand name                in    Korea has been badly tarnished by Yales conduct


                          All       Of The Other                      Facts       And Circumstances                           In     The Case

                                           Criminal Investigation                                Of Dongguk


           Because of Yales                           statements              denying       it   had received                    request for verification                       from

Dongguk            the Korean              Prosecutors                   office      commenced                   an investigation                into      Dongguks               role in




                                                                                                 14
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 Shins hiring                 During         the        investigation                 the   prosecutors             re-opened            old investigations                   that        had

 been closed and found                        to        be    untrue



                                             Yales             Knowledge                 Of The           Falsity      Of     Its    Statements


             Despite          being provided                     with evidence                by       late   August 2007              that    demonstrated               that       Yale

 had received Dongguks                             request           for verification               and Yale had sent                    fax confirming                  that       Shin

had received                  Ph.D from Yale                         Yale continued                 to      issue    false    statements            to    the Korean            media


            Moreover              on October                    17 2007            Yale received                     subpoena from the United                           States


Department of                 Justice    Justice                 Department                 Subpoena                  Although Yale had                     for   months publicly
denied that         it    had ever           verified            Shins degree                 and      it   ignored      the proof that              Dongguk had
provided           on October            18 2007                 Yale was able                 to      establish       that    it   had received                 verification


request from Dongguk and had                                      in      fact verified             Shins Ph.D


            Rather than immediately                                  revealing the truth to the Korean                                media and            to   Dongguk                  Yale

waited      ten    weeks before                    it    notified          Dongguk             In    addition          pursuant         to      carefully         planned                public

relations        and media campaign                             Yale waited                 until    Saturday          evening December                         30 2007             to

inform      the    media         that    it    had           erred        when     it   denied receiving                Dongguks               request and sending                            the

fax confirming                Shins Ph.D


                                         The Importance                            Of Korean                 Culture


            Elements            such     as         saving            face         honor esteem                         and         shame           are    not easily

calculated         but are of great                      importance              in     Korean         society

            For example                 from                                 of the survey                  discussed
                                                        the    results                                                       above       Dongguk also learned that
almost     half of the adult                  population                  of South          Korea believes              that        because Dongguk had lied                                  it



had brought              shame on                  its       students        its   alumni           its     faculty    and/or         even     the       Republic        of Korea


            Dongguk             intends            to        introduce       expert testimony                   to                                    the importing of these
                                                                                                                      testify       regarding
factors    on reputation                in    Korean culture

                                         Students                    Perception              Of Don gguk


                                                               Student Applications


            In    2007 Dongguk                          began        to    experience               significant         decrease         in the          number         of    its    student

                         In                                               student                                      each
applications                   Korea          university                                applications            for             class        year are submitted

generally in        November                  or December                   of the previous                   year The         students         who        have        been     offered

admission          generally have                   until       February           of their class                      to     determine         whether           to    enroll           at
                                                                                                               year

Dongguk          or not         However                      because        of Yales          misstatements                   Dongguk          has been unable to                         fill     its


class    by accepting            only students                    from the December                          round     of applications


           The      diminution                in the          number          of December                   round applications                is    particularly          damaging
to   Dongguk        since the December                            round          of applications               includes        the most qualified                  students                   The
December           round        applicants                   not only have              higher academic                achievements                  but they generally

adjust    better     to        university                setting          and    are     better      hiring         candidates         for future          employers
Moreover           because        the        quality            of applicants               in the       December           round       is    one    of the most              commonly
used     factors    to    determine                the quality              of        university            itself    the decrease             in the      number and                quality




                                                                                                  15
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of applicants from the December                round    has had         negative impact          on    the   public perception            of

Dongguk

           The     chart below shows           the decrease      in the        number of students            that   applied    for   and/or

enrolled     at   Dongguk     since   the Shin incident       was publicized           in   2007 and         ii the   decrease       in

December          applications

                                                          Number         of Applications                   Total    Number      of
       Application         Year       Class Size
                                                          in the December             Round                  Applications

                  2001                  2938                             16234                                   21516
                  2002                  2957                             15231                                   25707
                  2003                  2951                             10570                                   21001
                  2004                  2948                             12372                                   27820
                  2005                  2884                             12304                                   28832
                  2006                 2841                              11038                                   29294
                  2007                 2727                              9109                                    24949
                  2008                 2747                                  8533                                34821
                  2009                 2717                              10638                                   44740

    Number           of Student Applications           Submitted        to   Dongguks         Undergraduate           Program

           Application     Year                              Class Size                              Total   Number      of Applicants

                   2003                                         866                                                   1547
                   2004                                         866                                                   1138
                   2005                                         866                                                   1184
                   2006                                         866                                                   1210
                   2007                                         841                                                   1267
                   2008                                         841                                                   1314
                   2009                                         851                                                   1383

           Number         of Student Applications         Submitted           to   Dongguks          Graduate       Programs

                                        Rejection       Of   Offers          Of Admission


           The chart below summarizes             the   number      of admission            offers    to   Dongguks       undergraduate

programs and the number of students who accepted or rejected  such offers for each year from

1999 until 2009 As shown below the number of rejections    dramatically increased in 2007



Application        Year           Number       of Admission             Number        of Students               Number    of Students

                                  Offers                                Who        Accepted    Offers           Who   Rejected       Offers

             1999                           3781                                     2965                                     816
            2000                            3611                                     2944                                     667

            2001                            3720                                     2919                                     801

            2002                            3803                                     2944                                     859
            2003                            3738                                     2941                                     797
            2004                            3690                                     2937                                     753

            2005                            3588                                     2868                                     720
            2006                            3568                                     2829                                     739

            2007                            3915                                     2692                                 1223




                                                                   16
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              2008                                               3458                                        2720                                                  738

              2O09                                               3b388                                       2687                                                  701


                           cNumber                of Rejections            of Admission Offers to Undergraduate                                           Programs

                                                         Student Satisfaction


            The Shin            incident          has negatively impacted                       the   morale        of    Dongguk                students          The    sense of

shame       that    Dongguk                students feel because               they have been                taught        by         fake             professor at the

                                                         have covered                                                     exists In fact                             of the four
university         that   was alleged               to                          up Shins fraud                 still                                      many
hundred       students           who had           taken        Shitis classes            in   2006 and        2007 have given up                          the   academic

credits     that    they received                 from Shins class               These students have taken                                 an    additional         class       in

order to avoid being                    associated            with the      Shin incident             at the   time of their job applications


            The      dissatisfaction                and       frustration     of the students               has resulted              in   tension         between

Dongguk        and the students                     For instance              according          to   the    Korea Economic                       Daily article on

September           18 2007 Dongguks                            students       association            demanded             in   its    online statement                  that    the

former      President           apologize           and       the   current    President          take action to protect                         the      students       from the

impact      of the Shin incident                     See        Daewon Kim                     Sowoon Park Jeong Ah                                  Shin Syndrome..

Sorrow of Young Dongguk University                                        Students             Korea Economic                   Daily September                      18 2007

                                             Faculty          Members          Perception              Of Dongguk


                                                         Faculty         Member            Applications


            Because of               its   tarnished reputation                Dongguk            has experienced                 difficulties               in attracting

candidates         for    its    faculty          positions         The number             of applicants             irrespective                of the number              of

hiring    positions             has consistently                decreased       since          2007     The        fact   that    the           largest decrease            in the

number of applicants occurred between March                                               and September 2007 demonstrates                                    that


Dongguks damaged                           reputation          which was caused                 by Yales misstatements                               is   thus responsible

for the     applicants               decision       to   avoid      Dongguk

            The below                chart    shows the decrease                in the         number        of faculty          who            applied      for    an accepted

faculty     positions           at    Dongguk            as      result    of the Shin incident



Year                                                                     Mar 07                       Sept    07                 Mar 08                          Sept      08
Number       of Open            Faculty           Positions                     32                           19                                 34                        27
Number       of Faculty               Applicants                               389                           191                            285                          151




Year                        1998              1999        2000        2001        2002           2003          2004             2005            2006         2007         2008         2009

Numberof                    57               81           117         68             86           114          102              109              151         104          79           91

Hiring

Positions

Numberof                    319              323          526         326         312            395           398              708              1320        662          503          322

Applications




                                                                                          17
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                                                           Faculty          Satisfaction



             The     relationship                between the            faculty       and       the    administration as               result        of the Shin

 incident         Starting            from July 13 2007                     the                         at   Dongguk          issued         total    of 25 official
                                                                                   professors
 statements                                         Shin incident calling                                         other things             the resignation of the
                    concerning               the                                              for     among
 President         Vice President                   Dean of Academic                     Affairs Board of Directors                          and the Chairman of
 the Board of Directors


                              6.             Employmcnt                 Opportunities                  Available          To Dongguk            Students



             Dongguk                                       an       overall    decrease            in the quality         of employment opportunities that
                                     experienced
 it   provides      to    its    students          as     result       of   its   loss     of reputation            In    2007 Dongguk had                 geared       up   to


 provide      more employment opportunities                                     for   its     students        by hosting          among       other things         ajob
 fair   where students could                       easily       gather hiring            information           or   submit         their   application by visiting

 different     companies                   booths        in   one place

             As shown below                       while         Dongguk           has been          making      persistent          efforts    to    improve the
 quality     of recruiting                 events for         its    students       the ratio of the top 100                     corporations         attending

 recruiting       events at Dongguk                       has       dramatically decreased                    since      2007


 Year                         2003                  2004                      2005                    2006                2007                2008               2009

                              75.0%                 47.8%                     50.0%                   51.4%               50.0%               36.0%              20.0%
Ratio

Ratio        of the      Number of Top                     100       Companies           to     the   Total    Number            of Participating         Employers

                                            Loss Of           Law       School


             As    discussed               above        Dongguk           has suffered significant                       economic       damages         resulting       from
not being         excluded             from       the    list   of    Universities            permitted to open                    5.-style    law schools         in

Korea         However                 Dongguks                reputation has             also      suffered non-economic damages from not

being      permitted            to
                                      open         law school            including

                              the                   of being           selected       as    one       of only 25         universities        allowed      to
                                     prestige                                                                                                                  open
                              U.S      style      law school

                              social       influence of law school alumni


                              the    increase       in    pride of students                   faculty        and alumni and

                              the increase          in the          overall     educational            quality      due     to   new    faculty       members
                              research projects                 and    financial         support        received         by   the   government            corporations
                              and     individual          donors

            PUNITIVE                   DAMAGES
            As    stated         in    Dongguks Complaint                          Dongguk             will    seek      an award       of punitive damages by

such    amount           as    determined               by the jurys sound judgment and                               discretion        to    fairly   and     sufficiently

punish     Defendant                 for   its   egregious           conduct        and       will    deter    Defendant            and others from            acting   in

similar     tortuous manner                      in the       future      See     Infeld             Sullivan       151     Conn 506 509 1964                     holding
  plaintiff       that    can        show        wanton misconduct may be                              entitled     to    either    punitive         damages because
the actions        are        of such             conscious            choice      of         course of action             either    with     knowledge          of the




                                                                                              18
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 serious      danger          to   others   involved   in   it   or   with knowledge   of facts   which would    disclose   this


 danger      to   any    reasonable          man.

Dated        July   23        2010
                                                                                 McDERMOTT WILL                   EMERY LLP

                                                                                 By    Lt4
                                                                                   Robert         Weiner

                                                                                   Audrey Lu
                                                                                 340 Madison       Avenue
                                                                                 New YorkNY          10173

                                                                                 Phone 212-547-5400
                                                                                 Fax 212-547-5444


                                                                                   Attorneys      for Plaint ff Dongguk     University
Of Counsel


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       Jacobs       Grudberg Belt              Dow      Katz          PC
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      New Haven               CT     06511
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NYK   1329256-2.081817.0011




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 Oils Reinstein              0237 PM          7/24/2007         Fwd    question



      To     Gila Reinstein                 91   la.reinstein@yale.edu
      From Pamela                   Schirmeister          pamela.schirmeister@yale.edu
      Subject           Fwd        question

      Cc     nancy.sonzoni@yate.edu
      Bcc
     Attached




      Dear Gila




    We     have no record                of havIng     admitted       her or of her ever        having registered      in   any   way

    Best
    Pam




          Date    Tue         24   Jul   2007 130728            -0400
      To     nancy.sonzoniyale.edu
          From        Gila Reinstein           cgila.reinstein@yale.edu

      Subject              question
      X-YalelTSMailFilter                    Version      .2c    attachments           not    renamed
      X-Scannecl-By                  MiMEDefang           2.52 on 130.132.50.10


      Hi    Nancy
      Thanks           for    your voice         message        Can you      confirm     if
                                                                                              Jeong Ab Shin or Shin Jeong Ah was
      ever       in   the    DSR program               Steve     Goot already       confirmed      that she was never enrolled as
      student           Shes        claiming that         she earned          PhD   from ale          in   2005 When    that   backfired   she
      started         to    let   out that    she was enrolled          in   the   DSR        doubt   thats   true   but need to confirm    it


      She has caused                       major scandal         in   Korea..

      Gila



     Nancy        Sonzoni
     Deputy           Registrars           Office

     Yale University
     Graduate School                  of    Arts and Sciences
     32OYorkSt HGSRm1I3
     New Haven ci 06511
     phone 203-432-2743
     fax     203-432-8644


     its   not having what you want
     its wanting    what youve got




    Pamela       Schirmeister




Printed    for   Pamela            Schirmeister         pamela.schirmeisteryale.ed..




                                                                                                                                           YAL   E00000 006
       Case 3:08-cv-00441-TLM Document 257-4 Filed 08/04/11 Page 58 of 158



 GilaReinstein        0237 PM 7/24/2007           Fwd    question



     Associate     Dean
     The    Graduate School
     Yale University



     P.O Box 208236
     New Haven CT 06520-8236
     203-432-9098


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    unauthorized       review    use    disclosure     or distribution    is   prohibited    and may be          violation    of   law   If



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    intended     recipient   please    contact    the sender by reply email and destroy                all   copies   of the original

    message       immediately




Printed    for Pamela   Schirmeister        pamela.schirmeisteryale.ed..




                                                                                                                                   YALE00000007
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           EXHIBIT                             76
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From                           Pamela Schirmeister                   pamela.schirmeister@yale.edu

Sent                          Tuesday            July    17     2007        133     PM

To                            gila.reinstein@yale.edu

Subject                       Fwd         degree      verification




Dear     Gila


Here     are        the       two         templates             we use to            indicate       that         student has         degree The first is used for
students    who have                           the   degree       in hand                The second         is   used    for   students  who have gotten jobs
that   require them                       to have          the       degree          but     who         because    of   when     theyve submitted                   havent
yet    received               the      degree These                    letters       are     usually       requested       by the    student and              sent    to   dept
chairs       at other              institutions



Pam


       X-Mailer               QUALCOMM               Windows         Eudora        version    7.0.1.0

       Date Tue 17 Jul 2007 132615 -0400
       To Pamela 5chirmeister pamela.schirmeister@yale.edu
       From Alicia Grendziszewski alicia.grendziszewski@lyale.edu
       5ubject               degree       verification

       X-YalelT5MailFilter                       version        12c attachments                    not   renamed
       X-scanned-By                       MiMEDefang            2.52    on    130.132.507


       Pam               have       attached         two   templates


       Alicia      Grendziazewski

       Assistant        to   Dean     Pamela     Schirmeister

       and      Dean     Edward       Barnaby
       Yale Graduate             School

       320      York    Street
       PD    Box       208236
       New      Haven        cr 06520      8236


       tel      203.432.7598

       fax      203.432.6904




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       of       the      intended               recipient               and         may      contain       proprietary         confidential           or privileged

       information Any unauthorized review                                                    use        disclosure      or distribution         is   prohibited
       and         may           be        violation            of    law     If    you      are    not    the   intended       recipient   or          person
       responsible                    for delivering                 this    message          to    an intended          recipient    please          contact        the

       sender                by reply           email      and destroy                all    copies       of the original       message immediately




                                                                                                                                                                            YALE   00008557
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Pamela      Schirmeister

AssociateDean
The Graduate School
Yale   University



P.O    Box 208236
New Haven CT 06520-8236
203-432-9098


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If
   you     are    not   the intended     recipient     or        person   responsible         for delivering       this      message      to   an
intended         recipient    please    contact      the sender      by reply email           and     destroy    all    copies   of the

original    message          immediately             date-sent     1184693589        flags    33815681       sender      Pamela Schirmeister

pamela.schirmeister@yale.edu               subject    Fwd   degree    verification     to    gila   reinstein@yale.edu




                                                                                                                                           YALE0000SS58
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September          20 2004




To    Whom        It   May Concern



This   is   to   certify that             has completed              all   course requirements      for the   Ph.D   degree
in   English      Language      and   Literature        and    submitted      her dissertation     on March    15 2004
The    dissertation       was approved          by    all   of the selected      readers   and   she received her degree

on May 24 2004


If
     you have      any   questions     please        contact    me   at    203   432-7598




Sincerely




Pamela Schirmeister
Associate        Dean




cc          Registrar      Department      of English           Language       and   Literature




                                                                                                                              YALE00008S59
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     October      2004


Chair

Department             of Economics

Harvard         University




Dear



     am writing        to   certify that                 has    completed          all   of the degree        requirements          for the

Ph.D       in   Economics               at   Yale University       as   of October              2004        Due   to   our   own     internal

deadlines         his   degree           will   not be certified        by   the    Yale    Corporation           until   its   December

meeting but            that    approval         is   purely pro forma           He       should be      considered         now      as   having
his   degree      in    hand


If   you   have    any        questions         about    this   matter       please      feel   free   to   contact    me       directly   at


203-432-9098                  or   at    Pamela.schirmeister@yale.edu


Thank you


Sincerely



Pamela Schirmeister
Associate         Dean




cc          Truman Bewley                     DGS       Economics




                                                                                                                                                  YALE0000S5O
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                                               UNITED STATES DISTRICT COURT
                                             FOR THE DISTRICT OF CONNECTICUT

DONGOUK UNIVERSITY
                                                                                                 No 308-CV-00441RNC
                                                 Plaintiff

                                                                                                 AMENDED COMPLAINT

                                                                                                 JURY TRIAL DEMANDED
YALE UNIVERSITY

                                                 Defendant




           Plaintiff      Dongguk           University       complaining           of defendant Yale University                 respectfully



           and
alleges           says as follows


                                                                    PARTIES

                         Plaintiff    Dongguk         University       is       private    university   organized         under         the   laws   of



Korea and whose             principal        place of business           is   in   Seoul Korea


                         Upon      information        and    belief defendant             Yale   University      is     private     university




organized        under     the laws of the State             of Connecticut          and   whose     principal        place of business           is   in




New Haven          Connecticut



                                                  .IURISDICTION                    AND VENUE

                       This       Court has subject          matter jurisdiction           over this matter           pursuant     to    28 U.S.C


     1332 because         there    exists     complete       diversity        of citizenship     between     the      parties     and    the   amount


in   controversy       exceeds        $75000.00          exclusive        of interest      and costs


                       This       Court possesses           personal     jurisdiction       over this matter          because      Yale



University       has     sufficient        contacts   with    the   State      of Connecticut



                       Venue        lies    in this judicial     district      pursuant to 28        U.S.C         1391a2               inasmuch       as




 substantial       part of the events giving rise to the claims                           asserted   herein occurred            in this judicial




district
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                                                FACTS                 COMMON TO ALL COUNTS

                                                                        Dongguk           University


                         Plaintiff      Dongguk             University             is    one    of the most important academic                           institutions        in




Korea and         has developed                 stellar reputation                 for the       quality      of   its    education         in   its   one    hundred



years of existence



                         In   2005      the     Korean Council                    of University              Education          chose       Dongguk          University



as   one    of the Best Universities                      of the Year



                         Dongguk            University             was founded             in    1906 by       the    Jogye       Order            Buddhist



monastic       order      and    is   one of         the    most         prestigious           Buddhist-affiliated               universities          in the       world


                         The    Jogye        Order which was                      established           in   1354        is   the largest        and   one     of the



most       influential    Buddhist           Orders in Korea                   Adherents            of the Jogye               Order practice           Seon        Zen

Buddhism          and    seek        path to enlightenment                        and     understanding



             10          One    of the paths available                      to the       Jogye     Order adherents                is   to   attend      Dongguk


University        because       of    its   impeccable                 reputation        and because           of    its      renowned        Buddhist



educational        programs


             11         Because of            its    Buddhist            roots Dongguk              University                became     known         for    its   strong



humanist       tradition       and     is   known          for     its   spirituality           morality       and    leadership



             12         In connection               with        its   oversight of         Dongguk            University           the      Jogye      Order



established       the    Dongguk            University             Foundation             the    Board of Directors of which provides


general oversight and                final     approval               of certain        administrative          matters of Dongguk                     University



including final approval                 of    its
                                                      proposed            faculty        members


             13         While Dongguk University                             is    one     of the most well-known                      universities           in the field




of Buddhist        studies      in    Korea          it   has     always been             open     to   students         and    professors of           all   faiths    and



philosophies
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            14        Dongguk         University         currently         offers    approximately              100    undergraduate        programs



 and over 100        graduate programs              It    has about         23750         students       and    900    faculty    members        from


 various    parts   of the world



            15        Dongguk         University         has greatly         contributed           to the      development        of the basic



sciences in Korea             It   has been    ranked          number       one     in   Korea     in the      Basic Science        Research



Achievement          Survey        conducted      by     the    Ministry      of Science           and    Technology and            the   Korea


Science     and     Engineering        Foundation


           16         Dongguk         University         is    also    known       for    its   literature     and    cultural
                                                                                                                                  programs


Among       its   graduates are world-famous                    novelists         and poets such          as    Jeong    Rae     Cho      Seok Young


Hwang      and    Chong Ju          So who     was nominated                for    the    Nobel     Prize      five   times


           17         Dongguk         Universitys             alumni       hold important and               prestigious      positions in Korean



business      cultural    and       governmental          organizations



           18         Through        year-end      2006 Dongguk                   Universitys            alumni       and corporate       donor



contributions        government          grants    and        student      applications          increased on an           annual basis



                                                                 Yale University


           19         Yale University             which was founded                  in    1701     is   the   third oldest       institution     of



higher     education     in the      United    States      and        is   member         of the Ivy League



           20         Yale Universitys            graduate            programs including those offered by Yales Graduate


School     of Arts and        Sciences        are internationally             acclaimed


           21         In 1861        Yale Universitys                 Graduate       School        of Arts and         Sciences     became       the   first




school in the United           States    to   award           Doctorate       of Philosophy              Ph.D
           22         Since        1861 Yale Universitys                   Graduate        School        of Arts and       Sciences        as   well as



its   other graduate     schools        have    awarded numerous                    Ph.D.s         to   graduate students          from around         the




world
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           23          Upon      information           and    belief because               of Yale Universitys                      academic      standing    and



 reputation      Yale University has long been aware                               that    unscrupulous               individuals       will   falsify     their




 academic records          in   order to assert             that    they have received              graduate or post-graduate                     degrees



 from Yale University


           24          Upon      information          and     belief Yale University                      like other          academic      institutions          is




 concerned      about    its    reputation      and     does not want individuals                         to    represent        themselves       falsely    as




having     received      graduate or post-graduate                     degrees        from Yale University


           25          Because Yale University receives numerous                                     inquiries          from academic             institutions




as    well as other inquirers           for verification             of Ph.D.s            and    other degrees           purportedly awarded by



Yale University          Yale University              has established               certain      protocols regarding                  the verification       of



Ph.D.s and          other degrees        claimed        to    have     been awarded by Yale University


           26          According         to   Yales longstanding                    verification          protocols           all   verifications     must


among      other things         be    based    only on             consultation of original                    Yale     records and        no documents


submitted       with     request for verification                   can      be    employed         to    support          the      requested verification


           27          In developing          these     protocols           Yale University               was      at   all   times aware         of the



importance       of complying with these                     protocols and           the    need     to    provide        accurate       information to



the   academic       institutions       and   other inquirers               who     have        sought to verify              whether     Yale University



had awarded         graduate         or post-graduate              degrees        to particular       individuals



          28           Upon     information           and     belief Yale University                      like    other       academic      institutions



does not want to employ faculty                   members             who have            falsified       their    records by erroneously



claiming     that    they have        received    degrees            that   they did not receive



          29           Upon     information           and     belief just as Yale University                          receives        inquiries     seeking to



verify   whether       an individual          has received             degree        from Yale University                       Yale University
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regularly      and      routinely        contacts         other      academic         institutions      in   order to verify        the    academic



credentials        of individuals             who    are    seeking faculty                positions    at   Yale University


          30              Upon      information            and       belief the information received                      from such academic


institutions       contacted            by Yale University                  is   relied   upon by Yale University when determining


whether       to   hire    the    individual        about        whom            Yale University        has inquired



                                                                           Jeong     Ah     Shin


          31              Upon      information and                  belief Jeong           Ah Shin     Shin            is    citizen     of Korea born in



1972


          32              In    1997     at the
                                                    age    of     25    Shin became               part-time employee             at the     Kumho        Art



Museum

          33              The     Kumho        Art   Museum                is     highly regarded Korean                art   museum       that    was


established        by    the     Kumho        Cultural Foundation                    in   1996


          34              Since    its   opening          the     Kumho           Art     Museum       has held numerous            art    exhibitions




involving      over       350     internationally           renowned              artists




          35              Shin was promoted to curator                            of the    Kumho      Art    Museum          and   as    curator Shin



was responsible            for    numerous          museum shows and                       exhibitions



          36             On     March         16 2001 Korea Economic                          Daily selected        Shin as one           of the   women


leaders   in the        field    of curatorship



          37             Shin served as curator                   of the         Kumho      Art   Museum          until   December         2001 when she


was   hired    by Sungkok               Art   Museum            as   its   chief curator



          38             The Sungkok            Art   Museum                    which was founded            by   the     Sungkok Art and Culture


Foundation         in   1995       is   one of Koreas best-known                           modem       art   museums
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           39          The Sungkok               Art     Museum         has also    held exhibitions                featuring        the   works of



leading       modem      art   artists     from around            the   world     and     as    chief curator          of the Sungkok              Art



Museum          Shin planned          the    exhibitions          of    many    of these        artists




           40          In   2003 Wolganmisool                          Korean     art    magazine            awarded         the    Grand       Prize   to   Shin



for   her achievement           in    exhibition          planning



           41          Upon      information              and belief while employed                     by   the    Sungkok Art             Museum           Shin



taught graduate          and undergraduate                 school classes          at     number         of universities             in   Korea including


but not limited to Hongik                  University           Hanyang University                    Chung-Ang          University             Kukmin


University       Ihwa       Womens           University           and    Sangmyung             University



           42       From 2004               to   2007      Shin frequently wrote                 art   columns         for    Korean        newspapers            in




which she discussed various                      topics    including art exhibitions                    and her experience                 as      curator



           43       On May                 2005 Kukmin                 ilbo      Korean newspaper                   ran an         article stating      that




Shin had      obtained         Ph.D         in   Western Art History from Yale Universitys                                     Graduate         School       of



Arts and      Sciences



                Dongguk Universitys                        Decision          To Expand          Its    Art History            Department


          44        In      2005 Dongguk                  University         was planning         to    increase       its    faculty      by   inviting




individuals      who     could       expand        the    reach   of    its   cultural    and     art history         academic            offerings



          45        Individuals             who     are    asked       by Dongguk          University          to   join     its    faculty     are   known       as




special       hiring candidates



          46        During           the   summer          of   2005 Dongguk             University           began      to    search for individuals



who would        qualify as special                hiring       candidates        for    these    additional          academic            positions



          47        In      connection           with     these   efforts       Dongguk          University          received         resumes from


number of individuals who could expand Donggulc                                     Universitys              academic          offerings



          48        Shins resume was among                             the    resumes     received        by Dongguk University
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           49             Upon        review    of Shins        resume       Eli   Sam Hong President                  Hong            the then-




President of        Dongguk            University           determined    that      Shin was qualified           to    be        special      hiring



candidate          for   Dongguk         Universitys           Art History Department



           50             On August             2005         Shin submitted             faculty      position    application           form   to




Dongguk           University          which contained           her employment background                          listing       of awards         that   she



had received             and her academic credentials


           51            With     respect       to    her academic       credentials Shin stated                that   in   2005       she had



received          Ph.D from Yale               University



           52            As    part    of the    application       process         Shin also provided            Dongguk          University          with



letter   dated     May 27 2005              which was signed by Pamela                             Schirmeistr               on Yale University


letterhead        the Certification Letter                      certifying        the   following       information



                         NAME                                            Jeong          Ah    Shin

                         DATE OF BIRTH                                   April      28 1972
                         MAJOR                                           History of Art Twentieth                     Century      Art
                         DATE OF ADMISSION                               August 1996
                         DATE OF GRADUATION                              May       2005
                         DEGREE           RECEIVED                       Ph.D


           53            Pamela Schirmeister Schirmeister                                is   an    Associate    Dean       in   Yale Universitys



Graduate      School          of Art and Sciences



           54            Based upon Shins experience                     and       academic credentials Dongguk                         University



decided      to   move        forward     with       Shins application


           55            In   accordance         with      Dongguk     Universitys                 standard procedures           for
                                                                                                                                       special        hiring




candidates          Shins application was forwarded                          to    Dongguk           Universitys       Faculty



Hiring/Promotion               Committee             for   approval
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            56        On August 12 2005                     the   Faculty    Hiring/Promotion                  Committee agreed                   with the



Presidents         recommendation              that    Shin was        eligible     to    become          an assistant   professor in Dongguk



Universitys         Art History Department



            57        On August 16 2005 Dongguk                            Universitys             Office of Academic                  Affairs      submitted



Shins name           as   well as the names of six other special                            hiring    candidates            to   Dongguk


University        Foundations Board of Directors                         for final       hiring    approval



            58        Shin and        the    other six special             hiring        candidates         were approved              at   the    Dongguk


University        Foundations          Board of Directors                 meeting         that    was held on August 30 2005


                                      Yale Universitys Verification Of Shins                                   Ph.D

            59        On     September                2005    Shin was officially                 hired    by Dongguk            University         as   an



assistant    professor although              she was not scheduled                  to    teach
                                                                                                   any     classes    until      the   spring 2006



semester



            60        In early September               2005 Dongguk                University         received       information            that    raised




questions        regarding     the    accuracy        of Shins       statement           that    she had received                Ph.D from           Yale



University



            61        In order to verify the fact                 that   Shin had         received           Ph.D from           Yale University              on


September            2005 Hyung             Taik      Aim    Ahn             member of Dongguk                       Universitys



Administration        Team         sent        registered     letter      dated     September               2005 the September


Registered        Letter     to   Yale University             together      with          copy     of the Certification                Letter     provided



by Shin


            62       Ahns         September            Registered         Letter     states       in pertinent       part


                          would      like to   confirm       whether       you can         verify     the    contents    of the enclosed
                      letter   issued by your University for                      Ms      Jeong-Ah          Shin


                     Since     this    is   being     done as part of internal procedure for employing

                     faculty      member         at   Dongguk          University          your verification           will      be kept
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                       confidential              It   would be very kind of you                        to   send    us the information              we
                       have     requested as soon                   as    possible        Italics       supplied


              63       According            to   Yale Universitys                  mail delivery            records      the    September            Registered



Letter     which had been            delivered to the Yale University                                Central Mailroom             on September             20

2005 was           forwarded      on   that      date    to    Shalentia          Moore         an    office    assistant       in the    Yale      Graduate



School


              64       The    September                 Registered             Letter    was then delivered               to    Schirmeister         the




Associate          Dean who     had     supposedly              signed the Certification                    Letter      on behalf of Yale University


           65          Although Schirmeister was                           fully      aware     that    Yale       University         protocols required


that          verification      of     graduate           degree          be    based                  review       of Yale      Universitys         internal
        any                                                                              upon


records       Schirmeister        made no             effort   to    and       did not review           any    internal        Yale University           records



in    determining      whether        Shin had          received               Ph.D from             Yale University



           66          Rather        in violation         of Yale Universitys
                                                                                                 protocols           Schirmeister merely             reviewed



the    documents       attached       to the      September                    Registered       Letter      and concluded             that   Shin    had    in




fact received          Ph.D from             Yale       University



           67         Schinneisters               review        was so cursory                that    she did not even           notice      that   her    name


had    been misspelled on             the    documents              that       she was reviewing



           68         On     September 22 2005                       at    1329 E.D.T                Schirmeister sent            Ahn        three-page         fax



consisting of          transmittal          sheet as well as                   copy     of    Ahns      September              Registered       Letter      and



the Certification        Letter      that    had been provided                    to    Dongguk         University        by Shin the September


22    Fax

           69         Schirmeisters               September 22 Fax stated


                      As     requested            am     confirming that                the   attached         letter           the    Certification


                      Letter      was issued by                the   Yale Graduate School                      and signed by           me
                      Italics     supplied
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             70              Upon         the     issuance of the September                 22 Fax Schirmeister caused                         the   September


 22 Fax and            the    original       of the September                 Registered         Letter      including         its   attachments           and        the




 envelope         in   which         it   was sent        to   be placed      in   her   files   at   Yale University



             71              Relying         on    the    September 22 Fax               sent    by Schirmeister on behalf of Yale


University          that      attested       to    the fact     that    Shin had received               Ph.D from          Yale University                 Dongguk


University          concluded              that    Shin had received               Ph.D from Yale              University            as   she had represented



and   that    the      rumor was            therefore          baseless



             72              Shin began teaching                  classes     at   Dongguk        University          in the    spring semester of 2006


and   continued              to    do so    until    2007


                                                               Shins      Dissertation           Rumors


             73              On     June           2007 Eniyon Cho                 Cho             Dongguk           University           official    was


              with documents                      suggesting       that   Shin had         not written             dissertation       titled     Guillaume
provided



Apollinaire            Catalyst for Primitivision                      For Picabia        and    Duchamp             Shins Dissertation                           which


was   the    basis      for       her     Ph.D      and    that    Shins      Dissertation         had been         plagiarized



            74               Because         the    documents           questioning        Shins       Dissertation        that      had been provided                  to




Cho were not dispositive                          on June          2007 Cho         sent         website      inquiry to Yale              University        asking


whether      it   had             copy of Shins Dissertation


            75               Later that         day       Yale University            librarian        sent   an email to         Cho       stating    that   Yale



University        had no record of Shins                        Dissertation        and     advising         Cho    to   contact      Yale Universitys



Department             of Art History



            76             On      June     10 2007 Cho                sent   an   email to Susan Emerson                  Emerson                   the




              of Yale Universitys                                                                                  email Cho again sought
Registrar                                                Department of Art History                     In    his                                                 to




determine         whether           Yale University               had     record     of Shins          Dissertation




                                                                                    10
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           77            In his June         10 2007 email Cho                also       asked   Emerson whether              Shin earned             her



 Ph.D     degree    from your department                     of the Graduate             School


           78            Later that day          Emerson        sent    an    email to        Cho   informing him that               according         to   her



records     Jeong Ah            Shin did not receive                 Ph.D      in    our department            at   Yale University



           79            Some        time in mid-June           2007     the   rumors         regarding     Shins       Dissertation         reached



the   Korean press and Korean                   journalists      began       to investigate         the   question          of whether      Shin had



written    her dissertation            and whether           she had in fact         obtained         Ph.D from Yale                University



           80            On    June    12 2007            reporter     from        the    Korean Broadcasting               System        sent   an    email



to   Emerson informing Emerson                     that      there   was doubt           in   Korea whether           Shin had received               her


doctors     degree       from the Graduate              School       of Yale University               and      that   the    Korean       reporter



wanted     to   know      whether       Shin had written               dissertation           and had received               Ph.D from           Yale



University



           81            On    the   same day Emerson forwarded                           Chos     June   10    email and          the    Korean



reporters       June     12 email       to     number of people within Yale University including                                     the    chairman         of



Yale Universitys              History of Art Department and                        the    deputy registrar          of Yale Universitys



Graduate        School    of Arts and          Sciences



           82          On June 13 2007                 Emerson        sent    Yale Universitys              deputy registrar               follow-up



email stating       in pertinent        part



                                dont know          how       Yale handles such                matters but      it   seems     to   have

                       litigation            written   all   over it



                                 Yale University              Sets   Up An         Internal        Response           Team

          83           On     June     14 2007 Myoung Lee                    Lee                 professor in the Department                 of



Economics        at the       University       of Missouri-Columbia contacted                        Edward           Barnaby       Barnaby                 an



Associate       Dean     in   Yale Universitys               Graduate        School        of Arts and     Sciences




                                                                              11
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           84           Lee informed            Bamaby             that   she was contacting                 him on behalf of Dongguk



University      and      that   she was      seeking              help     in    verifying           whether       Shin attended Yale University



and    received         Ph.D         and   that      she would provide                  Barnaby with copies of                  the   September


Registered      Letter      and    the    September 22 Fax


           85           In order to assist Barnaby                        on June 15 2007 Lee faxed                          copy      of the September



Registered      Letter      and    the    September 22 Fax                  that       had been       sent    to   Schirmeister to            Dongguk


University



           86         On      June    15 2007              Yale University              received        additional      inquires       from        the       Korean



press regarding          whether         Shin had been              awarded             Ph.D by         Yale University



           87         On      June    15 2007 Barnaby                     forwarded           Lees      email as well as the copies of the



September          Registered          Letter        and     September 22 Fax                 that    he had       received from Lee to Susan



Carney     Carney               Yale     Universitys               Deputy        General Counsel



           88         Neither        Barnaby nor Carney sought                           to   determine        whether         the    September


Registered      Letter     and     the    September 22 Fax were authentic                               by having          Yale Universitys                  files




searched



           89         Because he was concerned                            about    Yale Universitys                 reputation         on June          15 2007


Bamaby      sent   an    email to         among        others        Emerson            and    Schirmeister           with       copy        to   Carney         that




gave   instructions        about     how     to      handle inquiries              regarding         Shin


           90         Barnabys email                 stated       in pertinent
                                                                                        part


                      This      matter     has been referred                to    the   Office of General Counsel                       It   will       be

                      assigned           representative              from       the    Office of Public            Affairs       Should

                      anyone contact you regarding                           Jeong ah Shin please                    decline     to offer

                      information            Once             contact      in    Public       Affairs      has been        named you              can

                      refer                     to    that                       will   be    in   touch     with    the    contacts
                                inquiries                     person
                      information          as   soon         as    receive        it




                                                                                  12
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            91         Within          half     hour of this email Yale                 University          assigned        Tom         Conroy     the




Deputy Director of Yale Universitys                           Office of Public              Affairs     to   handle      all   Korean media



inquiries    regarding         Shin


            92         During       late   June       2007 Korean            journalists        continued        to   contact       Yale University              to




ask about       Shin        All such    calls     were   referred        to    Yale    Universitys            Office of Public              Affairs      for




response



                                Dongguk           University          And       Other Korean Institutions

                               Question Yale University                       About The September                     22 Fax


           93          By     the   end of June 2007            articles        began appearing              in the     Korean press questioning


whether     Shin had written            her dissertation          whether             Shin had received               Ph.D from Yale


University       and   whether       Dongguk           University        had contacted            Yale University              in       order to verify



Shins Ph.D


          94           In    response      to   the
                                                      newspaper         articles
                                                                                       questioning           Shins academic                credentials          on


July      2007 Yong Taek                Im      the   Chairman of            the    Dongguk       University          Foundations                Board of


                held                                                                                                                     hire
Directors                   press conference           defending         Dongguk             Universitys         decision          to           Shin


explaining that        Dongguk          University       had    taken         steps    to    verify    Shins Ph.D and                   stating   that   it    had



received     the   September         22 Fax from Yale University                        confirming           the fact       that   Shin had        obtained



 Ph.D       from    Yale University


          95           Nevertheless             concerned      that     it   had received         contradictory                information            from


Yale   University       concerning            Shins     Ph.D      on July              2007      the    President       of Dongguk               University



Youngkyo         Oh    President           Oh         wrote    to the        President       of Yale University                Richard          Levin



President          Levin            letter    about    Shin President                 Ohs Letter

          96           In his July           letter    President       Oh      asked        President       Levin     the    following          questions



                              Did Yale University              award            Ph.D        degree     to   Ms      Jeong      Ah       Shin in

                       the   major of History of Art              in     2005


                                                                               13
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                            if the     answer        to    the   inquiry            is   No        then     am       curious    as to   how
                     Pamela Schirmeister came                       to   issue     the     Ph.D     certification       letter for

                     Ms     Jeong       Ah     Shin


                            If    Ms    Shin received               Ph.D       degree       from your school              then would you

                     let   us    know what           department          she was         enrolled in and         who was        the

                     academic          and    thesis       adviser



           97        On July            2007 Cho            sent   an email directly               to   Schirmeister asking Schirmeister to



explain the contradiction              between            Schirmeisters            September 22 Fax confirming                      that   Shin had



received         Ph.D from         Yale University               and   the    June       11 2007        email from Emerson              stating    that




Shin had     not received           Ph.D from              Yale University



           98        Schirmeister never                responded         to   Chos         July         2007 email


           99       On     July        2007         the    President      of the Gwangju                Biennale       Foundation            world-



renowned        Korean     art    institution        sent    an    urgent          fax to the Dean          of Yale Universitys               Graduate



School     asking that Yale          University           verify    Shins Ph.D              since       Shin was      being considered            as the




Artistic   Director      of the 2008 Gwangju                     Biennale


           100      In      separate         fax sent on July                 2007        the   Gwangju         Biennale       Foundation      faxed to



Yale University            copy     of the September               22 Fax      that       had been       sent   to   Dongguk        University       by


Schirrneister




           101      By     July        2007 Yale            Universitys            Department of Public                 Affairs      had   received



numerous        requests for information                  about    Shin from the Korean                   press and      it   was    fully   aware    that




the   Shin matter    had erupted             into      national        scandal in Korea



           102      On     July        2007         the    Director      General          of The    National         Museum         of Korea



National        Museum             sent       fax to Yale University                     asking    for assistance        in    determining        whether



Shin had    received         Ph.D from              Yale University




                                                                              14
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            103          Among           the    documents            that    the   National         Museum       provided        to   Yale University



were     additional
                          copies of the September
                                                                         22 Fax and            copy of        the    September            Registered       Letter



            104          Even       though        the        original    September          22 Fax was          in   Yale Universitys             files    on July


      2007 Barnaby            wrote            letter    to    the   President       of the Gwangju             Biennale        Foundation         stating       that




Yale University              had    no     record of              student with                        name      having        enrolled    in the     Graduate



School      of Arts and Sciences



                       Yale University                   Seeks To Distance                  Itself    From The          Shin     Scandal


            105          On    July            2007          Christine      Mehring         one     of the Yale University               professors



supposedly         involved         in    awarding            Shin       Ph.D from Yale               University         informed         the   Chairman of


Yale Universitys               Art History Department that                          she was         receiving numerous                phone     calls   from


reporters    about       the    Shin matter



            106          By    this   time Yale University                        was receiving            inquiries    about     Shin from Yale



University        alumni       living      in    Korea


            107          On    July         2007             Gila Reinstein         Reinstein                an Assistant Director               of Yale



Universitys         Office      of Public           Affairs and             the   person responsible             for   the    public affairs of Yale



Universitys         Graduate          School            of Arts and         Sciences        was assigned             to the   Yale University            team


responding        to   the    Korean press inquiries


            108          On or      about       July            2007         reporter       from     the    Chosun ilbo one              of Koreas        best




known newspapers                   sent   an     email to Schirmeister informing                            her that    the    Gwangju          Biennale



Foundation         was    in   possession               of      document          stating    that    Schirmeister had verified                  Shins Ph.D


in    September 2005 and                 asking whether                 Schirmeister had verified                      Shins Ph.D


            109        Because Schirmeister did not respond                                   to    the    reporters     email on July                  2007     the




same    reporter       emailed        Schirmeisters                  assistant     copies of the September                      Registered        Letter    and



the   September        22 Fax




                                                                                    15
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            110        Neither       Schirmeister nor her assistant                          responded              to the      Chosun            ilbo    reporters



 emails



            111       On     July       2007            Reinstein        wrote        an email to the Director General                               of the National



Museum       falsely       stating    that    the       documentation                 you faxed            to    me   adds      no credibility                to the   claim



that   Ms   Shin earned              Ph.D from            Yale in the History of                        Art


           112        In an email dated                 July     10 2007             the   Director         General           thanked        Reinstein           for   her



response     but pointed         out that         the
                                                        copy of        the     September 22 Fax                    in   its   possession contained                     the


fax number        of Associate          Deans           office    which         is   clearly          printed      on top of         the    transmitted           pages


           113        Also on July 10 2009                       the     Chosun           ilbo    reporter         who    had     previously                  contacted



Schirmeister sent Reinstein                  an    email asking whether                      Shin had            ever been            student            at   Yale



University



           114        Unaware         that    the       September 22 Fax was                          in   Yale Universitys                 files        Reinstein



erroneously       informed        the   Korean           reporter        that    Yale University                   had    no     record           that                 earned



  degree


           115        In response            the   Chosun         Ilbo        reporter      sent        Reinstein         an email attaching                    another



copy   of the September              22 Fax and           told    her that        Dongguk               University         had    stated          that    the




September 22 Fax which had                         been    sent     to   it
                                                                              by Yale University                      was proof            that    Schirmeister had



verified    Shins Ph.D


           116        In   his   July 10      email        the    Chosun             ilbo reporter              specifically         asked        Reinstein          to




confirm     whether        Schirmeister had in fact                    sent     the       September 22 Fax                 to    Dongguk             University



verifying Shins            Ph.D


           117        On    July     10 2007            Reinstein         forwarded              to    Carney       the   Chosun            ilbo     reporters            email



together    with the copy of the September                          22 Fax and              informed             Carney       that    she had            also    received




                                                                                     16
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 faxes of            the    same documents                   plus       the   fake diploma              from Hongnam              Kim        director-General of



 the   National            Museum          of    Korea

               118            Thus by           July    10 2007               not only were the originals                   of the September                 Registered



 Letter       and     the   September             22 Fax       readily         accessible         in   Yale Universitys                files      Yale University



had      received          at least      four copies of the same                       documents from other Korean sources


               119            By    July   10 2007             Yale University                  was    also    fully    aware     that      the     Korean    press     had



written about               Dongguk         Universitys                 employment of Shin                     that   Dongguk          University       had        stated




that     in   employing Shin                it    had     relied        on    the   September 22 Fax                  attesting       to   Shins Ph.D and              that




the    Korean press wanted                       to   know         if   Dongguk           University         had   told   the    truth



               120            Consequently by July 10 2007 Yale University was aware                                                        of the importance               of



providing truthful accurate and                               complete          information            to the      Korean media regarding                    the




communications between Dongguk University and                                                     Schirmeister            on behalf of Yale University


about     Shin


                                     Yale University                    Denies       Sending The September                        22 Fax


              121           Carney was given                   responsibility              for   writing           responsive         letter to      President       Ohs

Letter        on behalf of President Levin                           that     would answer             President        Ohs      questions



              122           Tn     responding           to   President          Ohs        Letter      Yale University            knew         or   should have



known         that    if it   did not provide                truthful         accurate          and    complete        irifonnation         regarding        its




communications with Dongguk University                                              about       Shin    that      Dongguk       University           would be


vilified       in the       Korean media               that    Donggak              Universitys           reputation          would be         significantly




tarnished and               that    it   would        suffer    severe consequences



              123           While preparing                  the
                                                                    response           Carney         sent   an    email to Barnaby stating



                              remain       concern                      about       the    apparent fax lines             on    the    document
                            transmittal          sheets        and      the    apparent         receipt      within     the    Deans        office    of the

                            2005 inquiry                But maybe               that      is   false   too


                                                                                           17
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           124          Nevertheless            at   no    time on or before            July    10 2007            did    Camey         or   anyone     else    at




Yale University             make      any effort to review                Yale Universitys            files    to    determine          whether       the




September            Registered        Letter        and    the   September 22 Fax were authentic


           125          On July 10 2007 Camey                        sent      letter   responding            to    the   questions          posed    by


President      Oh the July             10    Letter


          126          In the July 10 Letter                    Carney     stated    that       Shin did not receive                      Ph.D from         Yale



University       ii         the Certification          Letter      was       forgery        iii the September 22 Fax was not


authentic       and     iv      Yale University                 had no knowledge              currently        regarding          the    creation     or



issuance of         the     September         22 Fax


          127          The statements contained                      in   Carneys July 10             Letter       regarding        the      September         22


Fax were       false   when made             and     were       recklessly     given


          128          One      day   after    she sent her July 10                 Letter    Carney began                to    suspect that      Yale



University      had     received       the    September              Registered        Letter     and    might        have       sent   the    September 22


Fax


          129          In    an email dated           July      11 2007 Carney               stated



                       Ed Barnaby            and      were troubled about               the     fax line      at    the   top of some          of the

                       purported        Yale correspondence                    although        its pretty          easy    to    make up       fake

                       documents            including such           lines    these days         Also          had not seen             the    2005

                       inquiry sent by fax to the                   Deans      office       before      that       too    is    troubling


          130          Although Carney was troubled                            by     the    fax line and even                 though     Carney and


others   within      Yale University               were aware         that   the    Shin incident                         all   over the Korean



news      neither      she nor anyone else                 at   Yale University             contacted     Yale        Universitys             Central



Mailroom       or    searched      Yale      Universitys            files to   determine         whether           the    September             Registered



Letter   and   the     September        22 Fax were               authentic




                                                                               18
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             131       Rather than conduct                          an investigation            to learn          the    truth in           series    of press



interviews as well as in emails and                                press    releases      disseminated                  to   the    Korean media throughout


July and      August 2007 Reinstein                           on behalf of Yale University made                                     series    of knowingly             false




statements regarding                Dongguk              Universitys            efforts     to verify             Shins Ph.D


             132       When         Reinstein            made her statements                     Reinstein              was well-aware               that    the     issue      of



the    Korean      art historian         who        falsely         claim           to    have     earned          her       PhD from Yale                         still   on


the front     burner    iii   the    Korean          media

            133       In an effort to verify                        whether     Dongguk            University                was    telling the        truth   when        it




said   it   had received       the       September 22 Fax from                       Schirrneister                 Korean           reporters        contacted



Reinstein      who on numerous                     occasions             informed        them     that       the    September 22 Fax was forged                                 or




was         fake

            134       On July 13 2007                         the    Chosun      ilbo     printed           an    article      which        stated     in pertinent




part


                      The fax        that       Dongguk                  University has           been           claiming to have received

                      from Yale University which was                                      the    decisive          factor      in the       mystery         of the
                      forged        doctorate             degree         of   Don gguk          Universitys              Professor           Jeong Ah
                      Shin was confirmed                           to   have been        forged             Our newspaper sent an email

                      message including                       this      fax on the 12th requesting                                  schools
                      authentication                 and       in
                                                                     response       Ms      Gila Reinstein                   of Yale        Universitys
                      Public        Affairs         said       This document               is    in         different        format      from Yale

                      Universitys               academic record                  verification               and    it   is     forged        document
                      She     said       in        telephone            conversation            Professor               Pamela Schirmeister
                      whose         signature            is   included         in the     letter       is   presently          away         but verification

                      with her Assistant Professor                             confirmed          that       Professor             Schirmeister never

                      signed such                   letter




                      This fax was                 used       as        confirmation        for       the    academic              record    when
                      Professor           Shin was             hired as         Professor          of   Dongguk University in 2005
                      and     named           the    Art Director             of Kwangju              Biennale 2008 Now that    is                     it



                      determined              to    be        falsified                               it    is   very possible that             it   was

                      forged        in   Korea            Italics          supplied




                                                                                     19
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              135       On       July       14 2007            the   Chosun            ilbo   published          on    its   website      an English          version   of



its   July    13 2007       article in            which        it   stated      that



                              document              that     was used           to    show     that      Dongguk             University        art


                        professor had                    doctoral          degree       from Yale has turned out                     to   be       forgery


             136        The      Chosun llbos July 14 2007 website                                       article       went on       to   state




                        However              in                       to   an    email inquiry by the Chosun Ilbo                              Gila
                                                   response
                        Reinstein            at    Yale Universitys                   Office of Public            Affairs said            The
                        document has                       different       format        from     that     of Yale Universitys                 official

                        certificate               The document                  is     fake

                        She said                  couldnt contact Pamela                         Schirmeister                associate dean of Yale

                        Graduate Schoo4 whose signature was on                                             the    faxed       document            However
                        her assistant              said      Prof Schirmeister had never                          signed       her   name         to   such

                        document                   Italics          supplied


             137        On      July     16 2007              the    DongA            ilbo another major                 Korean newspaper                 published



an article entitled           Yale          Decides           Against        Investigating            Jeong        Ah        Shins Fake         Fax

             138        The      DongA            ilbo       article   was based              upon an interview with Reinstein                           who was


quoted       as   saying   that       even        if   the    September              22 Fax and       the       Certification        Letter       were faxed        from


Yale University            it   does not change                     the fact         they were all fake documents                      that    were not prepared


by Yale University                    Italics          supplied


                                             Yale University                     Should Have              Known              That
                                                  It   Was         Disseminating               False Information


             139        Troubled            by Yale Universitys                        statement         that    the    September 22 Fax was not


authentic         Cho   sent an email to Carney                            on July 15 2007                in    an effort to learn             why Yale


University        had reached           that       conclusion



         140            In his July 15 email Cho                           pointed        out that       the     September 22 Fax contained                         fax



telephone         number        and    he    inquired whether                    the    fax telephone            number was                   Yale     number

         141            On July 16 2007                       Carney         sent     Cho     an email assuring                Cho     that    Yales



investigators           were examining                       the    September           22 Fax and would be making                             further        inquiries




                                                                                         20
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          142          In her July      16 2007 email                 Carne.y confinned                   that    the    fax number        on   the




September       22 Fax is assigned             as the        fax number              for the       Yale    Graduate         School     Associate        Deans


Office


          143          However Carney went on                       to    say in her July 16 email



                       Because documents               can        so easily be fabricated                  with available            software

                       programs       these   day      it
                                                             appears       that        the   fax    line
                                                                                                           may      have    been added          to


                       copy     but   may     not be        the    case     The        investigators             will   examine      this


                       question


          144          The    investigators           whom           Carney        referred         to    in   her email was         the    Yale



University      Police       Department which                according            to    another email sent by Carney                         was busy       at




the   moment     unfortunately           with break-ins



         145           Notwithstanding           Carneys promise                       to investigate            the matter      further no further



investigation        was done by        the   Yale University               Police           Department            to   determine      whether        the




September 22 Fax was authentic                   or    whether           the     September                Registered        Letter     had    been received


by Yale University


         146           Had     Carney or anyone               in the      Yale University Police                        Department searched             Yale



Universitys       files   or contacted        the    Yale University                   Central Mailroom                  they would have



discovered      that   the
                              September          Registered              Letter        and   the    September 22 Fax were authentic


                        Yale University             Continues To Disseminate                               False Information



         147           On    July    17 2007        Reinstein            sent an       email to Helaine                 Kiasky   Klasky               who was


Yale Universitys             Director   of Public           Affairs       and     Special          Assistant to the President                 asking



permission      to   make      the   following      statement            which would be emailed                          or faxed     to   Korean



reporters



                       Jeong-Ah       Shin was never               enrolled as               student at Yale University                    and did

                       not earn       Ph.D     or   any      other degree               from       this   university        Any document
                       purporting to support            her claim           is    false      and    was not issued from Yale




                                                                                21
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           148        The       proposed       statement was              falsQ    because         the    September 22 Fax which


supported       Shins      claim had            been issued by Yale University was authentic


           149        Kiasky approved             Reinsteins              suggested         language            and    the    false        statement was              sent




or otherwise       transmitted by Reinstein                   to    the   Korean        media


           150       In addition          to   claiming that          the    September             22 Fax was                fake Reinstein               also




falsely   infonned        the    Korean media           that       Yale University            had not received                    the     September



Registered       Letter    asking whether            Shin had received                   Ph.D from                Yale University



          151        On July 18 2007               the    Hankook            Ilbo       another Korean
                                                                                                                       newspaper             printed       an article



which noted        that   Yale University            had made               public statement                that      the   September 22 Fax was


          and    which opined                  Dongguk                                                     have                      done anything
forged                               that                          University       may      never                    actually                                   to




verify    Shins Ph.D


          152        On     July   19 2007         the    Chosun            Ilbo   wrote      an    article        based      in large        part   on    an



interview       with Reinstein       in    which she          stated      that     Dongguk          University              had    never      contacted Yale



University       about    Shin


          153        The    July 19       Chosun        Ilbo       article stated        in pertinent             part



                     Associate       Director          Gila Reinstein              of Yale Universitys                      Public        Affairs

                     Office stated             Dongguk                               said    that          mailed            letter for       an
                                                                   University                        it



                     inquiry of her academic                   record        so    we   looked           into   it    but    we Art          Histoiy

                     Department Graduate School of Yale University                                              never       received         the
                     letter         Italics      supplied


          154        The July 19 Chosun                 Ilbo       article   went on         to    state




                     Did Dongguk               University          really    send    the    mail            Associate             Director

                     Reinstein       said       we     have          system that         verifies         each       students           degree so
                     had we received             the    letter      we would          have        replied       according            to    the


                     process        adding        We      never           received      the letter




                                                                              22
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            155         Also on July 19 2007                        the   bong Ang             ilbo another Korean                         newspaper          printed




 the results      of     July    17 2007             interview with Reinstein                       in   which Reinstein              gave     the     following



 answer     to the     following         question



                        Dongguk           University           is   claiming to have                 forwarded           an academic           record

                        verification          request to Yale University                             Did you receive it


                          looked        for     it
                                                     repeatedly          in the       Department of Art                 history       and    the

                        Graduate         School         with no success                       document           such      as      request for
                        verification          of academic            records           is    very important matter so                        we    keep

                        book      to    record it           The   fact    that        we couldnt          find such        an important
                        document          means         that      we didnt receive                  it     do not know            what happened

                        Italics        supplied


            156         Believing         that       Yale    University           was       telling the         truth on July              18 2007        the




Dongguk         University        Foundations Board of Directors                                publicly          stated    that      it   would discipline             all




the   faculty     members         involved            in the   forgery case for failed                    verification           of                    doctorate




when    she was        selected


            157         Believing         that       Yale University              was       telling      the    truth on July              18 2007        President



Oh    issued       statement           publicly        apologizing             for the      scandal involving               Shin


                       Yale University                Continues            Its   Aggressive              Public      Relations             Efforts



            158         Yale University                continued          to    make        false    statements to the Korean media about                               the




September          Registered            Letter       and    the    September 22 Fax and public                            criticism         of Dongguk



University        intensified



            159         On July 20 2007                  Reinstein             sent    an   email to            reporter        from another Korean



newspaper         The    Hankyoreh               who     sought information                    about       the    September                 Registered         Letter




and   the   September           22 Fax


            160         Reinsteins         July 20 email stated                       in pertinent        part



                       Neither         Pam Schirmeister                   nor any other Yale                   official    signed documents

                        affirming        that        she earned            degree            The phone and               fax numbers              on   the

                        false   documents              are   correct           but that      information           is   public knowledge                     If
                        Yale had received                    request       to    confirm        that      Shin earned              degree         from       the




                                                                                      23
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                      Graduate          School Yale would have                      responded       that    she did not            Italics

                      supplied


           161        On    July   24 2007            Klasky       decided       that      Yale University         should       take     an even     more


aggressive       position with          the   Korean media


           162        By   that    date       Reinstein      had     already        spoken     to   Seoul    Broadcasting              Company


Munhwa       Broadcasting          Corporation              Chosun ilbo JoongAng                    ilbo    Dong-A          Daily and        other




Korean media         outlets      about       Yale    Universitys           supposed         lack of involvement               in the     Shin matter



           163        In her conversations                 with the Korean press               Reinstein          shared           the
                                                                                                                                         September 22


Fax with      the    Korean reporters                and    told   them     it   was fake because            the    September Fax did not


bear any     resemblance           to   the letter that                     Pamela Schirmeister                  sends    to   confirm          degree


           164        The public statements made by Reinstein                                on behalf      of Yale University               stating       that




the   September       22 Fax was              fake and      that    the    September           Registered          Letter      was never        received



by Yale University were picked up by                         virtually       all    of the major Korean              newspapers           and



broadcast     companies


           165       Yale Universitys                statement       that    the    September        22 Fax was                fake and      that    the




September           Registered      Letter      was never received by Yale University was                                   also    picked      up and


republished        by news     agencies        from around           the    world


           166       As      consequence              numerous           articles    were published              in print    and on websites           in




and outside of Korea reporting Dongguk Universitys                                      supposed       failure to        verify      Shins


credentials



           167       By    late-July      2007        the   information          provided       by Reinstein          on behalf of Yale


University    had been widely             circulated         to    the   Korean population-at-large                   many         of    whom

believed    that    Dongguk        University         had    improperly            hired    Shin    that    it   had never         contacted        Yale




                                                                            24
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 University           and   that    it    had     tried to          cover    up    its   inaction       by   reliance      on     forged     document           the




 September            22 Fax


            168          As        result        of Reinstein                continued            statements to the Korean              press    Dongguk


University        continued              to   be severely             criticized         in the   Korean                  and   on broadcast      television
                                                                                                                press



            169          On August                     2007 Munhwa                  Broadcasting             Corporation          one   of the most



important television                stations           in    Korea broadcast                    60     Minutes-type exposØ publicly                  criticizing




Dongguk          Universitys              role        in the    Shin scandal



            170         In connection                   with the forty-five                minute       broadcast         Reinstein     was interviewed        and



   clip   of her interview                was aired


            171         In her publicly                     aired     television         interview       Reinstein          on behalf      of Yale University



once      again claimed            that       Yale      University           had    never       received        an inquiry from         Dongguk      University



asking about           Shins Ph.D


            172         The        Korean         television           broadcast           also      reported     that    Yale University        continued     to




assert    that   it   had never           sent        the    September 22 Fax


            173         On August 20 2007 Klasky                                   sent        memo       to    President       Levin   in   connection   with



interview that          President             Levin         was scheduled            to    have      with      an editor    of Monthly        JoongAng


prominent        Korean        current           affairs       magazine


            174         In the August 20                      memo          Klasky        focused       President         Levin   on the tremendous


attention     that     Yale has received                     and       continues          to   receive       in the      Korean press surrounding            the




Shin incident           and    reminded                President           Levin      that      if   asked President Levin              should    simply re


state    the facts     as   outlined in Susan Carneys July                                     10 2007          letter



            175         At    the    time Kalsky                    sent   her August 20              memo       to   President    Levin      Yale University


still   had not searched             its      files    in    order to determine                 whether         the   September 22 Fax was authentic




                                                                                          25
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            176        Yale Universitys               failure to         acknqwledge                    the    truth    about       its   communications        with



Dongguk         University       concerning          Shin continued                     to   have       severe consequences                  in   Korea


            177        On August 31 2007                        group         of monks              belonging          to    the    Jogye    Order publicly



called   for the      dismissal of         all   of the directors             of Dongguk                 University           Foundations            Board of


Directors because            of their responsibility               in
                                                                         approving                Shin as         special           hiring    candidate


            178        On    September              2007         the    Korea Times                     in   an article entitled             Factional       Feud



Deepens        in   Buddhist     Groups            reported       that     the          diploma          scandal of                university      professor has


initiated       factional      feud between           Buddhist           groups               affiliated        with        the   Jogye     Order


         179           On September 17 2007                       KMAC                       prominent          Korean consumer                 service




consulting organization               notified       Dongguk             University               that       because        of Dongguk            Universitys



reported role in the Shin scandal                    it   wold not be receiving                          KMACs               prestigious        2007 Customer


Satisfaction        Management             Grand Award


         180           In   so doing        KMAC          stated        that



                      Reasons


                      There     is   no question          that                               University          demonstrated               exemplary
                      effort    by becoming             the     first   college              to   implement        the       concept        of customer

                      satisfaction         under     outstanding              leadership


                      For       school customers                 include           not only          its     students        who     receive      direct

                      service        but   it    must consider           the       social         benefits such              as industrial         and

                      citizen    communities               which means                   that        high quality             service       must be
                      offered directly            and     indirectly          to    the students                the receiver              of service

                      industrial      society        citizens           etc        In   that      aspect        considering           the    recent

                      social    issue      pertinent       to    the    employment of                    the    teaching           staff in the     aspect

                      of the quality            management              of education                service       the       Evaluation        Committee
                      reached        the final      resolution           that      found          the    awarding            to   be inappropriate

                      Italics    supplied




                                                                                   26
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                                      Dongguk Universitys Continued                                     Efforts       To Have Yale
                       University              Acknowledge                Its   Role In the Shin Matter Are Rebuffed


               181         In or about           early        August 2007           the      Seoul          Western         District         Prosecution             Office the



Korean Prosecutors                        commenced                   criminal      investigation                  into    the   circumstances                 surrounding



Shins contention                  that   she had been awarded                       Ph.D by                 Yale    University



               182         Among          other things            the     Korean Prosecutors                       were     interested             in   Dongguk


Universitys           relationship              with Shin and             whether        Dongguk              University              had    verified          Shins Ph.D


as    it   had claimed


               183         In view of mounting public criticism                                  and        the    pending         criminal investigation



Dongguk          University            continued          to   communicate              with Yale University                          in   its   effort to      prove    that




Yale University                 had    received         the    September            Registered               Letter       and     that       the    September 22 Fax


attesting       to   Shins Ph.D was authentic


              184          On     August        31 2007 Cho                sent   Carney an email                     stating         that       Dongguk         University



had        located   the    United        States        Postal    Services          tracking record                  that    established                that   the   September


  Registered          Letter          was signed         for     by          Moore          YCM              and    that              Moore             was Michael


Moore one            of the       YCM          staff    members


              185          In    his   August 31 email Cho                      stated       that      he    was      hopeful              that     this   new evidence

would enable Yale University                            to    establish      the authenticity                 of the September                     22 Fax


              186          Later that          day Carney             sent      responsive              email to          Cho      stating



                           Dear Director               Cho

                           The        material that           you have       provided            below does not support                           the

                           conclusion           that     any package            from Dongguk University was ever delivered
                           to   Dean      Schirmeister                The Yale Graduate                      School        advises that             there      was
                           no one by the name Michael                             Moore             working          there       in    2005         In addition

                           YCM            is    not an acronym               related        to   the    Graduate            School         Deans           office

                           where Dean             Schirmeister            works          All that           the    receipt       you provided
                           indicates       is    that    it   was delivered            in   New        Haven         CT      and       signed for by
                           Moore         YCM

                                                                                       27
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            187       In       return      email Cho informed                     Carney        that      the
                                                                                                                acronym       YCM        stands for           Yale


Central     Mailroom           and    he   provided            website          link     to   Yale Universitys               website    that    established




that     Michael    Moore       was                                           by Yale University                  in the    Yale Central Mailroom
                                           person employed



            188       Rather than accept                this   evidence              on September                  2007 Carney          sent    Cho      an



email asking        for     copy        of the actual          receipt          from      the   U.S        Postal Service



            189       On September                   2007 Cho              sent        copy of       the    mailing        label that   was     affixed       to




the    September          Registered           Letter



            190       On    September                2007 Carney                sent     an email to            Cho     complaining      that    the    mailing



label    was not completely              in   English        and    asking for                copy of      the    receipt     containing       Michael



Moores actual             signature--           something           that      she should         have       known would            not be in the



possession        of Dongguk         University



            191       By September 12 2007                         in   its    effort    to    prove       that   the   September          Registered



Letter     bad been received            by Yale Univeristy                     Dongguk          University          had provided        Carney with


                          copy of       the    U.S    Postal        Services            Track             Confirm Receipt           stating     that    the


                      September               Registered           Letter      had     been received by                      Moore      YCM
                          website       link    to   Yale Universitys                   Central Mailroom                 which     established         that   Yale

                      Universitys             mailroom was              staffed        by among             others      Michael      Moore        and



                          copy of       the    mailing       label      that    was put on           the    package         that   contained     the


                      September               Registered           Letter



           192        In addition          Dongguk            University             had previously provided                   Camey     with the Yale



University     fax telephone            number        that    was on           the    September 22 Fax


           193        In the same          September           12 email Cho informed                            Camey       of the Korean



Prosecutors         interest    in the     matter       and    he    told      Carney         that   it   would be           great help         to     him    to




know      whether     the   new      material helped               Camey         establish       that      the    September          Registered          Letter




had    been received




                                                                                  28
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           194          Chos September 12                         email also           asked      Carney   to    inform        Dongguk           University



whether     the   information              that     had     been        sent    to    her enabled      her to determine              whether         the




September          Registered              Letter         had been        received          by Yale University


           195          Having        received             the    information           that      had been provided            to   her by       Cho       Carney



should have        easily      been able            to    determine            that   the    September           Registered          Letter      had been


received     by Yale University and                        that    the    September 22 Fax was authentic


           196          Carney        neither         responded           to     Chos September             12    email nor did she take any



further   steps    to    determine           whether             the   September               Registered       Letter    and       the   September 22 Fax


were authentic


                                             Yale University                    Continues To Disseminate
                                            False Information                        About The Shin             Incident



           197          On     or   around        September              17 2005            Shin was     arrested        and    her Korean           attorney



announced        that    he    would prove                that    Shin has been duped by someone                           who worked              at    Yale



University



          198           Upon        hearing       this      news Klasky                 concerned       that    Yale Universitys                 name was


getting     dragged        through          the     mud           sent    an email to George Joseph                      Joseph               the individual




within    Yale Universitys                 Office of International                      Affairs responsible              for   Asia recommending                    that




Yale University          issue       another              statement            about    Yale Universitys             non-involvement                    in the   Shin



matter    that   would be           sent    to      all    the    Korean papers


          199           Joseph       responded             on September 18 2007 by stating


                        Since       this story        is   now         going     in     different      direction     than where             it   was two

                        days    ago          concur


          200           On    September             19 2007              Reinstein          and    one of her colleagues                 received       an email



from      Korean        reporter
                                      from        the      Maeil        Business        Newspaper        which       stated         in
                                                                                                                                         pertinent       part




                                                                                       29
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                        Hello     my name           is   Park Sowoon                    and        am         journalist        of Maeil          Business

                        Newspaper            in   Korea            About two months ago                           talked        with Reinstein               on

                        the   phone          These days                 the   scandal of Shin Jeong-ah                         who     allegedly            faked

                                                                                                                graces the headlines
                        her Yale diploma                 to   become                professor           stifi                                          of

                        newspapers                Therefore               would be delighted                    ifyou         Reinstein          and

                        Conroy         let   me know               whether          the fax sent in Sep               2005 was             really   sent      at

                        Yale or not           Italics         supplied


          201           In order to respond                   to the      Maeil       Business           Newspaper             reporters          question and



respond     to   similar      inquiries       made by              other Korean             reporters Reinstein                   prepared another Yale



University       official     statement           Official Statement


          202          As     of September           20 2007                  the    time   when         Reinstein            prepared the Official



Statement        no one connected                 with Yale University                      had searched              Yale Universitys                  files      to




determine        whether      the   September             22 Fax was authentic                          nor had       anyone from Yale University


used the information              provided          by Cho           to   Carney        in early         September 2007                to       determine         whether



the   September          Registered           Letter        had been               received    by Yale Universitys                         Central Mailroom



          203          On     September           21 2007               the    Official       Statement           that    had been           prepared by


Reinstein    was approved              by Klasky               and       Reinstein         was authorized                to    send   it    to    the   Korean


media who had            contacted           her and          to   have       it
                                                                                   posted on Yale Universitys                         website



          204          The    Official       Statement              stated         in pertinent         part



                       Jeong      Ah    Shin was            never         enrolled as              student       at   Yale University               and      did

                       not attend       classes        or     earn            Ph.D     or    any    other       degree         from    this      university

                       Any document               or statement                purporting           to   support       her claim            is   false   and

                       was not issued by Yale University                                    Italics       supplied


          205          The    Official       Statement              was       false    because          the     September 22 Fax which supported


Shins claim was not false because                                  it   had been issued by Yale University


          206          On September 21 2007                             Reinstein        responded              to the    Maeil       Business          Newspaper


reporters    question         about     the authenticity                  of the September                  22 Fax by sending him an email



containing       the   Official     Statement




                                                                                      30
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            207          On      or about       September          21 2007            Reinstein         spoke        with     reporter
                                                                                                                                           from DongA


ilbo   about      the    Shin incident              and                   to   the reporter            that   Yale University            had    no
                                                          explained



involvement          in that          matter



            208          Reinstein            immediately       emailed               copy of         the   Official       Statement     to the      DongA


Ilbo   reporter



            209          Also on September                  21 2007            Reinstein         sent       the Official     Statement         to    reporter



from    the   Buddhist           Weekly         Newspaper          in                     to    the   reporters        question    as to       whether
                                                                        response


Schirmeister sent documents                           confirming Shins                   doctorate      by     facsimile      on September 22             2005

            210          On September 23 2007 DongA                                  ilbo      reported       that   Yale University           had issued an


Official      Statement          stating       inter      alia that     all    documents              supporting       Shins claim were              forgeries



and    therefore        are fake


            211          As          result    of Yale Universitys                  dissemination             of the Official      Statement which



continued      to   deny        the    authenticity         of the September                22 Fax Dongguk                  Universitys         reputation



continued      to   be     --   in    Yale Universitys             terms       --   dragged           through        the    mud

            212          In late September                 2007 and       in early         October          2007 Dongguk          Universitys



Professors Association                   issued           number of fonnal                statements          all    of which were reported              in the




Korean press            demanding             the    resignation        of    Dongguk           Universitys           President    and       Vice    President



as   well as the resignation of the Dongguk                             University             Foundations            Board of Directors


            213          Based upon Yale Universitys                           continued          public statements that               the     September


Registered        Letter        and    the    September 22 Fax were forgeries                               the   Korean Prosecutors focused                 their




attention     on Dongguk Universitys                         supposed          failure      to verify         Shins Ph.D credentials


            214          Numerous             Korean newspapers                 and       other media outlets               infonned      the   Korean



population-at-large               of the Korean Prosecutors                         investigation            of   Dongguk      Universitys           purported



role in the    Shin matter




                                                                                    31
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                                                 Yale University               Discovers        That
                                              The September               22 Fax        Is   Authentic


           215          On October       11 2007       Shin was arrested                by    the   Korean           Prosecutors         and was


accused     of fabricating            doctorate    degree    and     other documents                  from Yale University


           216          In connection         with the then-upcoming                   criminal       trial    of Shin and         at the   request of



the   Korean Prosecutors              on October      17 2007         the      United        States    Department of              Justice    served an



information      subpoena Information                 Subpoena                 on Yale University                in      order to obtain



information      contained       in   Yale Universitys            files    that       might be      related         to   the   Shin matter



           217      The     Information          Subpoena was             sent    to   Harold       Rose       Rose             one     of Yale



Universitys       Associate       General Counsel



           218      The     Information Subpoena              required Yale University                         to    answer      the    following



questions


                    Did you receive an             international          mail enquiry           related        to    academic
                    reference of the suspect from                  Dongguk             University         in   September           2005


                    Upon       receipt      whom     did the staff         member            of Yale     University            deliver    the

                    above      mail      to


                    Has     the international        enquiry       been answered                    if yes when was                it

                    What       did you answer         in
                                                           response         to the      enquiry


           219      Upon       receipt    of the Information              Subpoena            Yale Universitys                  General Counsels



Office   commenced          an immediate          investigation           in   order to answer             the      questions      posed    in the




Information      Subpoena


           220      On     October       18 2007 one         day    after        it   had received         the      Information         Subpoena


Rose received documents                from Yale Universitys                   Central Mailroom                  which confirmed             that    the




September        Registered        Letter      had been received by Yale Universitys                                  Central Mailroom              on



September 20 2005 and              had been forwarded               to    Yale Universitys                 Graduate            School    of Arts and



Sciences    on   that    day



                                                                          32
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           221           On    the   same day October                 18 2007        Schirmeisters              assistant          searched



Schirmeisters            files   and   found        the original      of the September             22 Fax        as   well as the original



September           Registered         Letter       including      the    envelope         in   which     it   had been           sent



           222           Even       though     as   of October        18 2007 Yale              University        knew            that   the   September


Registered        Letter      and    the   September        22 Fax were authentic                  that    it   had     continually            provided           false




information about             these    documents          to the      Korean media between July and                               October      2007         and



that   Dongguk       University            had been      the    subject      of unrelenting criticism                 in     Korea because                 of Yale



Universitys         false     statements to the Korean press                       Yale University              did not take any               action to



correct    its   false    statements



          223            Rather than disclosing the true                   facts    to   the    Korean media and                    to   Dongguk


University        beginning          on October         18 2007 members                  of Yale Universitys                      General       Counsels


Office and Office of Public                   Affairs     met    to   develop         strategy            designed           to   minimize           the   impact



of Yale Universitys                 errors



          224            On   October         29 2007      Rose       sent        letter   the October             29      Letter          to the     United



States    Department of             Justice    that     contained      Yale Universitys              response           to    the    Information



Subpoena


          225         Among           other things        the    October      29    Letter      provides        the     following             answers       to    the




following        questions



                            Did Yale University                 receive      an international           mail enquiry               related      to

                      academic         reference         of Jeong      Ah     Shin from          Dongguk         University              in


                      September            2005

                     Answer            Yes        In   September         2005 Yale          University          received             letter     dated

                      September                2005      with receipt        number         RR    062 260 601              KR        from Prof
                      Dr Hyung             Taik     Mn     Department Manager Dongguk University
                      Personnel            Administration         Team




                                                                             33
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                     10 Upon          receipt             whom         did the staff        member             of Yale University               deliver

                     the   above     mail        to

                     Answer          Yale University                    mail delivery            records indicate              that    the    letter


                     described       in
                                           response              to    Question           was     delivered to Shalentia                    Moore           an

                     office      assistant       in the          Yale Graduate             School


                     11     Has     the    international                enquiry        been answered                     If yes when was               this


                     reply dispatched


                    Answer          Yes On September 22 2005                                     at    1325 E.D.T              Associate         Dean            of

                     the   Yale Graduate                  School Pamela Schirmeister                                sent     fax in reply to the

                    letter       described           in   response           to    Question



                     12 What was                 the      answer        in    response      to    the      enquiry


                    Answer          The fax said                  As      requested             am     confirming            that    the    attached

                    letter    was issued by                 the       Yale    Graduate         School         and     signed by        me        Dean

                    Schirmeister               now        believes       that      this   answer        was an error


          226       Even      though           the    October          29     Letter      formally         acknowledged              that    Yale University



had   received    the    September               Registered             Letter       and had          sent    the    September 22 Fax Yale


University      did not issue       an    official          statement             correcting      its    past       errors   or     take any     corrective




action    whatsoever


          227       Finally        on November                   29 2007            more than           six   weeks         after   Yale      University              knew


the   truth   Camey       sent     terse       letter       by email          to    President         Oh     of Dongguk             University         in   which


Yale University          acknowledged                that   it   had been           in error     when         it   stated    that    the    September 22 Fax


was      fake


          228       In    her November                29     2007        letter      Carney informed                  President        Oh     that     it now



appears    from      document         discovered                 by    Ms         Schirmeister           that      the     September         22 Fax         is   indeed


authentic        Italics    supplied


          229       In an effort          to    explain away                 Schirmeister               actions          Camey       stated    that     the




September       22 Fax had been            sent        in   the        rush of business




                                                                                    34
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             230     At     that    time Yale University did not inform                                       the      Korean media                   that   Yale



 University        had committed an                error       when        it
                                                                                 continually         told        the    Korean media                  that   neither      the




 September          Registered            Letter    nor the September                      22 Fax were authentic


             231     On     December               27 2007           Dongguk               University            held          press conference                 announcing



that   Yale University         had        sent     Dongguk           University               letter        stating       that       the    September 22 Fax was


authentic



             232     It   was only          after       the    Korean media reported                        the        statements           at    Dongguk


Universitys        press conference                that       Yale University               determined                 that    it   had    to    issue         public



statement      regarding      its    error

             233     On     December               29 2007           approximately                 two and one-half months                              after      Yale



University     discovered           its    error    and almost             six       months        after    Yale University                      denied receiving the



                                                    and sending                                                                                                           issued
September          Registered            Letter                                 the   September 22 Fax Yale University                                       finally



  formal public statement                  that    it   had committed an                    error

         234         Yale Universitys                    December                29 public statement                    stated        in pertinent           part



                     In     facsimile             response          sent        to   Dongguk         also        in
                                                                                                                       September 2005                    the

                     Graduate            School         confirmed               erroneously            that       the letter          was issued by                the

                     Yale Graduate                 School       and signed by                   Yale Associate                      Dean          Responding
                     quickly        to    what appeared               to        be    routine
                                                                                                    request             Yales         staff      mistakenly
                     relied    on     the letterhead                and     signature        on     the     purported               May     2005         letter     and

                     failed    to    recognize            it   as   fabricated



         235         The    December               29 public statement                     failed      to   state        that       by relying         on      the




letterhead     and signature              in   order to verify              Shins          Ph.D Yales                     staff had              violated       Yale



Universitys        longstanding            verification             protocols



         236         The    December               29 public statement went on                              to    state        that



                     Yale has undertaken                       an extensive            examination                of     its    documents             related       to

                     this   matter         in the       past    several          months       and      has changed                  its    protocols         for


                     verifying graduate                   degrees               Yales      review       of the Shin matter                       in   Summer
                     2007     at    Dongguks              request suggested                   at    first     that      the     September 2005



                                                                                      35
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                             facsimile          bad     not been sent to the Graduate                           School because                  the   fonnat    of

                             the    facsimile          was not customary and                      Yale so advised                   Dongguk           This

                             conclusion              raised    further    questions          and          more thorough                   investigation         and

                             document            search concluded              that    Yale indeed erroneously                            verified      the


                            purported           May 2005          letter as       result          of an administrative error



            237             Yale Universitys                    December       29 public statement was                             false     because      as   of the time



of   its   dissemination                Yale        University        had not changed               its        protocols for verifying                  graduate



degrees and             did not conduct                       thorough     investigation                based           upon Dongguk                  Universitys



request



            238             Rather Yale University had not changed                                      its     protocols and              had    only discovered          the




true   facts     because           it   had    to    comply with         the   Information              Subpoena              it    had    received from the



Untied      States      Department of                  Justice     on October          17 2007


            239             Having            spent almost        six    months       publicly          denying             any     role in the        Shin matter    and



contending           that    Dongguk             University           had never       contacted           Yale University                    Yale Universitys



December          29 public statement                     did    not undo the damage                    suffered by Dongguk                       University



            240             On     December             28 2007 Cho             on behalf           of President               Oh        emailed         letter to




Carney which            stated          in pertinent
                                                               part


                                   if   Yale       University         bad revealed          the    fact        in
                                                                                                                    your      first     reply    of July       10
                            2007 Dongguk                 University would not have                             received            lot    of harsh criticism

                            from        the   public          Your inaccurate          information               of July 10 2007 has mined

                            our one           hundred         year-long built reputation                        What was worse was that in
                            September 2005 we had no choice but                                    to   take the facsimile                   document          sent

                            by   Ms       Schirmeister as an authentic                       one    as     it    is    now      and       officially

                            believed          that    Yale      University      awarded             Ph.D               to   Jeong       Ah   Shin in     May
                            2005 on           the basis       of the document              that    Ms          Schirmeister sent us in

                            September 2005


            241             Cho     then asked           for    an explanation             of   why       it    took so long for Yale University                      to




discover       the    true    facts



           242              On     January          31 2008 Carney              sent        letter      responding                 to   Chos December 28


2007    letter    and       in that       letter      Yale University          again failed             to      tell    the   truth




                                                                                      36
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               243            In        explaining            why      Schirmeister had                verified      Shins         Ph.D        CÆrneyexplained               that




 at    that time of             the      year          in   September             her office       sends approximately                    70   letters        day    and     tries




to     respond      promptly                 to    every inquiry



               244            In     fact Schirmeisters                      office          did not send            70     letters           day   and     Schirmeisters



error was               due        to    her failure to follow                    established          Yale University              protocols


               245            Carney              also      attempted        to    explain        why    it   took so long for Yale University                         to




discover         that     the        September                  Registered          Letter        and   the   September 22 Fax were                        authentic        by


stating



                                        at   the       time we were not aware                      of any      evidence           establishing         that

                              Dongguk                  Universitys           inquiry of September                    2005 had ever been delivered
                              to     the     Graduate            School       office That              evidence       became            available     only later

                              at     the end           of August and              early    September               when you         located         delivery

                              tracing          document            and       provided        it   to   us     Thereafter           our renewed             inquiry
                              turned up the original                         September            22    2005 facsimile cover                   sheet



              246          In        fact      the       documentation              that   Cho         sent   to   Carney had             nothing     to    do with Yale



Universitys             discovery                 of    its   errors    nor was        there           renewed inquiry based upon                             such



documentation


              247          Rather                 it   was only because              Yale University                 received           the   Information Subpoena



that    it   conducted                  thorough              investigation          and     discovered            that    the    September            Registered           Letter




and     the    September 22 Fax had                             always        been    in   Schirmeisters                  files




                                                    Dongguk Universitys   Reputation Was
                                               Destroyed by Yale Universitys False Statements



              248          As            result         of Yale Universitys                  public statements                   that    Dongguk       University           had



never        contacted                  about                                                                                                              received
                                it
                                                       Shin     that   the    September                Registered          Letter       was never                      by Yale


University          and       that       the      September            22 Fax was                 fake Dongguk University                       was    publicly



humiliated          and       deeply           shamed           in the
                                                                             eyes    of the Korean             population




                                                                                              37
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               249        In Korean             culture ones               reputation        affects    not only the level of respect                         he     she or



                                                                                                                                                  and
            expect from others
 it   can                                       but also       affects       the    dignity        credibility           social       status             core identity



 of that      person or entity


               250        In   its     history       of 100     years        Dongguk          University           had     built            reputation      based       upon


                           of morality that was                                                      Buddhist
       strong sense                                                                           its
its                                                              grounded            upon                            philosophy



              251         Because of            the false       statements           made by         Yale University                      the    Korean media



reported        that    Dongguk          University           had     improperly          hired        Shin     that      it   had        never     contacted       Yale



University          and   that    it    had     tried to      cover    up     its   inaction by relying                  on       forged          document        i.e    the




September           22 Fax


              252         In Korean            culture where               the    identity     of an    individual              is   particularly         closely



associated with            the
                                 group          to   which he         or    she belongs            living    up     to    the    groups norms and                   values



is    extremely        important


              253         In Korean            culture damage                to    one individuals            reputation              is    often      imputed      to the




reputation of the group                   to   which he         or    she belongs



              254         Therefore            disgrace to an individual                     member         of the society                  tends to be taken



personally by other members                           of the society              who   often fear          that    the        inadequacies             of that   person



or entity      will    be imputed              to the   society       as         whole and          further    imputed               to   themselves        as    members


of that       society



              255         As      result        of Yale Universitys                  continued          false      statements               to   the   Korean media


and    notwithstanding               Yale Universitys                 apology over 50% of                     the        Korean population                  concluded



that   Dongguk          University             did not   tell    the       tmth when          it   stated    that    it   had        contacted          Yale University


and    that    Yale     University             had   verified       Shins degree


              256         Moreover             over     45%     of the Korean             population          believed               that    Dongguk


                       failure   to     tell    the truth      tarnished           the reputation           of Korea as
Universitys                                                                                                                               country




                                                                                     38
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           257         Based upon             their belief     that   Dongguk          University       lied      about    Yale Universitys



participation        in the    verification          process      almost      40%      of the Korean population                     now   have



negative view of Dongguk                      University



           258         As      direct     result       of the publication of the false statements                         made by Yale


University       the    amount of money received from Dongguk                                  Universitys              alumni       and from



corporate      donors      decreased



          259          In addition            the   number of student              applications       for   admission          to   Dongguk


University      decreased        and     the    amount of government                  grants      made      to    Dongguk           University



decreased



          260          Further      as         direct   result    of the public criticism              aimed       at   Dongguk         University         by


reason of Yale Universitys                     public misstatements                Dongguk         University           was humiliated and


shamed and as              consequence               President    Hong        the    former-President of                Dongguk was              publicly



humiliated and was             stripped        of his professor emeritus                  titlea      significant         eient in Korea



          261          Because      of Yale Universitys                 public misstatements                     Dongguk       University            was   also




forced    to   expend         substantial           amount of money defending                  itself    against         the   claim that       it   had


acted    improperly        because       it    had supposedly          failed      to verify      Shins Ph.D


          262          Most recently Dongguk                     University         was    notified     by   the    Korean government                  that     it




would not be added             to the    list       of academic       institutions        permitted to open                U.S        style      law


school



                                                      FIRST      CLAIM FOR RELIEF
                                                                    Negligence


          263          Dongguk         University         repeats
                                                                      and     realleges      the   allegations           contained        in
                                                                                                                                               paragraphs



  through      262    as   though      they were set forth             in   fuil    herein




                                                                             39
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             264          In responding              to the      inquires       of academic               institutions      and    other inquirers          as to




whether          Yale University             has awarded                degree         to     particular         person Yale University has                     duty



to    take   all                     and                                      that    will    enable       it   to    accurately    determine         whether
                   necessary                 appropriate            steps



such    person has in fact                received           degree       from Yale University


             265          In   responding           to    the    September                  Registered          Letter    Schirmeister         acting on behalf



of Yale University                  was negligent and                  careless       in that       she did not exercise            the requisite       degree       of



care in determining                 whether        Shin had            been awarded                 Ph.D from Yale            University



             266          Moreover           in    responding            to   the     July          2007     letter    from President Oh inquiring


about      the     legitimacy        of Schirmeisters                  September 22 Fax Yale University                             had        duty to take         all




responsible          and appropriate               steps
                                                            that       would enable            it   to   accurately       determine       whether       the




September 22 Fax had                     been      created and           sent    by Schirmeister on behalf                    of Yale University



             267          In   responding           to    President           Ohs     July           2007 Letter          Carney      acting     on behalf          of



Yale University                was negligent and                 careless       in that       she did not take the requisite                degree       of care in



determining          whether         the    September 22 Fax had been created and sent by Schirmeister on behalf


of Yale University



             268          Thereafter          in    its   September 21                Official           Statement         Yale University            was


negligent and            careless        in that    it    did not take          the    requisite         degree       of care in determining            whether



the   September 22 Fax had been                           created       and     sent    by Schirmeister on behalf of Yale University


             269          As        direct   result        of Yale Universitys                      negligence          Dongguk      University        has



suffered      damages          in   an    amount no             less   than     $50000000


                                                         SECOND CLAIM FOR RELIEF
                                                          Reckless and Wanton                            Conduct

             270          Dongguk          University            repeats       and     realleges          the   allegations       contained      in   paragraphs



  through          262   as    though      they were set forth                  in   full    herein




                                                                                       40
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               271            In responding          to    the inquiries       of academic           institutions             and       other inquirers         as to




 whether            Yale University         has awarded                degree       to      particular         person Yale University                     has      duty



                         necessary and
 to    take    all                          appropriate                     that   wifi     enable      it    to    accurately          determine      whether
                                                                   steps



 such
          person has received                   degree       from Yale University


               272           In responding           to   AIms September                    Registered              Letter     Schirmeister did not



follow         Yale Universitys             protocols regarding                 the      verification         of graduate           degrees        nor did she



make          any    effort    to   research Yale Universitys                      records to determine                     whether       Shin had been



awarded                  Ph.D from Yale          University



               273           Schirmeisters           failure      to   follow      Yale Universitys                   protocol and             her failure to do



any     research           was      reckless     and wanton disregard of Dongguk                                   Universitys            rights   and    interests




               274           Relying    on     the   September          22 Fax           sent   by Yale University                  that    attested     to   the fact




that    Shin had           received        Ph.D from              Yale University               Dongguk             University          did not take further



action        and Shins          faculty    appointment             was not overturned


               275           Upon    information            and belief        as   of the time that Carney was                           preparing       her



response            to   President     Oh      no one from Yale University contacted                                  the    Yale       University       Central



Mailroom             for    evidence    that    the       September           Registered          Letter           was received           or   searched       Yale



University               or Schirmeisters        files for the         September                Registered            Letter       or   September 22 Fax                to




determine            theft    authenticity



              276            Yale   Universitys            failure     to   perform        an adequate              search or investigation                regarding


the    September               Registered       Letter       or   September 22 Fax between June 2007 and October                                               2007


was       reckless           and wanton disregard of Dongguk Univeristys                                           rights    and    interests




              277            Despite    possessing          evidence         to the       contrary       beginning             from July 15 2007


through        September            21 2007 Yale             University         wantonly          and        recklessly        issued press         releases




                                                                                   41
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gave   interviews          sent    emails and         made an          Official      Statement            falsely       stating      that   it   had never


received    the    September               Registered         Letter     and    never           sent    the    September 22 Fax


           278        As          direct    result    of Yale Universitys                   wanton            and    reckless      conduct Dongguk


University       has suffered          damages        in    an amount no less than                      $50000000


                                                     THIRD           CLAIM FOR RELIEF
                                                                      Defamation

           279       Dongguk              University        repeats
                                                                         and    realleges          the    allegations           contained         in   paragraphs



  through     262    as    though         they were set forth in full herein



           280       As     heretofore set forth                  in detail    through           the    summer         of 2007 and               in particular      on


July       2007     July    10 2007          July     12 2007           July   13 2007                 July    14 2007          July   16 2007           July    17


2007   July      18 2007          July     19 2007          July    20 2007 August                        2007 and           September 21 2007 Yale


University       falsely    and maliciously                told    various     Korean            newspapers            and/or broadcast                media that


                     It    had    never     received        the     September               Registered              Letter


                     It    never       informed       Dongguk          University           that       Shin had been            awarded            Ph.D from
                     Yale University                 and



                     The September              22 Fax was               fake             and      forgery

           281       As     heretofore set forth              in detail        the    statements              made by         Yale     University        to   the




Korean press and           to    the   Korean broadcast                media were made verbally                          as   well as in writing



           282       The        aforesaid     statements            are false     and defamatory


           283       As     heretofore set forth              in detail        by reason of such                    false    and   defamatory



statements                                           has been         labeled        as    being dishonest              and     has been          held up to
                 Dongguk           University



disgrace and       ridicule



           284       As          direct    consequence              Dongguk          Universitys               stellar reputation           has been



severely    tarnished




                                                                               42
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          285     As   heretofore set forth          in detail   in   addition to suffering                       damage       to   its   reputation



Dongguk      University      has suffered actual        financial     harm


          286     As        direct   result   of Yale Universitys            defamatory                  statements         Dongguk


University    has suffered damages in an amount                  no   less       than       $50000000


          WHEREFORE               plaintiff   Dongguk      University            requests          that    this     Court    grant the following



relief




                  As   to   the   first    claim for relief      judgment              in   its    favor against            defendant      Yale



                  University         for   damages   in   an   amount       to    be    determined             at   trial   but not less than



                  $50000000            plus interest




                 As    to   the   second      claim for relief        judgment              in     its   favor against        defendant       Yale



                 University          for   damages   in   an amOunt         to    be    determined             at   trial   but not less than



                  $50000000            plus punitive damages in an amount to be                                determined




                 As    to the     third    claim for relief      judgment              in    its    favor against           defendant       Yale



                 University          for   damages   in   an amount      to       be    determined             at   trial   but not less than



                 $50000000             plus punitive      damages      in    an    amount            to   be   determined and




                                                                 43
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                   Such     other and   further   relief   as this   court deems just and       proper together   with



                   costs    and   disbursements     of this action




Dated    October           2009

                                                       JACOBS GRUDBERG BELT                       DOW          KATZ P.C



                                                       By
                                                              Ira   Grudberg
                                                       350 Orange        Street

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                                                               Haven
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                     UNITED       STATES DISTRICT            COURT
                  FOR THE DISTRICT OF CONNECTICUT




DONGOUK UNiVERSITY
                                                            No     308-CV-00441Rt4C
                      Plaintiff




YALE UNIVERSITY

                      Defendant                             July   17 2008




         CORRECTED MEMORANDUM OF LAW IN OPPOSITION                                 TO
                 DEFENDANTS MOTION TO DISMISS




                                     McDERMOTT WILL                    EMERY LLP
                                     340 Madison     Avenue
                                     New York New           York    10173-1922

                                     212   547-5400


                                     JACOBS GRTJDBERG               BELT DOW          KATZ    P.C
                                     350 Orange    Street

                                     New Haven      Connecticut       06511

                                     203   772-3100

                                     Attorneys   for Plaint iff    Don gguk   University




ORAL ARGUMENT REQUESTED
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   Sheiman         Lafayette       Bank         Trust   Co           Corn App 39 1985                                                   21




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              Plaintiff         Dongguk         University                    Dongguk                       submits this            Memorandum                    of    Law    in




opposition to the motion of defendant                                          Yale University                        Yale           to    dismiss each             of the claims              set




forth    in   the complaint



                                                          PRELIMINARY                                     STATEMENT

              As     this   Court   is    well aware                     it   is    sealed-law                 that    in   determining            the    sufficiency           of



complaint                 court must review               the        four corners of the complaint                                    to    determine            whether             claim



for relief      has been stated                 In   an     effort             to    deflect            attention           from the       allegations            contained         in the




complaint           in this action        the        Complaint                                    Yale has attached                  series     of inadmissible



documents            to   its   Memorandum                of        Law            in    Support           of Motion to Dismiss                     Yales               Brief        in   order



to    convince        the Court that            Yale        like          Dongguk was                            victim        and    that    if
                                                                                                                                                   anyone          is   to    blame       it   is




Dongguk          not Yale



             Based upon these inadmissible documents                                                      and          few cherry-picked                      allegations       taken



from the Complaint                  Yale concocts                             story          as   to    why Dongguk                 cannot     possibly recover                  on any of


its   claims        for relief       Not surprisingly                              in    concocting              its   story        Yale has        intentionally              ignored



virtually      every        allegation         regarding             its       own           wrongful            conduct


             While Yale would                  like the             Court to reach                       the merits of this dispute based                               only upon these



inadmissible documents                     the       Courts               role          at    this stage            of the proceeding               is   limited         to   determining



whether       the Complaint sets forth                         legally              cognizable                 claims        for relief        As       discussed below                 in




order to grant Yales                motion            this      Court               would have                 to     ignore    the provisions contained                        as in




      copy    of the Complaint            is   annexed              to    the Affidavit                  of Jin Yung           Bae    Bae       Affidavit               as Exhibit



 While       Yales        sensational     story       of sex         and           politics            makes     interesting        reading        it    is   neither    accurate       nor

 defense       to    Yales conduct              Try    as      it
                                                                    may             Yale cannot                dispute      the series       of communications                 exchanged
 between       it    and Dongguk          nor can         it
                                                               dispute              what          it
                                                                                                       publicly       stated   to   the    Korean         press
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 Rules             10c 12d               and     56e       of the Federal Rules               of Civil     Procedure            F.R.C.P as              well as



 the Supreme           Court and Second Circuit                    decisions        interpreting          them


            Yales       desire     to    avoid      addressing       the    core allegations              contained       in the       Complaint


 regarding       its   own   wrongful          conduct       is    perfectly      understandable                 As   discussed below in Point



 infra       review     of   all   of the Complaint allegations                      in light      of the applicable case law must result



 in     determination          that     Dongguk           has stated    claims        for    negligence          reckless       and wanton        conduct


 defamation        and breach           of implied         contract



            In   order to overcome               Dongguks            well pleaded            Complaint           Yale relies heavily on the



inadmissible documents                    attached to        its   Brief     As      discussed below in Point II infra this Court



cannot      consider       the extra-complaint               documents           appended          to   Yales         Motion      to   Dismiss    because



they are outside           of the four corners              of the Complaint                 Moreover            even    if the     extra-complaint



documents          could     theoretically          be considered           the     Court        cannot    rely    upon them because                  they



consist     of inadmissible hearsay                       Finally    even       if the    extra-complaint              documents         were    to   be



admissible         Yales Motion             to   Dismiss          would     still   have     to   be denied        because        the   documents            raise




disputed     issues     of material fact



                                             SUMMARY OF THE ALLEGATIONS
                                               CONTAINED                   IN    THE COMPLAINT

            Beginning         at   page        of   its   Brief in support           of    its   Motion     to   Dismiss Yale spends                   six




pages     purportedly         summarizing the               allegations         contained          in   Donggulcs         thirty-page         Complaint


Since     Yales summary                 intentionally        omits any          discussion         of critical        allegations       in the   Complaint



and since many of those                  allegations         go to the heart          of    Dongguk              claims Dongguk             will briefly




reiterate    them here


            Yale    has long been aware that                   unscrnpulous              individuals        will      falsify   their    academic



records     in   order to claim that             they have received                 graduate       or post-graduate             degrees     from Yale
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 Complaint                23      In    this   regard       Yale receives           numerous             inquiries    from academic                institutions




seeking to verify           whether            individuals        had   actually         received         academic         degrees        from Yale



Complaint                 25      Similarly          Yale    routinely        contacts          other academic             institutions       to verify      the



academic          credentials          of individuals        who       are   seeking           faculty    positions        at    Yale and     it   relies   upon


the information            that    it   receives          Complaint           lf 28-29             Recognizing             the importance           of



providing          accurate       information         to   inquiring academic                   institutions         Yale has developed               and



implemented protocols regarding                            the    verification       of Ph.D.s            and other degrees               claimed      to   have


been    awarded by Yale                    Complaint 1125-26


             Dongguk        is    one    of the most important academic                            institutions       in   Korea and has developed


stellar     reputation for the quality of                   its   education         in   its    one hundred years of existence


Complaint                      Dongguk was                founded       in   1906    by     the    Jogye      Order             Buddhist      monastic           order



and    is   one    of the most prestigious                 Buddhist-affiliated                 universities       in the        world        Complaint


The Jogye          Order     which was established                     in    1354    is    the largest        and one           of the most     influential




Buddhist          Orders    in    Korea         Complaint


             In   August 2005 Jeong                  Ah    Shin     Shin                 rising     star in the       Korean        art   world applied            to




Dongguk           for     faculty       position in        Dongguks           art history          department         and        provided     Dongguk            with



 number           of documents           including           letter     dated    May 27 2005                 which was signed by Pamela


Schirrneistr                     an Associate         Dean        in   Yales Graduate               School      of Arts and           Sciences



Schirmeister                   Complaint             11    30-42 47-48               1-52          The     May 27          2005     letter    the


Certification           Letter          certified    that    Shin had been awarded                          Ph.D by Yale               Complaint                  51

            In    early   September            2005       within        few days          after    Dongguk           decided        to hire   Shin Dongguk


received         information        that    raised    questions         regarding          the     accuracy       of Shins          statement        that    she



had received              Ph.D from Yale                   Complaint             59         Before        permitting            Shin to teach       and     in   order
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to    verify    the fact        that        Shin had received                     Ph.D from Yale on September                                   2005 Dongguk                    sent




     registered        letter    dated            September               2005 the September                            Registered          Letter        to   Yale



together        with       copy of               the    Certification           Letter    provided            by Shin          Complaint               60

               The September                       Registered            Letter     states     in pertinent            part



                        would      like to          confirm       whether           you can         ve4fr        the   contents of the enclosed

                   letter       issued by your University for                             Ms      Jeong-Ah             Shin


                   Since        this        is   being done as part of internal                        procedure for employing                         faculty
                   member              at    Dongguk          University             your      verification            will    be kept confidential                      It


                   would be very kind of you                               to   send     us the information                   we have        requested         as

                   soon      as    possible               Italics        supplied            Complaint                  61

The September                   Registered               Letter     was received by Schinneister                               the    Associate       Dean          who had


supposedly             signed     the Certification                 Letter         on behalf of Yale                   Complaint                62

            On September 22 2005                              Schirmeister               on behalf           of Yale          sent    Dongguk          three-page               fax



the September                22        Fax which              stated        in pertinent            part



                   As requested                   Jam     confirming              that   the   attached            letter             the   Certification

                   Letter         was            issued by the Yale Graduate School                                and signed by             me
                   Italics        supplied                Complaint                      63-64


Relying        on the September 22 Fax                            sent     by Schirmeister                that     attested      to    the fact    that   Shin had



received          Ph.D from Yale Dongguk                                   concluded           that    Shin had received                     Ph.D from Yale                   as   she



had represented            and         that       the   rumor was therefore baseless                               Complaint                 65       Shin was



permitted to begin                teaching              classes     at    Dongguk           for   the spring semester of 2006 and she



continued         to   teach      at    Dongguk             until    2007           Complaint                  66

           In     June    2007 Dongguk                      received               document           that    raised          question        as to   whether             Shin had



written the dissertation                         Shins       Dissertation                 that      was      the   basis      for    her    Ph.D      Complaint


 67       In    an effort         to    determine           the truth Donggulc                      contacted          Yale and         asked     whether           it    had



copy of Shins            dissertation                  Complaint                68       Yale responded                 by    stating       not only did        it       not have
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     record     of Shins Dissertation                            but according                  to   Yales records              Jeong Ah            Shin did not receive



Ph.D       in   our department                     at   Yale University                         Complaint           11     69     72

              In June         2007           the    rumors regarding                      the authenticity           of Shins Dissertation                     reached        the



Korean press and by                       late      June      2007        several          Korean                               began writing            articles
                                                                                                            newspapers


questioning            whether Shin had written her                                   dissertation           and whether she had                  in fact      obtained



Ph.D from Yale                      Complaint                      73          In    response          to   the newspaper             articles      questioning        Shins


academic         credentials                  on July            2007 Dongguk                        held      press conference               defending         Dongguks


decision        to    hire    Shin explaining                      that    in       September 2005 Dongguk had taken                                   steps    to   verify




Shins Ph.D and                     stating         that    in   response             to   its   inquiry       Yale       sent   the    September 22 Fax                  to




Dongguk which                     confirmed             the     fact   that         Shin had obtained                    Ph.D from Yale                 Complaint                   74

            Nevertheless                  on July                2007 Dongguk                        sent an email directly              to   Schirmeister and                  letter




to   Yales President                    asking them to explain the contradiction                                         between Schirmeisters                    September


22 Fax      that      confirmed               that      Shin had received                        Ph.D from Yale                 and    the    June 2007



communications from Yale                                  stating      that         Shin had not received                   Ph.D from Yale                     Complaint


77        Schinneister             never           responded           to this        email           Complaint                 78      On    July     10 2007         an



attorney inYales Legal                         Department wrote                            letter      on behalf         of Yales        President        to    Dongguk


which      stated      that       the    September 22 Fax is not authentic                                        and      that      Yale had no         knowledge


currently       regarding               the    creation or issuance                        of the September                 22 Fax           Complaint           IJ   79      82

            At       the   time         when       this    letter      was written                   Yale was    thlly      aware        that    the   Korean press had



questioned           Dongguks                 employment of Shin and was                                    aware    that    Dongguk            had    informed        the




Korean press               that    it   had    relied         on    the   September                  22 Fax    attesting        to    Shins Ph.D               Complaint


     84    Nevertheless                  Yale continued                   to    assert      that      the September             22    fax     was       forgery



Complaint                   84          By    July      10 2007 Yale was                         also       aware of the importance                    of providing
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              accurate         and complete                information           to    the Korean                                    the communications
truthfbl                                                                                                    press regarding



between Dongguk and                           Schirmeister            on behalf of Yale about                   Shin        Complaint             11    85-86


             As   set    forth      in the          Complaint          instead        of acknowledging that                 the   September 22 Fax was


authentic         beginning              on July 10 2007 Yale embarked on                                     campaign designed                to      distance         itself




from any       responsibility                  regarding         Shin by denying              any knowledge             of   Dongguks             efforts         to    verify



Shins Ph.D              Complaint                     87 On           that   day      Yale informed             the   Korean press           that      it   had        never



sent    Dongguk          the September                  22 Fax        that   Shin had received                  Ph.D from Yale                 Complaint


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            As    specifically                set forth    in    the Complaint            following           its   July    10 2007        interview             with the



Korean press Yale                       in     series     of press interviews                      well as in emails          and
                                                                                              as                                     press releases


disseminated            to   the    Korean media made numerous                                 knowingly            false   statements        regarding



Dongguks           efforts         to    verify       Shins Ph.D             Many       of these false statements                   are    detailed         in




paragraphs         89-97           108-112            122       and   143-144         of the Complaint                Among         other things             Yale        told




the   Korean press            that       it   had never          received      the September                 Registered           Letter from Dongguk



seeking to verify Shins                        Ph.D       Complaint                    107 109-12               As         consequence            of Yales



statements         which were published                          in   the Korean        press       numerous          inaccurate          articles      were written


by    the   Korean press about                      Dongguks           supposed         failure       to   verify     Shins credentials                 Complaint


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            At the time            that       the   inaccurate         newspaper         articles          were being published               Dongguk                  was     in




continued        contact       with           Yale in     its    effort to
                                                                               prove     to    Yales        Legal     Department           that     Schirmeister



had received the September                              Registered           Letter     and    that    the    September 22 Fax               attesting            to    Shins


Ph.D had         actually      been            sent   by Yale         to   Dongguk            Complaint                 98 101 130 132 134 135
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 136        By September                12 2007           in   its   effort       to   prove         that   the    September         Registered         Letter        had



been received            by Yale Dongguk                       had provided                  Yales Legal Department with



                               copy of    the    U.S           Postal Services                     Track          Confirm Receipt         stating    that      the


                          September             Registered              Letter          had been received by                      Moore     YCM
                               website    link       to    Yales Central Mailroom which established                                      that   Yales
                          mailroom was               staffed         by   among others Michael Moore


                               copy of the mailing                   label    that          was put on        the    package     that   contained        the

                          September             Registered              Letter              and


                          the    Yale fax telephone                    number               that    was on the September              22 Fax      Complaint
                          11     137-38

The    Complaint           asserts      that   having           received          this        information           Yale should have been able                   to




determine         that    the    September                Registered              Letter           had been received by Yale and                 that    the




September 22 Fax had been                        sent      by Yale           to    Dongguk                  Complaint          139

            Rather       than correct          its   false       statements                 and admit        the    truth Yale       made numerous             public



statements        in     which     it   continued          to    deny     that         it    had received the September                    Registered          Letter




and   it   continued        to   maintain        that      the       September 22 Fax was                           forgery      In fact    on September                21

2007       Yale    issued an Official                 Statement               stating              inter    alia that    all   documents        supporting



Shins claim were                 forgeries      and therefore are fake                                 Complaint               143      Yales Official


Statement          was reported           in   an     article        published               by      prominent        Korean newspaper              on September


23 2007           Complaint               144

            As      result       of Yales        continued             public statements                     denying     any involvement            in the       Shin



matter        group       of monks belonging                      to   the    Jogye            Order issued             formal statement         publicly         calling




for the     dismissal of          Dongguks                Board of Directors                         Complaint             125       In addition        Dongguks


Professors        Association           issued            number        of formal statements                        demanding        the resignation of



Dongguks          President         and Vice President                    as      well as the resignation of its Board of Directors
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 Complaint                 145      All of these       formal statements were reported                         in the       Korean press



 Complaint                 145

              Based upon Yales                 continued         public statements            that    the September               Registered        Letter




 arid   the September             22 Fax were forgeries                  Korean prosecutors                who were           investigating       Shin


began      to    focus their attention              on Dongguks              supposed        failure     to   verify Shins Ph.D credentials



Complaint                  146      As      result numerous              Korean newspapers                and other media              outlets    informed



the   Korean population-at-large                      of the Korean            prosecutors           investigation          of   Dongguks         purported



role in the          Shin matter           Complaint              147

              As     set forth    in the     Complaint           based       upon Yales         false    statements           to the   Korean media


the Korean           media and        the Korean           population-at-large              concluded         that    Dongguk was             dishonest        and



incompetent            and   that    Dongguk           role in the           Shin scandal had tarnished the reputation of Korea as



  country            Complaint              164       As        result    KMAC              prominent         Korean         consumer         service




consulting organization                    notified    Dongguk           that    because      of    Dongguks           reported        role    in the    Shin



scandal         it   would not be receiving                KMACs             prestigious      2007 Customer                 Satisfaction       Management


Grand Award                Complaint           fl     166-67


              The     Complaint           further   asserts      that   as      direct     result    of the publication            of the     false




statements           made by        Yale about        Dongguk            the    amount of money received from Dongguks


alumni        and from corporate               donors decreased                 Complaint              168      In    addition         the number         of



student applications                for    admission       to   Dongguk         decreased       and the amount of government                            grants




made     to   Dongguk            decreased          Complaint                169    The      Complaint         also     alleges     that   Dongguk was


notified      by     the   Korean     government            that   it   would not be added               to   the    list   of academic         institutions




permitted to open                 U.S        style    law school               Complaint             172
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           Memorandum
                           Part
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             On     October         11 2007             Shin was arrested                by the Korean prosecutors                          and     she was       accused



 of fabricating             doctorate        degree            and other documents                      from Yale            Complaint                  148      In



connection            with the then-upcoming criminal                               trial   of Shin           in   or around        November              2007    the



Korean prosecutors                 issued           document              subpoena          to   Yale     in    an    effort to         obtain     copies of Yales



records that          might be        related       to    the Shin matter                   Complaint                 149         As       result       of this document



subpoena           Yale     finally     admitted            that     it   had received            the September                   Registered            Letter and that



the September 22 Fax attesting                            to   Shins Ph.D was authentic                               Complaint                  150

             Based upon these and other                            fact    allegations           contained           in the      Complaint              Dongguk        has



asserted         four claims         for relief           negligence              reckless        and     wanton        misconduct breach                   of implied


contract      and      defamation            In    pleading           these claims               Dongguk was                cognizant            of Connecticut          law



and    it   has pleaded        all    of the elements                necessary           for     each     claim


                                                                            ARGUMENT

                           YALES MOTION TO                                 DISMISS               IS   FATALLY DEFECTIVE

             Beginning        at     page          of    its   Brief       Yale discusses               the    legal    sufficiency              of the claims



asserted      in   the Complaint                    review           of each        of the arguments                 that    have        been made demonstrates


that   they are inextricably                intertwined              with      supposed           facts    taken       from        the
                                                                                                                                         newspaper          articles     and


the judgment attached                  to   Yales          Brief          As   discussed           in   Point II these extra-complaint                           documents


cannot      be    considered         by     this    Court       in    determining              Yales       Motion           to   Dismiss           In   addition to



improperly          relying on extra-complaint                            documents              Yale has compounded                       its   errors    by relying on


the wrong          legal    standard         misapplying                  cases    and      ignoring          controlling          precedents



            When       the supposed               facts     contained             in the
                                                                                            newspaper              articles       and    the     judgment        are




stripped      away      from Yales arguments each                                 of Yales            arguments         quickly          collapses        like        house



of cards         As   set   forth     below              review           of the Complaint               allegations             coupled         with the relevant
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 legal     authorities       must       result     in   the conclusion                  that       all   of    Dongguks                   claims       are     well-pleaded           and



 that    they set forth          legally      cognizable           claims          for relief




                    The    Applicable              Legal Standards


             As recently          stated      in   Lyddy            Civil         Bridgeport               Board ofEducation3                            No 3O6CV               1420



 AHN 2007                U.S Dist LEXIS 66920                           at                        Conn Sept 11 2007


                          The     fbnction of             Rule          2b6              motion              to    dismiss           is   merely         to

                          assess the legal feasibility                       of the complaint not to assay                                       the   weight

                          of the evidence               which might be offered                               in    support           thereof            When

                          considering               motion        to    dismiss              the     court must accept                      the       facts

                          alleged        in the     complaint           as true              draw         all     reasonable              inferences

                         from those facts               in the     light          most favorable                     to the plaintiff                 and
                          construe         the     complaint           liberally                  The    district         court       may        dismiss

                          claim only if the plaint iffs factual                                   allegations                 are not sufficient               to
                          state         claim to relief that                 is   plausible              on       its   face          Emphasis
                          supplied            Citations           omitted


See also        Gorman            Consol Edison                  Corp             488 F.3d 586 59 1-92                               2d    Cir 2007             The Court

must accept         as    true    all   allegations          in the       complaint                 and       draw        all    reasonable             inferences        in    favor of



the     non-moving party                  cert      denied 2008 U.S                          LEXIS 4864 June                                2008         Burke           APT


Foundation           509          Supp 2d 169                172              Conn 2007


            As    stated     in   the landmark case of Conley                                       Gibson              355      U.S 41 47 78                        Ct 99 1032


      Ed   2d 80     1957          the        Federal      Rules        do not require                            claimant           to   set    out in detail         the facts



upon which he bases                 his    claim          Rather          as      stated           by    the      Supreme             Court all               the   rules require        is




  short plain statement                   of the claim             that      will       be        give the defendant                      fair   notice        of what     the




plaintiffs        claim    is    and    the    grounds          upon which                   it   rests           Id      This principle                has recently been




 The     standard     that   Yale must meet has not been                           modified by the Supreme                                Court decision             of Bell AtI

  Corp          Twombly          _U.S               127         S.Ct      1955 167                      Ed     2d       929    2007             As    explained        by the Second
 Circuit     in   Iqbal         Hasty 490          F.3d 143 157-5                  2d         Cir        2007           we      believe         the                    Court     is   not

 requiring          heightened          standard        of heightened             fact       pleading             but    is    instead     requiring            flexible

 plausibility        standard           which      obliges         pleader         to    ampliflj                 claim       with    some       factual       allegations       .. to

 render     the    claim plausible               Italics     in   original                        review of the Complaint                        in this      action    shows     that   it



 is   replete     with factual      allegations          that    make Dongguks                          claims          plausible




                                                                                         10
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 reiterated          by   the    Supreme Court              in   Erickson                      Pardus                U.S._           127         Ct 2197 2200                  167



 Ed     2d     10812007                in   which     the     Supreme Court stated


                            Federal         Rule of      Civil       Procedure                  8a2            requires           only           short and

                           plain statement               of the claim showing that                                  the       pleader       is   entitled    to

                           relief Specific                  facts        are   not necessary                       the statement             need only

                            give            the defendant            fair      notice           of what            the    .. claim          is   and the

                            grounds          upon which             it   rests

This principle             has been faithfUlly                followed               by the Second                   Circuit           and   the    courts        in the District            of



Connecticut               see e.g           Iqbal        Hasty 490 F.3d 143 157                                     2d         Cir     2007 Morgan                       Lantz       No

305CV1659                 MRKWIG                     2007 U.S Dist                        Lexis         49961            at                Conn        Jul   10 2007 Modis


Inc           Bardelli          531         Supp 2d 314 318                                Conn 2008                     The           Complaint must contain                        the




grounds         upon which             the    claim rests though                         allegations               sufficient          to    raise      right to         relief      above



the    speculative          level

               Moreover           as    explained        in   Gerrity                                Reynolds             Tobacco           Co      399           Supp 87            91



       Conn 2005                              is    no requirement                   that       to    survive                 Rule     12b6            motion       to    dismiss



plaintiff       must      allege       in his/her        complaint             each            specific       element             of the claim so long as the



elements            may    reasonably          be    inferred            from the              allegations           in       the complaint               Indeed          as   pointed



out in Woodford                       Community          Action           Agency                Greene County                      239 F.3d 517 526                  2d        Cir


2001            plaintiff         is   not required to prove                        his    case        at this       pleading           stage           rather



pleading            of evidence         should      be   avoided


               In   Swierkiewicz               Sorema         NA           534 U.S                   506 513 122 Sup Ct 992 998                                      152             Ed    2d



  2002              the   Supreme           Court    emphatically                   stated           that    Rule             8as      simplified standard applies                         to




all   civil    actions          with limited exceptions                             In    Swierlciewicz                   the     Supreme          Court went             to state




citing        F.R.C.P       8el             and    8f     that                            the        Federal        Rules simplified standard                            for   pleading



       Court               dismiss                                             if               clear               no        relief   could      be                 under
                     may                      complaint          only               it    is                that                                       granted                    any      set




of facts       that    could      be proved consistent                     with the allegations                                  Id




                                                                                                11
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               The       limited exceptions                 referred         to   by    the    Supreme Court               in the    Swierkiewicz             case are



found        in    F.R.C.P          9bs          heightened        pleading           requirements           F.R.C.P         9b         Id      While       the




F.R.C.P            9b      pleading         requirements           have minimal                application          to    this
                                                                                                                                 case    as    discussed in Point



         below Dongguk                    has met these requirements



              13        Dongauk           Properly         Pleaded The Claim For Negligence


              In order to state                  claim for negligence                  the complaint            must show            that     the     actor    owed


duty of care to the victim                        which was breached                   by the actors            failure      to    meet     the    standard of care



arising       therefrom             and   that    the breach         was the proximate                 cause        of actual      harm        suffered       by    the




victim Coburn                        Len on        Homes Inc                186       Conn 370 372              1982             Dongguks           Complaint



properly alleges facts                    that    must be pleaded                to   assert        negligence           claim



              Among            other things         Dongguk           asserts         that     as     direct    result      of Yales           negligent failure to



exercise          its   duty    of care     in    verifying Shins                 purported          Ph.D from Yale Dongguk                         relied        on



Yales         verification          and     concluded        that         Shins degree              was authentic            Complaint                65       Dongguk


also     asserts        that   Yale compounded                 its   negligence             when      it   failed    to   provide        accurate infonnation



to   Dongguk and               to   the Korean        media regarding                   the    September                 Registered       Letter      and     the




September               22 Fax of Dongguk                  Based on Yales                    false   statements            the Korean          public believed



that    Dongguk had                 improperly        hired Shin             had never          contacted           Yale and       had      lied in    order to cover



up     its   inaction by relying on                   forged         document               Complaint                 83 87-88 94-97 105 110-12


116 122 160 164


              In addition            Donggulc        asserts       that     it   suffered damages that                    were proximately caused                      by


Yales negligence                     As      direct    result        of the publication               of inaccurate              statements       made by Yale


Dongguk was               publicly         humiliated        as    being         dishonest          and incompetent                and   its   reputation was



destroyed               Complaint          1f     157 160 164-65                      Dongguk         also     suffered            decrease       in the      amount of


donations          and government                 grants    that     it    had previously been                 receiving and             student      applications




                                                                                       12
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 for   admission        went      down         Complaint                   11    168-69              Dongguk         was    also       denied         prestigious



award      as    well as permission                to    open            U.S         style        law school         Complaint                     166-67         172

Further         Dongguk was            forced           to    expend money and time defending                                itself       against the claim that                      it




had improperly hired Shin without                                   verifying her             Ph.D          Complaint        11        170-71          Therefore            the



faOts asserted         by Dongguk              in the         Complaint                are    sufficient      to   show     all    elements           of    its   negligence



claims



           Yale       argues that          the claim for negligence                               must be dismissed              because           Yale did not           owe


any    duty to        Dongguk         Yales Motion                         to   Dismiss            Br              Yale     is   wrong         as      matter        of    law


Under Connecticut                 law      the ultimate test of the existence of                                     duty of care         is       found     in     the




foreseeability         that    harm may            result           if           duty        is    not exercised            Borsoi             Sparico            141     Conn


366 369 1954                duty        to    exercise               reasonable              care arises       whenever           the    activities          of two



persons        come    so in conjunction                     that    the    failure to            exercise    that    care by one             is    liable to       cause



injury    to    the   other.          In     determining                 whether         there       is   duty of care       the question              to    be    asked     is



would      the     ordinary        man        in   the defendants                      position           knowing     what        it           knew         or    should     have



known          anticipate      that   harm of the general nature of                                  that    suffered by the plaintiff                  was        likely   to




result    unless reasonable                care was           taken                  Pisel          Stamford         Hospital           180    Corn 314 332


1980       see also Wright                 Fitzgerald               Ankerman                 Connecticut           Law of Torts 3d                   Ed            45


           In this case           the answer             is   yes               As   set forth        in    the Complaint               Yale has long been aware



                              individuals                                                academic            records       and            academic
that   unscrupulous                                 may         falsify         their                                             that                           institutions




like   Dongguk          rely      on Yales         verification                 that    their faculty          candidates              have   in fact       been awarded



degrees        from Yale          Complaint                     23-25            193          Therefore         Yale should              have foreseen              that    if   it




did not exercise            the   requisite        degree            of care in verifying Shins                       purported           Ph.D from Yale




                                                                                             13
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 Dongguk would           nonetheless               rely    on Yales              verification            and   that      it   would     hire       Shin as          faculty




 member       because        it    believed    that       she had received                     Ph.D from Yale


             Yale further           argues that       it   did not          owe any          duty of care           to        Dongguk         because       it   could       not



 have foreseen        that        Dongguks          hundred-year                  reputation would be destroyed                               if   Yale    incorrectly



verified      Shins purported               degree        in   2005          Yale Motion                 to   Dismiss           Br            12     Yale incorrectly



states    the test for            duty of care            As    the court in Pisel pointed                         out it        is   the     general       harm       that




must be foreseen              not the particular               injury             Pisel       180    Cairn         at    332 emphasis supplied                             Yale


certainly     could    have         foreseen at the time of                      its   verification           of Shins purported                    degree       in   2005


that    Dongguks        reliance           on inaccurate             information              provided         by Yale would                   likely     result      in   some


type of general hann to                   Dongguk


             Moreover         Yales negligent                  act    is   not limited             to the     inaccurate          statements            contained          in the




September 22 Fax When                        Dongguk            and        the   Korean press contacted                         Yale     in    June     2007     to    again



inquire about        Shin Yale was                 fully       aware of          the    Korean medias                   interest      in      Dongguks


employment of Shin and                     Shins      false       educational               background                Complaint               fl   73     84       Yale was



fully    aware of Dongguks                  statement           to   the     media          that    in   employing Shin                  it   had   relied       on    the




September 22 Fax              attesting       to    Shins Ph.D                   Complaint                    74   84          At the time          that    Yale publicly



denied both      sending            the    September           22     Fax and           receiving the September                               Registered         Letter



Yale knew or should have known                             that      by providing              inaccurate          information                regarding       its




communications with Dongguk about                                    Shin Dongguk                   would      suffer          adverse        consequences


           Yale next argues that               even assuming                     that    there      was        duty of care              the duty of care was



gratuitous     and    that        in the   absence         of privity            of contract             Connecticut            law does not recognize



gratuitous     duty of care           when     the injury             is    solely      based       upon economic                 loss         Yales Motion                  to




                                                                                       14
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Dismiss        Br               Yale knows              that       this   is    not the law.4              In fact         Connecticut           treatises       and    its




Courts have         routinely upheld               negligence              claims         that      resulted      in    economic          injury     where there              is




no    privity   of contract



           As    stated    in   Wright           Fitzgerald           Ankerman                     Connecticut          Law       of Torts         3d     Ed           54


                      Thus the more recent cases                               indicate         that      while        gratuitous          actor


                      may have no                legal    duty to assist                 someone           yet    when        he has

                      undertaken          to      render assistance                      he must follow               through          with the

                      undertaking           in          reasonable               and     prudent          manner               As      Professor

                      Leon Green            stated        in         letter to         the Connecticut                 Bar Journal          in

                      1950       in   cases        of gratuitous undertakings                              the    common law               has

                      always       imposed              liability         on     the   undertaker           for the consequence                     of
                      his    negligence            under the doctrine of affirmative conduct


                      In case of gratuitous                     undertakings                   the   common            law has always

                      imposed         liability          on    the    undertaker               for   the consequences                   of his

                      negligence          under          the doctrine of affinnative                           conduct            Italics

                      supplied


Under     Connecticut           law   the    issue        is   not whether                an       aggrieved          party can        recover      for    non-physical



injury    without     privity     of contract



          Connecticut           courts    have held on numerous occasions                                         that       physical harm           is   not required in



recovering       based     on     negligence              claim even                 when       plaintiff        is   not in        relationship           of privity         with



the   defendant      so long as the harm                   suffered by the plaintiff                         was foreseeable                 As     stated       in   Darien



Asphalt    Paving         Inc         Town of Newtown                          et   al   CV 9804878                   1998    Conn Super LEXIS 3496                                at




 10    Dec          1998 the            touchstone              for   recovery                by     plaintiff        is   not      privity      relationship           with



the   tortfeasor     but rather         whether           the injury                was foreseeable


          In    Coburn          Lenox       Homes Inc                      173       Conn 567 574                 1977            in   upholding            negligence



cause    of action    where       the    plaintiff         home           buyer sought                 recovery         from           contractor         with   whom            the




Indeed     Yale acknowledges                in    its   Brief      that    its      position       that   physical         harm   is   required     for      negligence

 claim    based on the defendants                  voluntary          assumption of duty has not been                             universally        adopted          by   all


 Connecticut        courts      Yales       Motion            to   Dismiss           Br



                                                                                         15
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plaintiff         was not      in   privity the court stated                          that    the         requirement               of privity       should        only be



applicable to actions                   growing            out of contract                 theory         and       should        be    irrelevant        to   tort   actions         See



also        Carolina        Casualty                Gregory Boulevard                        2000          WL        350284         Conn          Super        Mar 21 2000                 at




                  majority         of                                                             have held              that    the absence         of privity         of contract
                                                                    jurisdictions



is    not        bar to negligence                 actions       by construction                   professionals against one another                                  for   economic


losses       where     reliance          by     the plaintiff             was reasonably                   foreseeable              ..    This court will follow                the




majority          ofjurisdictions and hold that                            lack ofprivity where economic                                    loss    is    claimed       does not



constitute           bar      to        negligence           action               Emphasis                  supplied


               In Reiner             Reiner               Conn       Natural           Gas         Corp             cv     95-055       1260      1995     Conn Super


LEXIS 3470              at    3.5       Dec             12 1995            the    plaintiff          alleged that                the defendant            gas company           had


negligently          caused             gas leak          when       it   failed      to     provide            accurate maps              of the gas lines             to




construction                                                       sewer system near the                                                 businesses            Rejecting        the
                      company              installing                                                               plaintiffs



defendants           claim that            no cause of action                    existed          because             the plaintiff         could        neither      show


                                   with the defendant                     nor personal                                                                     from
contractual         privily                                                                          injury           or   property damage                            the    incident



the    court      held that        although              the plaintiffs           have        failed           to   allege       the requisite           privity      of contract



they have successihily alleged                              direct        damages.            .The         plaintiffs            economic          losses       are   not too



remote to be          chargeable              to    the defendant                     Id     at    4.5

             The two main cases                         relied
                                                                   upon by Yale               for        its   nature           of the injury       argument           are




DeVillegas             Quality Roofing                      Inc      cv     92-0294 1905                       1993        Conn Super LEXTS 3185                            Nov       30


1993        and    Waters            Autuori 236 Conn                        820       1996                    The        defendants         in   both DeVillegas               and




 Yale also        relies     on cases       from outside             of Connecticut                 to                   that the      law recognizes           no gratuitous     duly
                                                                                                          argue
 to exercise        reasonable           care      to    prevent     economic              harm           Yales            Motion to Dismiss              Br pp
                                                                                                                                                           10-lI
 These       out-of-state          cases    are not        dispositive           in   determining                   duly     of care      under Connecticut law

 Indeed          contrary     to Yales argument                     numerous            courts       outside             of Connecticut           have    upheld the principle
 that   gratuitous          actors owe   duly to                   the
                                                                  person they                     are assisting regardless                  of whether          the nature      of the
 harm       is   physical     or    economic              See Clevecon  Inc                        Northeast Ohio                 Regional Sewer               District      90 Ohio




                                                                                             16
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Waters         could       not state             claim for negligence                        because            in   each                   the        defendant          did not have
                                                                                                                                 case


relationship             or direct       contact with the plaintiff



              In fact       in   Darien          the     court distinguished the cases                                relied
                                                                                                                                      upon by DeVillegas explaining


that    in    those cases             the      concept         of privity             was     utilized          to   measure             the      remoteness              of the



competing parties                     interests         to    determine           whether            the injured partys                      loss       was foreseeable


Darien         1998        Conn Super LEXIS 3496                                  at            The Darien courts                           explanation              is   in   accordance



with the courts               decision           in    Waters            which held            that         plaintiffs                reliance          on    financial        reports




prepared           by      third      party that            was   in     compliance             with the defendant                          organizations                  standards was



too remote to provide                           nexus between                     the       parties    that          was sufficient                    to   impose             duty of



care          Waters        236 Conn              at    836


              Yale next argues                  that     as       matter         of public policy                    it   should         not be         responsible             for the




harm suffered by Dongguk because                                         there        is    no duty        to   protect               third       person        from the conduct


of another                Yales Motion                  to    Dismiss           Br pp           13-14                At    the    outset          the       duty at issue           in this




case    is    not    as    Yale claims                  duty to protect                    another person                   Rather           it   is    the    duty to follow



through        the       undertaking             regardless of whether                         the    person          has undertaken                        the task      voluntarily




 App.3d        215 220-221               1993          holding           that    where        there    is        nexus in substitute                    for        contractual        privity

 liability         for   economic        loss exists for                 negligence           claim         Wartsila         NSD            North America Inc                         Hill

 Intl       Inc      342   F.Supp.2d            267 285           DN.J           2004         denying           the       defendants              summary judgment motion
 and     holding that            duty         of care       may be found               in     case    involving             economic              harm as long as such

 damages           were    reasonably           to    be anticipated             in    view     of defendants                capacity             to   have     foreseen        that the

 particular         plaintiff.           is   demonstrably within                      the   risk    created         by the defendants                      negligence              Citations

 omitted


         only other         Connecticut              case     relied     on by Yale with               regard         to the physical                  harm requirement               is    Doe
       Yale   University           252    Conn          641     2000             However             the   courts          decision          in   that      case    was narrowly
 limited       to the rejection           of an educational                    malpractice           claim which                 is   not the      claim asserted              in   this    case
 Id    at    663    When         the     claimed         result     is    an    inadequate           education             there       is   no viable          claim because we               are

 unwilling          to   recognize        such          legal duty         as      matter       of public            policy            When            however       the result        is


 physical          harm     as   in   the present            case    we        are willing to recognize                     the       claim..               Citation       omitted




                                                                                              17
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in       reasonable               and prudent              manner            Wright         Fitzgerald          Ankerman                 Connecticut             Law of Torts


3d    Ed           54


             In fact public policy favors                               finding        of        duty on the part            of Yale            In order to prevent



individuals           from falsifing or                    fabricating            their    credentials          society has               substantial            interest           in




encoUraging            universities             such       as   Yale to verify the academic                          degrees        in    order to avoid                   charlatans




from claiming they have degrees                                 from        prestigious          institutions         in   important academic                         fields




Even     Yale recognizes                     the importance             of the verification                of academic              credentials            and        it   has



established           protocols to do exactly that



             Thus          the imposition              of       duty with regard to the verification                            of academic                 credentials                  is




particularly          appropriate               Moreover               the    imposition of this duty does not create                                      difficult          burden


Academic           institutions              such     as   Yale need only refer to their                        own        records        in   order to ascertain



whether          particular             individual          has received             the    degree       he    or   she claims            to   have been awarded


In short        for   public policy                 reasons       it   is    appropriate          to    hold Yale to            reasonable                care    when             it




responds        to    inquiries          for verification              of degrees



             Finally         Yale        argues that            Dongguk              negligence           claim cannot              be    sustained         because                Yales



negligence           was neither              the    cause      in fact      nor the proximate                 cause       of the injury             to   Dongguk


Yales Motion                 to    Dismiss           Br pp        16-22             This     argument           raises      issues       of fact      and cannot                  be


determined            on     motion            to    dismiss.7         As     stated       by the court         in    Doe           Manheimer 212 Conn


748 757         1989


 In   fact   Yales proximate                   cause       argument          is   based on         misreading of the Complaint                            In arguing              that

 Yales       negligence            was       not the    proximate cause              of Dongguks               injury      because Dongguk                 supposedly failed
 to   verif3i   Shins        Ph.D        prior to the date             of hiring          Yale mischaracterizes               the    facts     set   forth       in    Dongguk
 Complaint            While        it   is   true that      Shin was hired           before        Dongguk          contacted       Yale Yale             neglects           to    state

 that        the     Complaint           alleges       that within            few    days       after   the formal         hiring        Dongguk          learned           of the

 rumors ii            it   immediately              contacted     Yale        in   order    to   ventS     Shins       Ph.D     Complaint                        8-60 and
 iii that based upon                    Yales       verification        of Shins           Ph.D Dongguk               permitted          Shin to teach           classes           at


 Dongguk             Complaint                  65-66




                                                                                           18
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                           Conclusions             ofproximate              cause     are to be drawn               by the jury and

                           not by the court               It   becomes              conclusion           of law only          when    the

                           mind of       fair       and     reasonable            man      could        reach    only one

                           conclusion          if there        is    room for          reasonable           disagreement         the


                           question     is   one     to     be determined             by    the    trier    of fact      Emphasis
                           supplied          Citations          omitted


See also Doe                Norwich Roman Catholic Diocesan                                   Corp          268          Supp 2d 139           147          Corn


2003

           Dongguk           has properly pleaded                     that    the    harm     it   suffered was           legally     caused    by Yales


negligent acts             The   test   for         cause       in fact      is   whether       the        injury                have occurred were                  it




not for the actors            conduct              Manheimer 212 Conn                         at    757         Dongguk        properly pleaded           that



but for the           inaccurate        information                 provided        by Yale        to   Dongguk          in   2005 Dongguk           would not


have    gone forward             with   Shins employment                            Complaint            IJ     65 154         Dongguk        further     asserted




sufficient        facts    showing      that       if not      for      series      of false and           negligently         made    statements         uttered




by Yale      to    the    Korean    media          in   2007 Dongguk would                         not have been vilified in the Korean press



which     resulted         indirect injury           to   Dongguk                 ComplaintJ 115 119124-26                               145-47 154-157


           Proximate          cause     is   defined           as    an     actual     cause that          is     substantial        factor   in the resulting




harm      Id emphasis              supplied               Dongguk            has     asserted      that     in reliance        upon the information


provided      to    it    by Yale Dongguk properly concluded                                  that       Shin had received               Ph.D       from Yale



Complaint                 65 154        Dongguk                further       asserted       that   the     criticism      of   Dongguk by           the   media


and    the Korean          population         at    large      for    its   supposed        failure to          verify    Shins Ph.D           as   well as the



other damages suffered by                     it   were based            upon and          arose out of Yales                 inaccurate       statements that



it   had never      received       Dongguks               September                 Registered           Letter     and   that   Yales        September         22



Fax was           fake and         forgery           Complaint               fi    115 119 124-26 145-47 154 157 164




                                                                                      19
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                        Dongguk Properly Pleaded The Claim For                                                 Reckless        and Wanton                 Conduct


              Dongguk              has also             asserted       sufficient      facts      to   state       claim of reckless              and wanton


 conduct           In   order to recover                   for reckless          and     wanton         conduct           plaintiff       must show              that




 defendants             act   indicates                   reckless       disregard of the just rights                    or safety        of others         or of the



 consequences             of action                     Kowal          Hofher          181    Conn 355 362                1980            Reckless          or wanton



 conduct       may       be    seen as                  kind    of aggravated            negligence               that   involv                 an extreme            departure



 from ordinary care                     in         situation       where          high degree            of danger        is   apparent            Frillici             Town             of



 Westport          264 Conn               266 278              2003              defendants             alleged        conduct        must be          more          than any



mere mistake              resulting               from inexperience                 excitement           or confusion            and      more than mere


thoughtlessness                or inadvertence                     or simply inattention                     Id


              Among           other things                Dongguk             asserted       that      since Yale possessed                all   relevant



information             and since            it   had access           to individuals             with personal          knowledge               Yale      should       easily



have    been able             to   determine              that    it   had received           the      September           Registered            Letter      and      that        it




sent    the    September                22 Fax            In    fact    all   Yale had to do was                  to   consult     its   own      records         and inquire


of Schirmeister as to whether she had signed                                           and     sent     the    September 22              Fax Even               if   Yale had



not done that            simple          task          based     upon the written evidence                        provided       to   Yale by          Dongguk              it        still




should     have         known           that      it    had received Dongguks                       September             Registered            Letter      and      that        it    sent




the    September           22 Fax


              Even       after     it   had received               written evidence                 from Dongguk demonstrating                            its    errors Yale



refused       to   acknowledge                    its   errors         Rather          Yale       representative          stated      on Korean            television                 that




Yale had never                received             an inquiry from              Dongguk and              that     it   had never         sent the        September 22


Fax Complaint                           120-23                 Thereafter        Dongguk            provided           Yale with more written                     evidence



that   Dongguk had                 sent      the        September              Registered           Letter     and Yale had              sent    the   September 22




                                                                                             20
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 Fax Yet         Yale     still      refused to           correct              its   false   statements                 and   instead    issued an Official



 Statement        repeating            them


           Under     Connecticut                   law whether                   Yales conduct                     was    reckless      is          question       of fact    to    be



determined        by the        trier      of   fact           Pouliot                 Paul Arpin               Van Lines Inc 367 F.Supp.2d                             267 275


      Conn 2005                Coner               Chittenden                   116    Conn 78               811932               Tn Craig                Driscoll      64    Conn


App 699          721-22        2002             the court held that



                        Whether defendants                               conduct         constituted               heedless and reckless

                        disregard of                the    plaint ffs rights                      was          question         offact for the jury

                     whose verdict                        based upon                  conflicting            evidence          will     not be

                     disturbed unless reasoning                                       minds could reasonably                       have reached
                        such         conclusion                 Whether               the    evidence              will
                                                                                                                          support           reckless

                     cause            of action           is   not to be decided                       here Emphasis                  supplied


As   stated     by the Connecticut                    Supreme                  Court in Craig                      Driscoll       262 Conn 312 343                      2003

                     Although there                       is        difference              between negligence                    and          reckless


                     disregard of the rights                              or safety           of others                 complaint        is   not

                     deficient              so long            as   it    utilizes       language              explicit       enough         to   inform

                     the court and opposing                                    counsel that both negligence                           and      reckless

                     misconduct                    are    being           asserted           Citation              omitted


Thus Yales         contention               that     it   did act recklessly                          cannot       be    resolved       on    its   Motion     to    Dismiss


           In   addition         Yales           argument                 is    based       upon an          incorrect         statement            of   law   Citing Sheiman



   Lafayette      Bank               Trust       Co             Conn App                    39    1985             Yale argues          that      Dongguk          has not



shown recklessness                   because         it   has not alleged                    that      Schirmeister knew                 that       the   September 22 Fax


was untrue or       that       Yales            other representatives                         knew          that    their     2007 statements were untrue


Yales Motion             to    Dismiss             Br           22              However               the   consciousness                    of the       defendant     that       the



court referred      to    in    Sheiman              was            consciousness                     with respect to            the     consequence               of



defendants         acts Id                 at   45


           Thus    the        test    is   not whether                   the     Complaint              explicitly         alleges      that      Yales      representatives




actually   knew     for          fact       that     their      statements were untrue                              at the     time they            made    such    statements




                                                                                                 21
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 Rather         the    test   is   whether       the      Complaint            contains         sufficient        allegations             to    show     that   Yale     knew


 or should have               known of          the substantial               risk     or of adverse         consequences                  to    Dongguk         that   could



 be caused            by Yales representatives                           failure to      exercise         duty of care              in    making         such     statements



               Among          other things           the     Complaint            properly alleges               that    prior       to the          time Yale issued           its




 Official        Statement             to   the press            it   had been made aware by Dorigguk                                 that       the Korean



Prosecutors            were        interested        in   Dongguk                role in       the Shin affair and                 that    it   was important            for




Yale      to   acknowledge              that    both the September                        Registered            Letter       had     been received by Yale and


the   September            22 Fax had been                   sent     by Yale           Complaint            11     139-41                The Complaint             thrther




alleges        that    rather      than correct            its   misstatements                Yale made                conscious           choice        and issued       its




Official         Statement             reiterating           its   contention           that    it   had not been contacted by Dongguk and                                      that




the September              22 Fax was                forgery              Complaint            11    143-44            Thus Dongguk                    has properly



pleaded         the    elements        of       reckless           and    wanton         claim


                      Don gguk Has Properly Pleaded The Breach                                               of Implied Contract Claim



               Dongguk          properly alleged                   each    and    every        element       of   its    claim for breach                 of implied



contract         An       implied contract                  is   an   agreement           between the             parties      which            is   not expressed        in




words but which                 is   inferred        from the          acts    and     the     conduct     of the parties                       Brighenti          New

Britain        Shirt    Corp         167     Conn 403 406                     1947             Like    conduct custom and usage                            can     be used       to




show      that    an    implied contract                  exists      when       the    subject       matter      is   not         matter        of    common


knowledge              Fine          Advance          Realty          Co          Conn Super 264 265                         1936               Jacobson        Electronic



Co        Rome         Fastener         Corp          156        Conn 55 60              1968 LG             Deflice          inc               Firemans         Insurance



Co    41          Supp 2d 152                  161               Conn 1998 L.F Pace                             Sons         Inc           The        Travelers    Indemnity



Co         Conn App 30                  38     1986

           Dongguk              has alleged          that        having       long been aware that                  unscrupulous                     individuals    may


falsify    their       academic records                   Yale has             significant           interest     in    preventing              individuals        from




                                                                                         22
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falsely     claiming             that    they have received               degrees          from Yale        as   well as an          interest     in ascertaining




that   Yales        faculty         members            have    actually      received         degrees       from the academic                    institutions        they



claim to have received                        them from          Complaint            11    23-24      27        As       consequence                Dongguk         has



alleged that         there        is     well-established custom                      among        academic        institutions            to   request



verification         of degrees               purportedly awarded                to   their faculty         candidates          or to other individuals



applying       for       position within                the    institutions           Complaint         1124-25            28-29


            Thus Dongguk                      has alleged       that     there    was an understanding                    i.a             quid pro    quo     between


Yale and       other academic                   institutions      that      they would rely on each                     other in determining                 whether



to hire   the      individuals            about        whom     they have inquired                   Complaint            11    26 29 193               Dongguk


fUrther     alleges      that       in   fUrtherance           of this understanding                 Yale had developed                     certain    protocols for



verifying      degrees            claimed        to    have    been awarded                by Yale      Complaint               11    25-26          Dongguk          also




alleges     that    by   establishing             these protocols             Yale has agreed               to    be    bound by such              protocols



Complaint                192            Finally        Dongguk       has alleged            that    based    upon       their    dealings         with each          other



Yale and      Dongguk               entered       into    an                                  which was breached                      by Yales        incorrect
                                                                implied contract



confirmation          that        Shin had been awarded                      Ph.D by Yale                   Complaint            11194-95


          Yale argues                  that   the claim for breach               of implied          contract          should    be dismissed              because



Yale did not agree                 to    undertake        any express contractual                    commitment            to    Dongguk and               because



Dongguk        has not alleged                 any words or            actions        from which an agreement                        may be       inferred



Yales Motion                to    Dismiss         Br           27      The    existence            of an implied         contract           cannot    be



determined          on   this      Motion         to   Dismiss      because           whether         contract          exists       is     question       of fact    for




thejury       Levesque Builders                         Hoerle         49   Conn App 751                    754    1998

          As       stated        inEmerickv              Kuhn       cv    94-0460869S                1996    Conn Super LEXIS 1251                              at




May          1966




                                                                                      23
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                             Whether        or not certain             policies         and          manuals            cited    by   the       plaintiff

                             constitute              contract       between the               parties           is      question       of fact         for the     jury
                             Whether or not there was                            meeting of                the       minds      to   establish              contract        is


                                question         offact for the jury This finding                                     extends to all contract                  claims

                             Emphasis             supplied


 Thus whether              an    implied          contract         exists   is         fact        issue        that    must be determined                   by    the   jury


             Yale       further      argues that there                was no consideration                             for   Yale in the dealings                  between Yale


 and Dongguk and                 that    therefore           the    claim for implied                      contract          should     be dismissed                   Yales


Motion       to   Dismiss            Br          28       As      stated    in    2-5 Corbin                    on     Contracts            5.27


                          Promises             are     discovered          by implication                            either     for the                      of
                                                                                                                                               purpose

                           enforcing           the     imp    lied    promise          itself         or for the purpose                  of finding
                          consideration                for    another promise                      that    is    sought to be
                          enforced.              .an   implied promise                  is    not prevented from being

                          consideration                by    the   fact that       it    is    implied from conduct                         or from

                          words         that     are not in express promissory                                  form          Emphasis
                          supplied


Dongguk           has   asserted         sufficient           facts   to    show        that        Yale was provided                   with          the   consideration            for




the implied contract                    Connecticut               courts    have        consistently                   held that      mutual promises which


confer   benefits            and corresponding                    detriments on the respective                                parties          are    sufficient




consideration                                    bilateral         contract                                                                                        Inc
                        to    support                                                   See          e.g Real Estate Listing Service


Connecticut         Real Estate             Comm              179     Conn 128                 135        1979

         Here Dongguk                     has pleaded               that   the parties had promised to each                                      other that        upon


request of one party                  the   other party will verify                      and provide                    accurate       infonnation             as to     whether



the purported           degrees         were         actually       awarded by                it    or not            Such mutual              promises        constitute




sufficient    consideration                 to    support the implied contract                                  claim asserted here



                   Dongguk Has Properly Pleaded                                    Its        Defamation                     Claim


         As       stated        in   Morron              City      of Middletown                     464             Supp 2d 111                 117           Conn 2006


Under    Connecticut                 law                     is   actionable       per se            if    it
                                                                                                                charges         improper             conduct      or   lack of      skill




or integrity       in   ones         profession or business                      and     is        of such             nature that        it    is   calculated        to    cause




                                                                                         24
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            Memorandum
                            Part
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 injury    to    one        in his    profession or business                                 To    establish          prima         facie    case of defamation



 plaintiff      must plead that                          the       defendant               published             defamatory          statement         ii the    defamatory



 statement            identified          the   plaintiff            to         third      person iii the defamatory                         statement was       published            to




   third   person and                 iv        the plaintiffs                  reputation suffered injury                     as     result    of the statement



Integrated Security Solutions                                 LLCv               Security Technology                  Systems          LLC CV           40018112007


Corn Super LEXIS 2397                                   at    4.5 Super Corn Sept 10 2007                                             Dongguk          has properly



pleaded         all    of these elements



             Dongguk               has pleaded                that       on July 10 12 17 and                       18 of 2007 as well as on August



2007 and          on September                  21 2007                  Yale maliciously                 told    various       Korean newspapers                and/or



broadcast         media            that          it   had never               received        the       September              Registered        Letter          it   had never


informed         Dongguk              that      Shin had been awarded                                  Ph.D from Yale and                         the   September 22 Fax


was   fake             and         forgery               Complaint                        1.9-97 108               107-08           109-12 122-23 143                 198

Dongguk          has        also    pleaded            that       the     Korean media and                   the    population-at-large                understood          Yales


statements            to    mean      that             Dongguk                improperly           hired Shin without                  verifying her credentials



ii Dongguk had                     lied    when         it    said        that       it   had contacted Yale about                    Shins     Ph.D       and



iii Dongguk had                     tried to          cover        up     its    misconduct             by   reliance       on        forged     document        i.e       the




September22                 Fax Complaint                           11     115-16           160

           Dongguk                 has also           pleaded            that    Yales defamatory                   statements          were widely        published             in




Korea and             inflicted       significant                 injury        to    Dongguks            reputation           Complaint                95-97 104-06


108-16 120-23                  144         198          Thus            the      Complaint             alleges     that   as        direct    result    of Yales



defamatory             statements               Dongguk was                      perceived         as    being dishonest              and incompetent            and       that   its




reputation was               tarnished                Complaint                  IJ 115-16             119 157 164 201-02                       Dongguk         further




alleges    that        as     consequence                    it   suffered substantial                    damages         including           but not limited         to




                                                                                                  25
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 decrease             in the       amount of donations                        government             grants    and        student       applications           for   admission


 the loss of                prestigious               award and          the       failure to       obtain    permission           to
                                                                                                                                         open       US          style      law


 school          Complaint                    11 166           172

                According                to   Yale         the       defamation         claim must be              dismissed           because     the statements



quoted          in the       Complaint cannot                         be reasonably            interpreted          as referring          to   Dongguk           or being



defamatory                  or malicious                 Yales Motion                  to   Dismiss        Br             30     This argument              is   meritless




because          it    is   well-settled                that    whether           certain    words or sentences                  carry         defamatory            meaning         is




question          of fact          for the         jury Carey                     Woodruff          89   Conn 304 309                  1915        Arnott             The


Standard              Association                57     Conn 86              93    1888         Ventresca                Kissner 105 Conn                  533       535       1926

                Where          the alleged               defamatory               words may seem              innocuous           on     their    face     they      may

nevertheless                give rise to                 defamatory               innuendo       because        of extrinsic            facts     Wright          Fizgerald



Ankerman                Connecticut                  Law of Torts 3d                  Ed            415      See     also    Dobbs The Law of Torts                                1132



2001        explaining                   that        for   questions           of meaning             the courts          take into       account        the     literary        context



as    well as the social                      context            Even     where             statement        made by             defendant         does not mention



defamed party on                        its   face       it    has    long been settled that                 Connecticut           courts       allow extrinsic              facts   to




show     that         the    statement               refers      to   the plaintiff           Mix          Woodward               12    Conn 262 287 1837


We       suppose              it   to    be well settled                that       where      the   person      is       so ambiguously           described             that




resort     to    extrinsic              facts      is
                                                        necessary        to       ascertain     his      identity there           the     libel   and     all    attending



circumstances                  are       to   be     submitted          to    the jury and that               the    plaintiff         is at   liberty    to                the
                                                                                                                                                                prove



averment              that     the       libel       was published                 of and     concerning            him
            In short               in    determining                 the meaning            of the words            at   issue   in       defamation            case       the    words


are   to    be        understood                in   the sense which hearers of                          common           and    reasonable        understanding



would      ascribe           to    them                 Ventresca         105        Conn      at   535       What        matters in determining                     the    meaning




                                                                                               26
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 of the particular         words         is   the     common           understanding             by    listeners        not the actual            intention     of the



 author     Arm-itt 57           Coin         at    91


            In essence           by    stating        that    the   September              Registered              Letter    had never been received by


Yale      that   the September                22 Fax was never                  sent to    Dongguk and                that    both documents               were fakes


and forgeries         Yale was publicly                      calling      Dongguk               liar     By   imputing         dishonesty          and



incompetence          to    Dongguk                Yales statements damaged                        Dongguk                  reputation      and     resulted        in




severe consequences                    including         financial         harm and              criminal          investigation           Yales statements


were    therefore         defamatory               in their    nature           See Integrated Security Solutions                           2007 Coin Super


LEXIS 2397           at                  defamatory             statement          is   defined        as     communication                that    tends to harm



the reputation of another                     as to   lower         him    in   the estimation of the community or to deter                                   third




persons from associating                      or    dealing     with       him

           Yale     also       asserts    that       Dongguk           has not pleaded             that     Yale made the statements alleged                             in




the Complaint with actual                      malice          Yales Motion                to    Dismiss           Br         33           review      of the



Complaint reveals               that     Dongguk has                in   fact     pleaded        facts      that    would permit              jury to conclude



that   Yales      statements           were made with malice Moreover                                       as specifically          stated       in the




Complaint         Dongguk             has asserted that              all   of the defamatory                  statements were maliciously                           made


to   the Korean      media             Complaint                198

           There     is        difference between                   proving       malice         and pleading               malice As         stated    by    the




Supreme Court             in   Harte-Hanks               Communications Inc                            Connaughton                491    U.S 657 667                109



     Ct 2678 2685               105           Ed      2d 562        1989         in   proving          malice          public figure          must     at




minimum          demonstrate           that        the statement           was made with knowledge                            that   the    statement        was      false




or with reckless           disregard as to whether                       or not    it   was true              See    also    St   Amant            Thompson 390


U.S 727 731           88          Ct 1323 132520                            Ed     2d 262         1986                 .evidence         of either      deliberate




                                                                                      27
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falsification        or reckless        publication             despite          the    publishers             awareness               of probable          falsity




essential      to   recovery        by public           officials      in   defamation              actions As more                          recently       stated       in




Morron         at   118        Actual Malice                   occurs       when            statement          is    made with knowledge                          that   it   was


false    or with         reckless    disregard of whether                   it   was        false   or   not

            However           in    order to plead malice                   it   is    sufficient        for         plaintiff         to     generally aver malice



as to      defendants           state      of   mind           Boyd          Nationwide              Mut        Insur            Co     208     F.3d    406 410           2d

Cir 2000            See also Dougherty                         Town     of North Hemstead                      Bd      of Zoning              282          3d 83 91           2d

Cir     2002        Connecticut            courts       have     held that             complaint           which           alleges       that   statements were



made      maliciously         was     sufficient         to    withstand          defendants motion                         to   dismiss         For example                  in




denying       the    defendants            motion        to    dismiss the Morron                    court stated



                          Considering           the standard           set forth            in                      Sullivan           376 U.S 254

                          19641         the     court     finds    that     the plaintiffs           have           sufficiently          alleged       actual

                          malice        In    the Complaint              they asserted              that   Thorntons                    ..    false

                          statements were made                    maliciously                intentionally             willfully          wantonly
                          and/or     with reckless              disregard          of   the       truth.. Whether                 this assertion            is


                          ultimately tenable              will    be        matter          for   discovery                464          Supp 2d            at    118

                          Italics    supplied


Dongguk        has not only satisfied                   this    standard          it   has pleaded             the    facts       it   needs    to    prove       malice


           However            the   issue       of   malice       cannot         be determined                 on Yales Motion                   to   Dismiss             As       the



court    noted      in   Morron       whether             defendant           made           statements             with     actual      malice       is         question          of



fact    for the     jury Id          See     alsoAbdelsayed                      Narumanchi                39        Conn App 778                     780        1995

Holbrook             Canazza         204 Conn 336                 1987

           Neither         of the two cases             cited    by Yale Beler                      MilfordBd                    Of Educ CV0540028865


2005 Conn Super LEXIS                           1932     at       Conn             Super June              23 2005                and    Rogues                 Bayer     Corp

Case     No   302-cv-1778               MRK 2004                  U.S Dist LEXIS                     17026            at    35               Conn Aug 25 2004


are to the     contrary            Indeed both cases               are      distinguishable                on       their    facts




                                                                                       28
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             In Beler the plaintiff                     simply did not allege                              actual    malice      at    all     2004 U.S               Dist        LEXIS


 17026       at         The         complaint               fails      to    allege          this essential          element                 There           are   simply no facts



 alleged from which                 it   can    be implied                   that       the   statements            were made with                  actual         malice              Here


not only did            Dongguk           properly plead that                           Yales         statements        were maliciously made                              it    asserted




sufficient        facts    to     show      that      at    the time Yale                     made      such        statements          it   knew        or should          have



known        that      their     statements were inaccurate



          Rogues involved                      the    issue         of whether                the defendant            abused          its   qualified             privilege          in




making            defamatory             statement               which            is   not an        issue    here      Id     Moreover                 when         it   received         the




complaints             the defendant            in     Rogue            promptly investigated                            the notes containing                        the alleged



defamatory             statements           Based upon                      this       fact    the    court concluded                 that    the       defendant          had not


acted    maliciously               Id


          In      this    case      there      is    no     qualified              privilege          and Yale did not promptly                              investigate          the




matter       Indeed Yale ignored                           all    of   the        evidence           that    Dongguk          provided             to   it    in   July     August and


September           of 2007 which should have enabled                                               Yale     to   determine           that    it   had received                 the




September               Registered          Letter          and     that          the September                22 Fax were authentic                           Complaint               fl



130-31 133 135                    137       Instead               Yale issued                 its   Official         Statement               reiterating           its    earlier




statements that            all    documents                supporting                  Shins claims were                 forgeries            and       therefore are             fake

Complaint                143        Thus Yales                    behavior              is    far different          from     that     of the defendant                    in    Rogues



          II        YALES EXTRA-COMPLAINT                                                       DOCUMENTS CANNOT BE CONSIDERED
                    BY THE COURT

          Rather          than confine               its    review           to    the       allegations          contained       in the           Complaint               Yales


recitation        of   Dongguks             claims           is   based           in large                   on      series   of English                language           translations
                                                                                                    part



of newspaper             articles        and        Judgment                 entered           in the       Seoul     Western          District          Court       Judgment

Indeed Yale spends                  more pages                   discussing              the     newspaper            articles        and     the       Judgment           than       it   does




                                                                                                 29
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 the   allegations         contained         in the       Complaint               These newspaper               articles         and    the   Judgment                together



 with Yales          misdescription             of the allegations                 contained       in   the Complaint                  then become                the




 centerpiece         of Yales          legal    arguments                  See e.g          Yales Motion              to    Dismiss       Br pp                15 18 20


 21 31       32 and       33

             In an effort to convince                     the   Court that          these extra-complaint                         documents           should          be



 considered         in   determining           the   Motion           to    Dismiss Yale argues                 that             the   Court        can    consider           the




newspaper           articles     because        they were relied                  upon by Dongguk and ii the Court can take                                            judicial



notice    of the Judgment                 Yale       is
                                                          wrong        in    both points        As      discussed below                   these documents



carmot be          considered         by the Court because                       they were not relied                  on by Dongguk and they


constitute         inadmissible hearsay



                          The    Applicable               Legal Standard


            The     Second       Circuit        has held that               in   extremely     limited circumstances                          F.R.C.P            10c8


permits        reviewing             court to review             documents            outside      of the pleading                if   the moving              party can



demonstrate          that      the documents              were       relied      upon by      the plaintiff           and    were        integral         to    the   claims



set forth     in   the complaint               For example in                     Meyer Pincus and Assoc                               Oppenheimer                      Co

Inc 936       F.2d        759 762 2d Cir 1991                          the       Second     Circuit     held that           in    determining             the



sufficiency         of      securities       fraud claim based                    upon       prospectus          it   was proper              for         district         court




to   review    the       terms of        prospectus             even       though      it   was not attached               to the      complaint               because        the




prospectus         was     integral      to the      complaint               See    also     Cortec      Industries              Inc          Sum Holding L.P


949 F.2d 42 48              2d   Cir 1991 court                      permitted the district              court to review                 stock purchase



agreement offering memorandum and                                     warrant        that    were not attached                   to   complaint           since




plaintiffs     securities            fraud claims          arose out of these                documents



 F.R.C.P       10c        provides      that      statement            in        pleading    may   be    adopted           by reference        elsewhere              in   the

 same    pleading         or   any   other     pleading         or   motion



                                                                                     30
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            Notwithstanding                     this limited            exception                 the     Second           Circuit        has continually            stressed       that   it




is    improper        to   consider        extra-complaint                         information                  in the      motion        to    dismiss         Brass



American Film Technologies                             Inc 987                   F.2d 142              2d      Cir     1993         See     also      Newman            Schwartz



      Asplundh Tree Export                      Co    Inc          102       F.3d        660 662 2d Cir 1996                               district         court    reversed        for




considering           extra-complaint                     information                   going to the merits of the complaint                                        DeRay


Larson          2004 U.S           Dist    LEXIS            19642            at                    Conn Sept 29 2004 affd DeRay                                             Otis



Elevator         Co        153    Fed Appx             19    2d         Cir        2005                Vincent             Essent Healthcare                 of     Conn      2006


U.S      Dist    LEXIS 71816                    at                Conn Sep 28 2006


            As observed             by     this      Second        Circuit              in   Chambers                      Time Warner               Inc 282            3d 147


153    2d       Cir   2002          its   rules      regarding               consideration                    of extra-complaint                 documents            has been


misinterpreted on occasion                                        In    Chambers                   the        Second Circuit emphasized                        that    extra-




complaint        documents             can       only be      considered                     where             the   complaint            relies heavily upon                 its   terms



and    effect     which renders the document                                      integral               to    the   complaint                 Id The       Second     Circuit        also




stated    that   mere            notice    or possession                    is    not    enough                 Id         The    Second        Circuit       noted    that    while       it




may      have    been proper              for    the district           court       to       review            contracts         whose         interpretation         was


requested by the plaintiff                       the district           court committed reversible                                   error      by reviewing          other



documents             Chambers             supra       at    154


           In reversing the district                      court the Second Circuit                                   went on         to    state     that   once      the District




Court     was presented with matters                          outside              the       pleadings               Rule        12b      afforded          two options.9            As




 F.R.C.P         12b6            provides        in pertinent           part


                                 matters        outside     the pleading                 are presented                to    and not excluded            by the
                           court the motion               shall    be treated                as   one     for    summary judgment                    and

                           disposed       of as provided                in   Rule       56 and            all   parties shall         be given

                           reasonable        opportunity               to    present         all       material      made        pertinent      to   such

                           motion by Rule             56




                                                                                                  31
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 explained            by the Second Circuit                     the       district         court     could          have    excluded         the       extrinsic       documents


 or if     it   chose    to    consider          the extra-complaint                       documents            it   was     obligated to convert                     the    motion


                              one                                                                                                                              conduct
          dismiss        tO          for
                                            summary judgment and                                give the parties an opportunity                          to




 appropriate             discovery          and submit              the    additional              supporting         material contemplated                      by Rule       56

 101d           Emphasis            supplied


                 As   stated        inFriedl            City of New                  York 210 F.3d 79 83-84                        2d      Cir     2000         the Second



 Circuit         takes   this       conversion                                                           In    Friedi       the Second Circuit                  reversed
                                                       process very seriously


 district        court   for    considering            extra-complaint                      documents           in    determining                motion        to     dismiss       In



 so doing          the    Second         Circuit       stated



                                            matters       outside the pleadings                          are    presented in response                    to

                              12b6           motion                  district        court must either                 exclude        the

                              additional         material and decide the motion on the complaint                                                  alone

                              or convert          the    motion            to    one       for     summary judgment under
                              Fed.R.Civ.P              56 and         afford         all    parties      the    opportunity          to     present

                              supporting          material                This conversion                 requirement           is   strictly

                              enforced       whenever               there       is         legitimate          possibility that                  the

                              district      court      relied        on material outside                      the    complaint        in    ruling on
                              the    motion        Thus              district         court errs when                 it
                                                                                                                           consider
                              affidavits         and   exhibits           submitted              by defendants              or relies on factual

                              allegations         contained               in legal         briefs       or memoranda..                Vacatur            is


                              required even            where          the       court      .s
                                                                                                ruling simply              mak
                              connection          not established                    by the complaint                 alone        or contains            an

                              unexplained              reference                that       raises        the possibility           that     it



                              improperly          relied       on matters outside                       the    pleading       in   granting the

                              defendants           Rule        12b         motion Citations                     omitted Emphasis
                              supplied


See also           Henschke              New       YorkHospital-Cornell                              Medical         Center 821                   Supp 166             169



S.D.N.Y               1993

                If the   motion        to   dismiss        is       converted          to          summary judgment motion                              then    all   of the



provisions of F.R.C.P                       56   apply     to       the motion                  Thus     the    extra-complaint                  documents            must be



10
     It   must be noted         that   in   contrast      to    the holding             in      Chambers Yale wants                  this    Court to consider               the

     extra-complaint           documents          while        at   the    same       time       stay   discovery




                                                                                                32
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 examined        to    determine      whether they contain admissible evidence                                 before they can            be considered



 by the court           See     e.g Raskin             The Wyatt         Company           125      F.3d   55   66       2d    Cir 1997                      only



 admissible evidence                need be considered              by   the    trial   court in ruling         on       motion         for    surmnary


judgment              Nora      Beverages        Inc          The Perrier Group of America                          Inc 269        F.3d        114     123     2d

 Cir 2001        It      is   appropriate       for      district      court ruling        on summary judgment                    to    consider           only



 admissible          evidence


             Finally        even    assuming      that       the extra-complaint documents                      are      admissible they must



 then be examined              to   determine     whether they            raise     genuine         issues    of material        fact         Summary


judgment must be denied                    if there    is     dispute regarding               material fact         or   if the    evidence           is    such



that     reasonable jury could                 return        verdict     for the        nonmoving          party         Aldrich          Randolph


Cent     Sc/i    Dist         963   F.2d   520 523 2d Cir cert denied 506 U.S                                   695      1992           In deciding



                                               the court must resolve                all ambiguities and                 draw            inferences
summary judgment motion                                                                                                           all                        in




favor of the nonmoving                 party in order to determine                      how      reasonable          jury would          decide


Aldrich        963     F.2d at      523


                 The Newspaper                 Articles       Were Not           Relied       Upon By Dongguk For Their Truth


           According           to   footnote          on page          of Yales         Brief in support            of   its   Motion         to   Dismiss



and    repeated        in   footnotes                   11    and   12     the Court          can    properly consider the statements



made    in the
                      newspaper       articles    attached to Yales                 Brief because            Dongguk           relied on them                in     its




pleading        i.e    the Complaint            In so arguing            Yale misunderstands                  and    misapplies the reliance



rule



          In    Chambers            Oppenheimer              and Cortec          the     Second      Circuit     permitted the district                    courts




to   review     relevant prospectuses             and        contracts     in   connection           with the plaintiffs               fraud and breach



of contract      claims        because     the prospectuses              and    contracts        were on        their     face    dispositive           of the



plaintiffs      claims         As   detailed     in the       Complaint          Dongguk            does not rely on the truth                     of any of the




                                                                               33
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 newspaper                 articles          attached to Yales                            Brief in Support                     of     its   Motion            to     Dismiss            and    their           content



 is       not dispositive                 of     Dongguks claims


                   In    contrast           to      Dongguks                   position           that        the newspaper                  articles          are       false         Yale has attached



 the                                 articles         to     its     Brief because                 Yale wants the Court to accept                                             the contents               of those
           newspaper


newspaper                  articles         as truthfUl                  fact.2          In this regard                the Court need only refer to pages                                                  through



      of Yales             Brief which contains                                Yales version of                       the      facts        and which                are      substantially               based          on


the
           newspaper             articles             and the Judgment                          attached to               Yales Brief


                  There         is    an important distinction                                 between submitting newspaper statements                                                         for       the truth



of the statement                      contained                 therein             and     referring           to   them because                      they contain                  defamatory



matters             As       stated         in   Jackson                       Jimino 506                      Supp 2d 105                       113     N.D.N.Y                     2007          newspaper


articles           are    only admissible                          when         the      articles        are       submitted not                    for the truth                  of the matter                but for



the        fact    that      the statements                        did occur             and    were published




      Indeed            even Yale           itself      has        refused          to   be bound             by their content                   the   Court need                  only refer to the
     section       entitled          The         Facts          Omitted from the Complaint                                     which        is    contained           in      the Brief        submitted            by
     Yale     in    support          of   its    Motion to Stay Discovery                                            6-li            That section             is    based entirely on                      series        of

     newspaper             articles         attached            to      that   Brief           number of which                        are also         appended               to   Yales       Brief       in


                    of    its   Motion to Dismiss                              Notwithstanding                   Yales          contention             that        these                            articles
     support                                                                                                                                                                  newspaper
     contain        Facts             Yale          states         in   footnote             of   its    Motion        to      Stay     Discovery              Brief


                   Yale takes             its    description                of the factual               background  from Dongguks Complaint andfrom

                    contemporaneous                          news         accounts             both      of which Yale reserves the right to contest as the facts

                    come        to    light      jf   discovery                ensues          Emphasis              supplied


     Thus Yale wants                   to    have          it   both ways  It wants                       this     Court to accept                  as   fact            statements           contained             in

     the    newspaper            articles           even        though Yale  wants                       to   be     able      to    challenge           their       accuracy          at      later      date


12

     Remarkably                 at    page            of     its
                                                                   Reply        Memorandum                     of    Law       submitted            in support                of the Motion               to    Stay

     Discovery            Bae        Affidavit               Ex                Yale now contends                      that      it   did    not attach             the   newspaper             articles          for

     their truth          but rather             for       the       fact      of   their      publication..                   Yale then            proceeds             to    state    that      its
                                                                                                                                                                                                         arguments
     in    support        of the motion                to       dismiss         do not depend                  on the truths of any of the matters                                     stated      in    the

     articles           Id      If this        is    so Yale offers no explanation                                   as   to    why         the   newspaper                articles         have        been

     attached       to     Yales            Brief       in      the     first   place          In point          of fact        despite           Yales newest                     position        the fact

     remains        thatmany of Yales                              legal arguments are based upon the information                                                     contained             the    newspaper
     articles       See Yales Motion                               to Dismiss Br pp 18 20 21 31 32 and                                                  33



                                                                                                               34
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               As pointed        out in the Jackson                   case   it   is   settled      law    that   the       contents of newspaper                     articles




 are    hearsay under            Federal    Rule       of Evidence                F.R.R                802 and     that      consequently                  they cannot        be



relied       upon   to    support       or defeat         summary              judgment motion                    506             Supp 2d            at   113      See also



CentwyPacfic                   Inc        Hilton    Hotels            Corp        528            Supp 2d 206 217 S.D.N.Y                                  2007


Newspaper                articles    offered for the truth of the matter                               asserted    are       inadmissible                 hearsay Kaya


      City of New         London          No    05-cv-1436              JCH 2008                  U.S      Dist   LEXTS 5478                    at   25              Conn


Jan 24 2008               Newspaper            articles      are        inadmissible hearsay                           and        thus cannot             be   considered



on summary          judgment               Holmes                Gaynor 313                      Supp 345         358        N.1     S.D.N.Y                2004        The

                                                                                                                                    of the matters asserted
newspaper article                    is   hearsay and            inadmissible for proving                       the truth



therein


             Yale attempts           to   circumvent             this   evidentiary rule by asserting                             that    because          Dongguk


referenced        the defamatory             articles       in    its   Complaint                they were therefore                 relied      upon by Dongguk


There     is   nothing      in   F.R.C.P        10c         or in       any Second               Circuit    decision          that       permits           party to attach



inadmissible hearsay documents                         to         brief in support                of     Motion        to    Dismiss            and then have            those



documents be considered                    by   the    Court           as if   they contained               unassailable                 fact    As       stated   by   the




Second       Circuit      in    Cosmas          Hassett               886 F.2d              13   2d     Cir    1989          in   reversing               district   court




for    relying on extra-complaint                  documents                 limited quotation                  does not constitute                       incorporation



by reference              See also Goldman                       Belden 754 F.2d 1059                           1066    2d         Cir 1980 reversible


error   to   consider       documents           that   were            to   some       extent       quoted        in   determining               F.R.C.P             2b6
motion


             In United         States       International               Longshoremens                    Ass           518           Supp 422 452


E.D.N.Y          2007          the court held that               it   was improper               for   the court to consider                         newspaper          article




                                                                                       35
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 appended          to    the defendants                 motion papers                 in    determining                F.R.C.P              12b6           motion          As    stated




 by   the   court



                           The    problem with                  the      ILAs          argument          is    that    it   did not submit             the


                           Daily       News        article          as   mere background                         but rather           for    the

                           purpose         of challenging                  the factual            accuracy            of the       Amended
                           Complaints               allegations                regarding          the   ongoing influence of
                           organized             crime        on    the    Waterfront                          Exhibit              falls    within

                           none of the            categories              of documents outside the complaint                                    that


                           may be considered                       in      12b6              motion        identified              by the Second
                           circuit       in   Bright          and        the    Court therefore                shall    not consider            it    in


                           ruling      on the       ILAs            12b6              motion


Simply put the supposed                          fact    statements              contained             in the
                                                                                                                 newspaper              articles       that      are   appended             to




Yales Brief cannot                  be     considered               by    the    Court       in     determining              Yales          Motion         to    Dismiss


                    The Court Cannot                          Consider The Korean                          Jndgment

            There        is   no doubt           that    Yale seeks              to   have       the    Court accept               the truth        of certain          facts




purportedly decided                   by   the     Korean judge who signed                               the    Judgment               And      like the          newspaper


articles      the Judgment               is   inadmissible hearsay                           Even       more egregious                  is   that     in   Yales Brief            it




asserts     that    the Korean             judge        made        findings that              he    did not         make and           then relies on these



supposed         findings        in    making           its   legal       arguments


            In footnote               of   its    Brief        Yale argues              that      the    Court        can     rely    on the Judgment                   because        it




can    take      judicial       notice        of the indictments                      and    convictions                of Shin and Yang                    Kyun Byeon


Byeon                   In the same           footnote          Yale           also   acknowledges                that      judicial         notice        does    not extend to



the truth     of    the       matters asserted                 in    the other litigation                       However              having         correctly          stated   the



rule Yale proceeds                to     ignore         it




            In several         places in          its    Brief           Yale relying on                the    Judgment               asserts       that        Shin had an



affair    with          former    high-level              government                  official      and    that       Shin was          hired by           Dongguk         at




Byeons        request in exchange                       for        promise            from Byeon              that     Dongguk would                   benefit         financially




According          to    Yale    in    the Judgment                      the Korean judge                 found             that    Dongguk           hired Shin          at




                                                                                            36
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     Byeons         urging       because       he had told               Dongguks                   then-President                Hong        that      hiring          Shin will be



     great    help to       Dongguk         University             financially                        In explaining            why Dongguks                         negligence           claim



 should            be dismissed        at   pages         15    and 18 of                its    Brief      Yale proceeds                to    repeat this statement                      as if




 the     statement          is   an   established             fact



                   While         court can       take judicial                notice           of        conviction          or an indictment                      it    cannot      accept      as




 true        the   underlying         facts    involved            in that          criminal matter                     As     stated        in   F.R.B            201b         courts      can



 only take judicial               notice       of facts         outside the                trial      record         that   are     not      subject          to    reasonable



 dispute             In interpreting           this      evidentiary                rule the Second Circuit                          has      stated        in     Intl Star Class



 Yacht        Racing             Tommy        Hilfiger 146                F.3d           66 70 2d Cir 1998


                              Because         the     effect      of judicial              notice          is   to    deprive         party of the

                              opportunity           to    use rebuttal                  evidence           cross-examination                        and

                              argument         to     attack       contrary evidence                            caution      must be used                  in

                              determining             that        fact        is   beyond           controversy             under Rule                 201b

The      Second         Circuit       went on            to   state



                              Facts adjudicated                 in       prior           case do not meet either                      test        of

                              indisputability             contained                in    Rule       201b             they    are    not usually

                              common knowledge                         nor are they derived                           from an unimpeachable
                              source        Id


Thus even had Yales                         Brief accurately                   referred             to   the     Judgment            the     Judgment               would be


inadmissible to prove                   the      truth        of the facts               purportedly contained                       in it        Accordingly those


supposed            facts     cannot     be considered                   by        the    Court.3




13
      In fact       much     of the Judgment is of questionable  relevance                                           despite      Yales       efforts         to   tie   Dongguk       to   it

     For example            at          and  of its Brief in Support of its                                          Motion    to   Dismiss            Yale points           out that
                               pages
     criminal       charges      were brought against                    Byeon and Yong Taek                           Lim     Lim                     Buddhist           Monk      and the
     Chairman         of Dongguks             University           Foundations                   Board          of Directors because Lbn had                              improperly

     requested       and    received          state      subsidy         for         Buddhist temple                    Not    only     does        this    event        have      nothing to
     do with Dongguk   the Judgment                           states     at    page        12    that     Lim and Byeon               did     not      even        meet    until    February
     2006 months after the exchange                            of the     September                 2005        documents         between           Yale and             Dongguk
     regarding       Shins Ph.D




                                                                                                 37
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               But Yale makes                    it   much worse                   review         of the Judgment                  reveals       that    the supposed



finding attributed                  to     the Korean             judge    i.e        that Dongguk                 hired Shin            at   Byeons       urging       because



he had        told      Dongguks                 then-President            Hong         that      hiring      Shin         will    be         great    help to    Dongguk


University              financially               was not           judicial          finding at all           Rather the information comes from the


portion of the Judgment                           entitled        Indicted         Facts which                 are     the facts         alleged to                     the
                                                                                                                                                          support



charge        that      Shin and           Byeon had              bribed       Dongguk             As   is    made         clear    at    page 43        of the Judgment


the    Korean           court actually                acquitted          Shin and       Byeon on             its   charge        containing            these Indicted



Facts           Thus no             findings of fact               were ever made on                 this      point



                        Even  The Court Could Consider Yales Extra-Complaint Documents
                                If                                                                                                                                            It

                        Would Still have To Deny Yales Motion To Dismiss


              Even        assuming arguendo                        that    the    Court could           properly consider                     Yales       extra complaint


documents               the Court would nonetheless                              have       to    deny Yales               Motion        to   Dismiss      because        these




extra-complaint                 documents               are    not dispositive              of any of the claims                   asserted           in the   Complaint


Rather         at   best       they demonstrate                    the    existence of multiple                    issues     of disputed              material       fact



              Indeed Yales                  Brief       is    replete      with disputed            issues         of material fact                   Among       these



material issues                of   fact    are


                     Whether             Dongguk               seeks      to    shift the        blame     for       its   own     inadequate           efforts

                     onto Yale which had nothing                                 to    do   with the impostors fraud or                            Dongguk
                     foolhardy             decision          to   hire    her Yales                 Motion           to    Dismiss            Br

                     Was       Yale        itself the victim                   of the same         fraud since Shin falsely                        claimed       to

                     have earned                      Yale    Ph.D.4              Yales Motion                  to    Dismiss           Br

                     Is   there             satisfactory           explanation              why                             University           requested        the

                     verification            only to Yale University                         but not to the University                        of Kansas

                     Yales Motion                      to   Dismiss        Br



  It   is   difficult     to understand                how    Yale can seriously contend that Yale was victim of Shins fraud in
 September              2005    when        it   verified     Shins degree since in June 2007 Yale had no trouble determining that

 Shin had           not received                 Ph.D from Yale




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       Was Dongguk                      deceived           by        the    lies      of   Shin      or   had     it
                                                                                                                        actively       protected          and
       covered            up Shin             for   some    reason                    Yales Motion                to    Dismiss        Br

       Did Dongguk                      hire    Shin       at   Byeons                urging     because          he    told    Dongguks            then-

       President              Hong        that
                                      hiring                    Shin will be                    great     help     to   Dongguk          University

       finically                Yales Motion                     to    Dismiss              Br

       Could Yale have                         foreseen that               the       authenticity         of the September               22       2005 fax
       could        cause harm                 of the nature alleged                       by   Dongguk                 Yales Motion                to

       Dismiss            Br             13

       Is   it    true    that      but        for   Shins fraud                     Schirmeister would not have                        sent      the


       September                   22   2005 fax and                 Carney and Reinstein                     would not have made the
       2007 statements                              Yales Motion                     to   Dismiss       Br             14

       Was Dongguk either complicit in or                                                 willfully       ignorant of Shins                  fraud
       Yales Motion to Dismiss Br     14

       Is   it    true    that      Yale was              not         cause          in fact    of any harm to              Dongguk                 Yales
       Motion            to   Dismiss           Br          16

       Could Dongguks                          alleged injuries.                           have occurred               regardless       of Yales

       alleged           negligence                  Yales Motion                         to Dismiss       Br            17

       Would Dongguk have employed                                              Shin regardless of Yales                        actions

       Yales Motion to Dismiss Br                                               17

       Was Dongguk have been forced                                             to   spend      money defending                     itself   against the
      claim that              it   had acted improperly because                                 it   had supposedly                 failed   to   verify

       Shins         Ph.D                Yales Motion                      to    Dismiss        Br           18

      Would Dongguk have                              suffered         all       of the harm that            it    has alleged  even                if    Yale
      had never               questioned             the authenticity                     of the September              22 2005 fax
      Yales Motion                       to    Dismiss          Br              19

      What          role      did    the        crimes      of Shin              Byeon and              Lim have               in   connection           with

      the        hiring       of    Shin Yales Motion                                to   Dismiss       Br 21

      Did the             risk      of harm          to   Dongguk               exist      prior     to and independently                    of any of
      Yales actions                           Yales Motion                  to       Dismiss         Br       21

      Did Dongguks                       alleged          hann                  have occurred              regardless of anything                       that

      Yale        did              Yales Motion                 to    Dismiss              Br         22

      Can an agreement                         between Dongguk and Yale be                                  inferred        by Yales              words
      or actions                    Yales Motion                 to    Dismiss              Br          28




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                      Was    there          meeting       of the     minds between               Yale and        Dongguk         Yales
                     Motion          to   Dismiss     Br      28

                     Did Yale make defamatory                         statements        about    Dongguk               Yales Motion              to

                     Dismiss Br                29

                     Can the statements               attributed      to    Yale   in the    newspaper           articles    referred       to   in

                     the Complaint be reasonably                       interpreted          as to   being defamatory             to

                     Dongguk                Yales Motion         to    Dismiss        Br pp       30-33


Ironically the vast majority of these fact                            issues    arise     from the statements made                    in   the newspaper



articles      and     the Judgment



              In    short even assuming that these materials could                                be considered             by the Court they do not


establish          that    Yale      will   prevail   on any of these          fact     issues    let    alone   all   of   them      There       is   simply



no    basis    in the       record        before   the   Court     that    would support          the     granting of        summary judgment                to




Yale dismissing                all   of the claims        asserted     in   the Complaint



                                                                      CONCLUSION

              For    all   the above reasons              Yales Motion             to   Dismiss         should    be   denied in      its   entirety



                                                                      McDERMOTT                  WILL            EMERY          LLP




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